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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW HAMPSHIRE

In re:
GT Advanced Technologies Inc., et. al.,' Bk. No. 14-11916 (HIB)
Debtor Chapter 11

VERIFICATION OF CREDITOR MAILING LIST

The above named debtor hereby certifies under penalty of perjury that the attached master mailing list
of creditors, consisting of 459 pages is complete, correct and consistent with the debtor’s schedules
pursuant to Local Bankruptcy Rules and assumes all responsibility for errors and omissions.

) %
Date; 20/8/2014 LL ( bm

Debtor ture
“@ Hoil Kim
Print Name
Address: 243 Daniel Webster Highway
Merrimack, NH 03054
Tel, No. 603-883-5200

 

 

 

 

The debtors in these chapter | | cases, along with the last four digits of each debtor’s tax identification
number, as applicable, are: GT Advanced Technologies Inc. (6749), GTAT Corporation (1760), GT
Advanced Equipment Holding LLC (8329), GT Equipment Holdings, Inc. (0040), Lindbergh Acquisition
Corp. (5073), GT Sapphire Systems Holding LLC (4417), GT Advanced Cz LLC (9815), GT Sapphire
Systems Group LLC (5126), and GT Advanced Technologies Limited (1721). The Debtors’ corporate
headquarters are located at 243 Daniel Webster Highway, Merrimack, NH 03054,
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GTAT Matrix
110220VOLTS
OVERSEAS BEST BUY, INC
172 NORTH BRANDON DRIVE
GLENDALE HEIGHT, IL 60139

1STVISION
2 DUNDEE PARK
ANDOVER, MA 01810

23 QUME INVESTMENTS LLC
501 APRICOT LANE
MOUNTAIN VIEW, CA 94040

3 HTI LLC
7 CLIFF SWALLOW DRIVE
MEDFORD, NJ 08055

3 HTI, LLC
7 CLIFF SWALLOW DRIVE, SUITE 201
MEDFORD, NJ 08055

4G PLUMBING AND HEATING, INC.
PO BOX 17140
MISSOULA, MT 59808

3330 SKYLANE PARTNERSHIP
C/O SKAGIT STATE BANK
P.O. BOX 36

ANACORTES, WA 98221

6N SILICON INC,
1 ROYAL GATE BLVD., UNIT B
VAUGHAN ONTARIO, ON L4L 827 CANADA

725 GOLD STREET STORAGE &
WAREHOUSING, LLC

835 GOLD STREET
MANCHESTER, NH 03103

8833010 CANADA INC.
MICHAEL BURLEIGH

15 STAFFORD ST. UNIT 303
TORONTO, ON M5V 3X6 CANADA

A & B PROCESS SYSTEMS CORP
201 S. WISCONSIN AVE
STRATFORD, WI 54484

A & B SOFTWARE
5 HOLLY TERRACE
NEW LONDON, CT 06320

A & B VENDING CO., INC.
26 HALL ROAD
CANTERBURY, NH 03224

A & F FIXTURE PRODUCTS, INC.
11A INDUSTRIAL WAY
SALEM, NH 03079

A & N CORPORATION
707 SOUTHWEST 19TH AVENUE
WILLISTON, FL 32696
Page 1

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A SQUARE SYSTEMS, INC.
11923 BORMAN DR.
CREVE COEUR, MO 63146

A. DUIE PYLE, INC.
PO BOX 564
WEST CHESTER, PA 19381

A. MICHAEL BURNELL
23 ATLANTIC AVENUE
NORTH HAMPTON, NH 03862

A. PAWLOWSKI
35/3 Z. VOGLA STREET
02-990 WARSAW, POLAND

A.B.C.0.A., INC.

AIRPORT BUSINESS OWNERS ASSOC.
414 AVIATION BLVD.

SANTA ROSA, CA 95403

A.H. MACHINING, INC.
100 FACTORY STREET, SEC-C
NASHUA, NH 03060

A.L.M.T. CORP.
SHIBA 1-11-11, MINATO-KU
TOKYO, 1050014 JAPAN

A.R. JENSEN ASSOCIATES INC.
PO BOX 2534
FRAMINGHAM, MA 01703

A.S.A.P. FIRE & SAFETY CORP.
6 PROGRESS AVE, UNIT #3
TYNGSBORO, MA 01879

A.STAMATIS-~J.KARAMOLEGOS OE
224 AKROTIRIOU STREET
PATRAS, 26332 GREECE

A~1 AQUA RECYCLERS, LLC
PO BOX 7374, DC WATERWORKS, INC.
MISSOULA, MT 59807

A-1 AUTO BODY, INC.
450 HOWE STREET
MANCHESTER, NH 03103

A-1 PHOENIX CLEANING SERVICES
14 TECHNOLOGY WAY
NASHUA, NH 03060-3245

AA KEY AND LOCK
10274 PAGE AVENUE
SAINT LOUIS, MO 63132

AA PLASTIC AND METAL FABRICATORS
250 NORTH STREET UNIT A2
DANVERS, MA 01923

AAA-ACME RUBBER CO.

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PO BOX 7760
TEMPE, AZ 85281

AACG
6986 S WADSWORTH COURT
LITTLETON, CO 80128

AAEON ELECTRONICS INC.
11 CROWN PLAZA

SUITE 208

HAZLET, NJ 07730

AALBORG INSTR.& CONTROLS, INC
20 CORPORATE DRIVE
ORANGEBURG, NY 10962

AALBORG INSTRUMENTS & CONTROLS, INC
20 CORPORATE DRIVE
ORANGEBURG, CA 10962

AALUND, ROBERT
355 CONGDON AVE
ELGIN, IL 60120

AALUND, ROBERT
383 HAWTHORNE ST
WILLIAMS BAY, WI 53191

ABAD, WILLIAM PRIMO
1713 W LYDIA LANE
PHOENIX, AZ 85041

ABAQUIN, ARLANDO
1100 E OSBORN RD, APT 253
PHOENIX, AZ 85014

ABB INCORPORATED
1250 BROWN ROAD
AUBURN HILLS, MI 48348

ABBEON CAL, INC.
123 GRAY AVENUE
SANTA BARBARA, CA 93101

ABBOT MASONARY, LLC.
35 OLIVER DRIVE
HUDSON, NH 03051

ABC GLOBAL MANAGEMENT SERVICES
LE CAUDEN WATERFRONT

STE 330, 3RD FL, BARKLY WHARF
PORT LOUIS, MAURITIUS

ABF FREIGHT SYSTEM, INC.
4575 TIDEWATER AVE
OAKLAND, CA 94601-3917

ABF FREIGHT SYSTEMS, INC.
PO BOX 6116
MANCHESTER, NH 03108

ABN AMRO BANK NY
335 MADISON AVE

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NEW YORK, NY 10017

ABP INTERNATIONAL INC
PO BOX 15135
NEWARK, NJ 07192-5135

ABRAMS & BAYLISS LLP
20 MONTCHANIN ROAD, SUITE 200
WILMINGTON, DE 19807

ABREU CONSTRUCTION
3 DEMAURO DRIVE
TYNGSBORO, MA 01879

ABRISA INDUSTRIAL GLASS, INC.
200 S. HALLOCK DR.
SANTA PAULA, CA 93060-9646

ABT CONTROLS, INC
401 DIXON AVE
MISSOULA, MT 59801

ABX LOGISTICS CUSA) INC.
140 EASTERN AVENUE, 2ND FL
CHELSEA, MA 02150

AC3
P.O. BOX 507
ALAMEDA, CA 94501

ACADEMIC PRODUCTION SERVICES, LLC
901 COLUMBIA CIRCLE
MERRIMACK, NH 03054

ACCEL AIR SYSTEMS, INC.
374 REED STREET
SANTA CLARA, CA 95050

ACCESS DIAMOND SUPER ABRASIVE PRODU
6075 FRONT STREET
GEORGETOWN, CA 95634

ACCESS MANUFACTURING SYSTEMS, INC.
ONE STILES ROAD, SUITE #205
SALEM, NH 03079

ACCESS TENT CO
31 BOULEVARD ROAD
WELLESLEY, MA 02461

ACCORDANCE TECHNICAL SERVICES LTD
TOWER POINT, 44 NORTH ROAD
BRIGHTON, BN1 1YR UNITED KINGDOM

ACCOUNTABILITY OUTSOURCING IN
TWO NEWTON EXECUTIVE PARK
NEWTON LOWER FALL, MA 02462

ACCOUNTEMPS
12400 COLLECTIONS CENTER DR.
CHICAGO, IL 60693

ACCOUNTEMPS

GTAT Matrix

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GTAT Matrix

P. O. BOX 743295
LOS ANGELES, CA 90074-3295

ACCOUNTING MANAGEMENT SOLUTION
800 SOUTH STREET, STE 195
WALTHAM, MA 02453

ACCUCONFERENCE
3155 E. PATRICK LN STEL
LAS VEGAS, NV 89120

ACCURATE AIR INC.
140 BOUCHARD STREET
MANCHESTER, NH 03103

ACCURATE BRAZING CORPORATION
38 COTE AVE
GOFFSTOWN, NH 03045

ACCURATE FORKLIFT, INC.
85 SCENIC AVENUE

P.O. BOX 4860

SANTA ROSA, CA 95402

ACCURATE INSTALLATIONS INC
5487 S WESTRIDGE DR
NEW BERLIN, WI 53151

ACCURATE METAL FINISHING
414 SOUTH ST
RANDOLPH, MA 02368

ACCURATE PLUMBING & HEATING IN
190 TINKER ROAD
NASHUA, NH 03063

ACCURATE PRINTING INC
111 LOCK STREET
NASHUA, NH 03064

ACCURATE RUBBER PRODUCTS INC
22 LAKE STREET
SWANTON, VT 05488

ACCURATE SCREW MACHINE CORP.
10 AUDREY PLACE
FAIRFIELD, NJ 07004

ACCURATE TUBE-BENDING INC.
PO BOX 990
FREMONT, CA 94537

ACCU-TECH OPTICAL, INC.
916 PLEASANT STREET #10
NORWOOD, MA 02062

ACE AMERICAN INSURANCE COMPANY

CHIEF UNDERWRITING OFFICER

1133 AVENUE OF THE AMERICAS, 32ND FLOOR
NEW YORK, NY 10036

ACE AMERICAN INSURANCE COMPANY
436 WALNUT STREET

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GTAT Matrix
PO BOX 1000
PHILADELPHIA, PA 19106-3703

ACE MACHINE
563 ROUTE 111
EAST HAMPSTEAD, NH 03826

ACE PROPERTY AND CASUALTY INSURANCE COMPANY
1133 AVENUE OF THE AMERICAS

38TH FLOOR

NEW YORK, NY 10036

ACE VENDING
653 wW ELLIOT RD
TEMPE, AZ 85284

ACE WELDING CO., INC
715 A DANIEL WEBSTER HIGHWAY
MERRIMACK, NH 03054

ACE WORLDEIDE AIR FREIGHT CO.
2130 ACE WORLDWIDE LANE
CUDAHY, WI 53110

ACHEMETAL, INC.
9 APPLE LANE
WAYNE, NJ 07470

ACME CONSTRUCTION SUPPLY COMPANY
232 S MULBERRY ST
MESA, AZ 85201

ACME CONSTRUCTION SUPPLY COMPANY
330 SE SLAMON ST
PORTLAND, OR 97214

ACME RIGGING AND SUPPLY
3350 NORTH STATE STREET
UKIAH, CA 95482

ACOPIAN TECHNICAL COMPANY
PO BOX 638
EASTON, PA 18044

ACOSTA, ISAAC
5414 w. IAN DR
LAVEEN, AZ 85339

ACOSTA, JESUS
1858 S. OCOTILLO DR
APACHE JUNCTION, AZ 85120

ACREE TECHNOLOGIES INCORPORATED
1980 OLIVERA ROAD, UNIT D
CONCORD, CA 94520

ACROMAG INC
8357 RELIABLE PARKWAY
CHICAGO, IL 60686-0083

ACROSS USA, INC
1480 BEACHEY PLACE
CARSON, CA 90746
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ACTION AUTOMATION CONTROLS
PO BOX 2540

10 LARSEN WAY

NORTH ATTLEBORO, MA 02763

ACTION KING ENTERPRISES, INC.
26 LIVINGSTON ST.
LOWELL, MA 01852

ACTIVE INTEGRATED SOLUTIONS LLC
4224 S 36TH PLACE
PHOENIX, AZ 85040

ACTIVETECH INTERNATIONAL PTE LTD
111 NORTH BRIDGE RD
SINGAPORE, 17909 MALAYSIA

ACUITY DESIGN, LLC
240 N. HIGGINS AVE, SUITE 16
MISSOULA, MT 59802

ACUREN INSPECTION
ATIN MATT TRITTSCHUH
705 ALBANY ST.
DAYTON, OH 45417

AD VALUE TECHNOLOGY, LLC
3470 S. DODGE BLVD.
TUCSON, AZ 85713

ADAM ALEXANDER BRAILOVE
D/B/A VAXIS TECHNOLOGIES
60 DESCANSO DR., UNIT 3425
SAN JOSE, CA 95134

ADAM FERRARI
24914 LISMORE LANE
MANHATTAN, IL 60442

ADAM, JOSEPH

JMA CONSULTING

947 PLEASANT HILL RD.
SEBASTOPOL, CA 95472

ADAM, JOSEPH
947 PLEASANT HILL
SEBASTOPOL, CA 95472

ADAMS, DAVID
3021 E BANNER GATEWAY DR, RM # 209
GILBERT, AZ 85234

ADDISON ENGINEERING, INC.
150 NORTECH PARKWAY
SAN JOSE, CA 95134

ADEA PROPERTY MANAGEMENT LLP
321 SW HIGGINS AVENUE
MISSOULA, MT 59803

ADECCO FLEXIONE WORKFORCE
SOLUTIONS PRIVATE LTD.

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158/4, HABIBULLAH ROAD, T. NAGAR
CHENNAI, 600017 INDIA

ADECCO INDIA PRIVATE LIMITED
SAI DEEP SHRINIDHI NO.2,NAL WIND TU
BANGALORE URBAN, 560017 INDIA

ADEK INDUSTRIAL COMPUTERS
3 INFINITY DRIVE
RAYMOND, NH 03077

ADEPT TECHNOLOGY, INC
SALES OPERATION

5960 INGLEWOOD DRIVE

PLEASANTON, CA 94588

ADJACENT ANALYTICS LLC
4415 46TH AVENUE SOUTH
MINNEAPOLIS, MN 55406

ADMAT INC.
PO BOX 1404
SOUTHEASTERN, PA 19399

ADMAT INC.
STE 103A 2650 EISENHOWER AVE
NORRISTOWN, PA 19403

ADMIN PRO
306 S.WASHINGTON AVENUE, SUITE 214
ROYAL OAK, MI 48067

ADMIRAL METALS SERVICE CENTER
PO BOX 11545
BOSTON, MA 02211-1545

ADORAMA
42 WEST 18TH STREET
NEW YORK, NY 10011

ADP
PO BOX 2887
TORRANCE, CA 90509

ADP
PO BOX 842875
BOSTON, MA 02284-2875

ADP SCREENING & SELECTION SERVICES
36307 TREASURY CENTER
CHICAGO, IL 60694-6300

ADP, INC.
504 CLINTON CENTER DR. STE 4400
CLINTON, MS 39056

ADP, INC.
PO BOX 7247-0372
PHILADELPHIA, PA 19170-0372

ADP, INC.
PO BOX 842875
BOSTON, MA 02284-2875

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GTAT Matrix

ADREAN, BARBARA
2315 E. PEBBLE BEACH DR
TEMPE, AZ 85282

ADRIAN SERVINTI
16048 WILSON MANOR DRIVE
CHESTERFIELD, MO 63005

ADRON TOOL CORP
N85 w13730 LEON RD
MENOMONEE FALLS, WI 53051

ADRON TOOL CORP
PO BOX 960
MENOMONEE FALLS, WI 53051

ADT SECURITY SERVICES, INC.
PO BOX 371967
PITTSBURGH, PA 15250-7967

ADVANCE CERAMICS
23 ACHESON DRIVE
NIAGRA FALLS, NY 14303

ADVANCE ULTRA TECHNOLOGY CO LT
ZHONGYOU BLDG

RM 502, 1040 CAOYANG RD
SHANGHAT , CHINA

ADVANCED AIR TECHNOLOGIES INC
300 EARL SLEESEMAN DRIVE
CORUNNA, MI 48817

ADVANCED CALIBRATION LABEL
2035 CONTRACTORS ROAD #7
SEDONA, AZ 86336

ADVANCED CERAMICS CORP.
22557 WEST LUNN ROAD
STRONGSVILLE, OH 44159

ADVANCED CHEMICAL TRANSPORT
1210 ELKO DRIVE
SUNNYVALE, CA 94089

ADVANCED CRYOGENICS
PO BOX 4788
BOZEMAN, MT 59772

ADVANCED DATA CAPTURE CORP
9 DAMON MILL SQUARE
CONCORD, MA 01742

ADVANCED DESIGN & MANUFACTURING
350 HERITAGE DRIVE
PORTSMOUTH, NH 03801

ADVANCED ENERGY INDUSTRIES
1625 SHARP POINT DR
FT. COLLINS, CO 80525

ADVANCED ENERGY INDUSTRIES
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GTAT Matrix
LOCKBOX# 0021954 DEPT. LA21954
PASADENA, CA 91185

ADVANCED FIRE PROTECTION, INC
24 HIGH TRAIL
ST. PETERS, MO 63376

ADVANCED INDUSTRIAL CERAMICS
2449 ZANKER RD
SAN JOSE, CA 95131

ADVANCED INDUSTRIAL SERVICES, INC.
3250 SUSQUEHANNA TRAIL
YORK, PA 17406

ADVANCED INTEGRATION TECHNOLOGIES
481 N. DEAN AVE.
CHANDLER, AZ 85226

ADVANCED INTEGRATION TECHNOLOGIES
DEPT. LA 24210
PASADENA, CA 91185-4210

ADVANCED LASER AND WATERJET CUTTING, INC.
820 COMSTOCK STREET
SANTA CLARA, CA 95054

ADVANCED LOCK COMPANY
237 SOUTH STREET
MILFORD, NH 03055

ADVANCED MANIPULATOR SPECIALISTS
INC.

123 MEMORIAL DRIVE NW

HOFFMAN, MN 56339

ADVANCED PRECISION ENGINEERING
DAVE LANDRY

16 MITCHELL ROAD

IPSWICH, MA 01938

ADVANCED PRINTING SERVICES INC
135 CROSS STREET
BRISTOL, CT 06010

ADVANCED PROCESS SYSTEMS, LLC
130 GUNN ROAD
BRANCHVILLE, NJ 07826

ADVANCED RENEWABLE ENERGY COMPANY, LLC
C/O SHEEHAN PHINNEY BASS & GREEN, P.A.
ATIN PETER S. COWAN, ESQ

1000 ELM STREET, 17TH FLOOR

PO BOX 3701

MACHESTER, NH 03101

ADVANCED RENEWABLE ENERGY COMPANY, LLC

C/O SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
ATIN JAMES R. CARROLL

500 BOYLSTON STREET

BOSTON, MA 02116

ADVANCED RENEWABLE ENERGY COMPANY, LLC
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GTAT Matrix
C/O SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
MICHAEL S. HINES
500 BOYLSTON STREET
BOSTON, MA 02116

ADVANCED SAFETY SYSTEMS INC
141 SUMMIT STREET
PEABODY, MA 01960

ADVANCED SAPPHIRE SOLUTIONS
497 HOOKSETT ROAD
MANCHESTER, NH 03104

ADVANCED SCALE INC.
13 DELTA DRIVE, UNIT 6
LONDONDERRY, NH 03053

ADVANCED SILICON DISTRIBUTING INC
337 LA VELA CT
MORGAN HILL, CA 95037

ADVANCED SURFACE FINIS
1181 N. 4TH STREET, SUITE 50
SAN JOSE, CA 95112

ADVANCED TECHNOLOGY & MATERIALS CO.
LTD.

NO. 76 XUEYUAN NANLU

HAIDIAN, 100081 CHINA

ADVANCED WELDING & DESIGN, INC.
6 DRAPER ST.
WOBURN, MA 01801

ADVANTAGE MOLD, INC.
576 MAMMOTH ROAD , BLDG A SUITE 23
LONDONDERRY, NH 03053

ADVANTAGE TECHNICAL RESOURCING,
INC,

888 WASHINGTON STREET

DEDHAM, MA 02026

ADVANTAGE TECHNICAL RESOURCING, INC
TECHNICAL AID CORP DBA/ ADVANTAGE T
220 NORWOOD PARK SOUTH

NORWOOD, MA 02062

ADVANTECH CORPORATION
P.O. BOX 45895
SAN FRANCISCO, CA 94145-0895

ADVANTECH TAIWAN SERVICE CENTER
6F NO.108~1, MING-CHUAN ROAD.
SHING-TIEN CITY, 00231 TAIWAN, PROVINCE OF CHINA

| ADVENT CLEANING TECHNOLOGY
2501 CAMP AVE.
CARROLLTON, TX 75006

ADVERTEASERS
104 PERIMETER ROAD
NASHUA, NH 03063
Page 11

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GTAT Matrix

AEG POWER SOLUTION CO., LTD.
NO. 10 KANGSHENG INDUST.PARK, 11# K
BEIJING, 100176 CHINA

AEG POWER SOLUTION USA INC.
800 KLEIN ROAD

SUITE 400

PLANO, TX 75074

AEG POWER SOLUTIONS PTE LTD
54 GENTING LANE #03-01,RUBY LAND C
SINGAPORE, 349562 SINGAPORE

AEG POWER SOLUTIONS USA, INC.
800 KLEIN ROAD, SUITE 400
PLANO, TX 75074

AEG POWER SUPPLY SYSTEMS GMBH
ATTN CHIEF FINANCIAL OFFICER
EMIL-SIEPMANN-STR 32
WARSTEIN-BELECKE, 59581 GERMANY

AEG POWER SUPPLY SYSTEMS GMBH
EMIL-SIEPMANN-STR 32
WARSTEIN-BELECKE, 59581 GERMANY

AEGIS ELECTRONIC GROUP, INC
No. 101 1465 N FIESTA BLVD
GILBERT, AZ 85233

AEPPLI, ROBERT
3033 S ALETTA
MESA, AZ 85212

AER CONTROL SYSTEMS
90 RIVER STREET
NEW HAVEN, CT 06513

AEROGO INC.
1170 ANDOVER PARK WEST
SEATTLE, WA 98188

AERONET WORLDWIDE
181 SOUTH FRANKLIN AVENUE, STE 304
VALLEY STREAM, NY 11581

AEROSCOPIO HELLAS S.A.
32 MYKALIS STREET
PIREAUS, 18540 GREECE

AEROTEK INC

ATTN TODD M. MOHR, PRESIDENT
7301 PARKWAY DRIVE SOUTH
HANOVER, MD 21076

AEROTEK INC
3689 COLLECTION CENTER DR
CHICAGO, IL 60693

AEROTEK, INC.
3689 COLLECTIONS CTR DR.
CHICAGO, IL 60693
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AESAR, ALFA
26 PARKRIDGE ROAD, 2ND FL
HAVERHILL, MA 01835

AFC INDUSTRIES, INC.
13-16 133 PLACE
COLLEGE POINT, NY 11356

AFFINITY LAW GROUP, LLC
1610 DES PERES ROAD SUITE 100
ST. LOUIS, MO 63131

AFFORDABLE CONCRETE CUTTING, INC.

147 LYNN FELLS PARKWAY
SAUGUS, MA 01906-4166

AFFORDABLE SOLUTIONS, INC
114 PERIMETER ROAD, SUITE D
NASHUA, NH 03063

AFS LOGISTICS
330 MARSHAL STREET, SUITE 400
SHREVEPORT, LA 71101

AG MILLER CO. INC.
RICK MILLER

53 BATAVIA STREET
SPRINGFIELD, MA 01109

AGC ELECTRONICS AMERICA
4375 Nw 235 TH AVENUE
HILLSBORO, OH 97124

AGILE BUSINESS &

TECHNOLOGY SOLUTIONS STE 120:
24 PROFESSIONAL CTR PKY

SAN RAFAEL, CA 94903

AGILENT TECHNOLOGIES INC.
4187 COLLECTIONS CENTER DRIVE
CHICAGO, IL 60693

AGILENT TECHNOLOGIES INC.
PO BOX 70352
CHICAGO, IL 60673-0352

AGILENT TECHNOLOGIES INC.
PO BOX 742108
LOS ANGELES, CA 90074-2108

AGP TECHNOLOGIES, LLC.
8633 PHOENIX DRIVE
MANASSAS, VA 20110

AGS SAFETY & SUPPLY
3010 S 52ND ST
TEMPE, AZ 85282

AGUILAR, DANNY
927 S. SANTA BARBARA
MESA, AZ 85202

GTAT Matrix

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AGUILAR, STEPHEN
1020 S. ESMERALDA
MESA, AZ 85208

AGUIRRE, MARIA
138 GILMAN STREET
NASHUA, NH 03060

AHN, JAE
349 BROOK VILLAGE RD, APT 34
NASHUA, NH 03062

AHN, JAE HYUNG
339 BROOK VILLAGE ROAD, APT 16
NASHUA, NH 03062

AHOLD FINANCIAL SERVICES LLC
1149 HARRISBURG PIKE
CARLISLE, PA 17013

AHOLD FINANCIAL SERVICES LLC
3213 PAYSHERE CIRCLE
CHICAGO, IL 60674

AIKEN, BRANDON
2547 W. ADAMS ST
PHOENIX, AZ 85009

AIR CLEANING SPECIALISTS OF NEW ENG
1525 HANOVER STREET
HANOVER, MA 02339

AIR ENERGY INC
6 NORFOLK AVE
SOUTH EASTON, MA 02375

AIR INCORPORATED
9 FORGE PARK
FRANKLIN, MA 02038

AIR LIQUIDE AMERICA
SPECIALTY GASES, LLC
500 WEAVER PARK ROAD
LONG MONT, CO 80501

AIR LIQUIDE ELECTRONICS U.S. LP
46409 LANDING PARKWAY
FREMONT, CA 94538

AIR PRODUCTS AND CHEMICALS INC
7201 HAMILTON BLVD
ALLENTOWN, PA 18195

AIR SCIENCES USA LLC
120 6TH STREET
FORT MEYERS, FL 33907

AIR SOLUTIONS, INC.
7509 SUMMERFIELD OAKS COURT
ST. LOUIS, MO 63129

AIR TECHNOLOGY WEST
37 MAXWELL COURT

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SANTA ROSA, CA 95401

AIRCLEAN SYSTEMS
3248 LAKE WOODARD DR.
RALEIGH, NC 27604

AIRE FILTER PRODUCTS
KBAK, INC.

40 W HOOVER

MESA, AZ 85210

AIRGAS EAST
17 NORTHWESTERN DRIVE
SALEM, NH 03079

AIRGAS NCN
P.O. BOX 7423
PASADENA, CA 91109-7423

AIRGAS USA, LLC

ATTN ANDREW R. CICHOCKI, PRESIDENT
259 N RADNOR CHESTER RD #100
RADNOR, PA 19087

AIRGAS USA, LLC
259 N. RADNOR CHESTER RD, # 100
RADNOR, PA 19087-5283

AIRGAS USA, LLC
PO BOX 802576
CHICAGO, IL 60680-2576

AIRLINE HYDRAULICS CORPORATION
PO BOX 8505

3557 PROGRESS RIVE, PO BOX 8505
BENSALEM, PA 19020-8505

AIRWATCH, LLC
931 MONROE DR., STE. 102-303
ATLANTA, GA 30308

AIRWAYS FREIGHT
PO BOX 1888
FAYETTEVILLE, AR 72702

AIXTEK LLC
59 MERRILL ROAD
WATERTOWN, MA 02472

AJAX TOCCO MAGNETHERMIC CORP.
1745 OVERLAND AVENUE
WARREN, OH 44483

AJEET ROHATGI
1275 STONECROFT WAY
MARIETTA, GA 30062-4772

AKHTER COMPUTERS PLC
PERRY ROAD HARLOW
ESSEX, CM1 7PN UNITED KINGDOM

AKINS MACHINERY, INC.
9 DELTA DRIVE, UNIT B2

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LONDONDERRY, NH 03053

AL TERRY PLUMBING & HEATING
1776 HOOKSETT ROAD
HOOKSETT, NH 03106

ALADDIN KNOWLEDGE SYSTEMS, INC
601 CAMPUS DRIVE
ARLINGTON HEIGHTS, IL 60004

ALAN ARIAS
1226 DONNA DR
RICHARDSON, TX 75080

ALAR INVESTIGATIONS
PO BOX 4915
WESTLAKE VILLAGE, CA 91359

ALBERTSONS
PO BOX 990
MINNEAPOLIS, MN 55440

ALCATEL VACUUM PRODUCTS, INC.
67 SHARP STREET
HINGHAM, MA 02043

ALCO FABRICATIONS
148 SOHIER RD
BEVERLY, MA 01915

ALCOA GLOBAL FASTENERS
ALCOA FASTENING SYSTEMS
3990A HERITAGE OAK COURT
SIMI VALLEY, CA 93063

ALCOA GLOBAL FASTENERS
ALCOA FASTENING SYSTEMS
7336 SOLUTION CENTER

CHICAGO, IL 60677-7003

ALCOM INTERNATIONAL

JIANGSU ALCOM INTL BUSINESS CO
22C HENGLEN BLDG MIDDLE REMIN
JIANGSU, CHINA

ALDEN AND BRODEN CORP.
472 AMHERST STREET
NASHUA, NH 03063

ALDRETE, ROBERT
2013 w 1ST ST
MESA, AZ 85201

ALEJO, ROLANDO
525 N. MILLER RD, #157
SCOTTSDALE, AZ 85257

ALEXANDER, BRIAN
961 NORTH LAKESHORE PLACE
CHANDLER, AZ 85226

ALF BJORSETH
DR. HOLMS VEI 13E,

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OSLO, 00787 NORWAY

ALFA AESAR
26 PARKRIDGE ROAD, 2ND FL
HAVERHILL, MA 01835

ALFA AESAR
PO BOX 88894
CHICAGO, IL 60695-1894

ALFIERI PROCTER ASSOCIATES
PO BOX 682
RANDOLPH, MA 02368

ALFREDO MACHA
3014 w 111TH PLACE
WESTMINSTER, CO 80031

ALGERIAN CONSULATE
2118 KALORAM ROAD
N W WASHINGTON, DC 20036

ALGONQUIN COACH & SHACKLEYS
TRANSPORTATION, INC.

PO BOX 624

CANTON, MA 02021

ALICAT SCIENTIFIC INC
7641 N BUSINESS PARK DRIVE
TUCSON, AZ 85743

ALICE C. LAUHER REVOCABLE LIVING TR
321 HILL TRAIL DRIVE
BALLWIN, MO 63011

A-LINE CORPORATION
5410 POWERHOUSE COURT
CONCORD, NC 39027

A-LINED HANDLING SYSTEMS INC
92 BURNSIDE AVENUE
EAST HARTFORD, CT 06108

ALKI-KOMROS S.A.
17 HATZIANESTL STREET
AG IOANNIS RENTIS, 18233 GREECE

ALL CRATE, INC.
200 LAMBERTON ROAD
WINDSOR, CT 06095

ALL KINDS OF SIGNS
PO BOX 4214

75 LOWELL STREET
PEABODY, MA 01960

ALL STAR PUMPING & SEWER SERVICE
1245 WEST TERRA LANE
O'FALLON, MO 63366

ALL TITAN LLC
PO BOX 5901
MANCHESTER, NH 03108

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ALLDIGITAL, INC.
220 TECHNOLOGY DRIVE, STE. 100
IRVINE, CA 92618

ALLEGRA PRINT & IMAGING
200 PRINCE ST., SUITE B
MISSOULA, MT 59801

ALLEN & OVERY LLP
ONE BISHOPS SQUARE
LONDON, E1 6AO UNITED KINGDOM

ALLEN, ANGELIA
1952 W. 9TH AVE
APACHE JUNCTION, AZ 85120

ALLEY, WILLIAM
25 HOLLY LANE
BUTTE, MT 59701

ALLIANCE EXPRESS - ALBANY
ESSENTRA COMPONENTS

46 RAILROAD AVENUE
ALBANY, NY 12205

ALLIANCE FOR SUSTAINABLE ENERGY, LL
ATTN FINANCE - MAIL STOP 1723

1617 COLE BOULEVARD

GOLDEN, CO 80401-3393

ALLIANCE OCCUPATIONAL MEDICINE
2737 WALSH AVENUE
SANTA CLARA, CA 95051

ALLIANCE OFFICE FURNITURE GROU
12 MURPHY DRIVE
NASHUA, NH 03062

ALLIANCE PLUMBING SERVICE & REPAIR
2202 W HUNTINGTON DR
TEMPE, AZ 85282

ALLIANT ENGINEERING, LLC
5121 EAST ML AVENUE, SUITE B-10
KALAMAZOO, MI 49048

ALLIANTGROUP LP
5400 WESTHEIMER COURT, STE 700
HOUSTON, TX 77056

ALLIED ELECTRONICS, INC.
112 POINTWEST BLVD, SUITE 500
ST. CHARLES, MO 63301

ALLIED ELECTRONICS, INC.
114 PERIMETER ROAD, SUITE C
NASHUA, NH 03063

ALLIED ELECTRONICS, INC.
P.O. BOX 2325
FORT WORTH, TX 76113-2325

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ALLIED FIRE PROTECTION, INC
2845 N NORFOLK
MESA, AZ 85215

ALLIED INDUSTRIAL EQUIP
9388 DIELMAN INDUSTRIAL DR.
ST. LOUIS, MO 63132-2205

ALLIED MINERALS PRODUCTS, INC.
2700 SCIOTO PARKWAY
COLUMBUS, OH 43221

ALLIED OFFICE SUPPLIES
PO BOX 31533
HARTFORD, CT 06150

ALLIED WASTE SERVICES #889
PO BOX 78829

#889, 1501 RODGERS STREET
MISSOULA, MT 59807

ALL-IN-ONE HOME SERVICE LIMITED
ROOM N, 13/F, PHASE 1, KINGLEY INDU
HONG KONG, HONG KONG

ALLOY SOFTWARE INC.
88 PARK AVENUE, SUITE 2B
NUTLEY, NJ 07110

ALLWIN21 CORP
1550 NORMAN AVE
SANTA CLARA, CA 95054

ALMCO INC
507 W. FRONT STREET
ALBERT LEA, MN 56007

ALMEX PE INC.
NO 12-8, SATSUKI-CHO
KANUMA-SHI, 3220014 JAPAN

ALONZO, GERALDINE
3217 E. CAROL AVE
MESA, AZ 85204

ALONZO, ROBERT
852 S. FONTANA
MESA, AZ 85204

ALPHA POWER DEVICES, LLC
11963 ABBEY ROAD
NORTH ROYALTON, OH 44133-2635

ALPHAGRAPHICS
97 MAIN STREET
NASHUA, NH 03060

ALPS CONTROLS, INC.
217 W. 8TH AVE
WEST HOMESTEAD, PA 15120

ALTAFLEX, INC.
336 MARTIN AVENUE

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SANTA CLARA, CA 95050

ALTON AND COMPANY, INC
ANC ROOFING/A&C ROOFING
P.O. BOX 1679

SANTA ROSA, CA 95402-1679

ALTRAN CONTROL SOLUTIONS, INC.
66 GILCREAST RD., SUITE 8
LONDONDERRY, NH 03053

ALUM-A-LIFT, INC.
7909 BANKHEAD HIGHWAY
WINSTON, GA 30187

ALVARADO, ANTONIO
3141 E. CHISUM LANE
GILBERT, AZ 85297

ALVAREZ, PELAGIA
9102 E BUTTERNUT AVE
MESA, AZ 85208

ALVORD SYSTEMS, INC.
620 ST CLAIR AVENUE
CLAIRTON, PA 15025

ALWAYS ON CALL ANSWERING SERVICE
LLC

117 MANCHESTER STREET, SUITE 1
CONCORD, NH 03301

AMA TRANSPORTATION
PO BOX 939

NUTTING LAKE
BILLERICA, MA 01865

AMADA AMERICA, INC.
P.O. BOX 31001-1436
PASADENA, CA 91110-1436

AMAYA, RODOLFO
748 W MCLELLAN RD
MESA, AZ 85201

AMC EQUIPMENT
AMC BLDG, 230-6 NONHYEON-DONG
SEOUL, KOREA, REPUBLIC OF

AMCG (USA) LTD.
2 MOUNT ROYAL AVENUE, SUITE 204
MARLBOROUGH, MA 01752

AMCO RANGER TERMITE & PEST SOLUTION
4524 S ST. PETERS PARKWAY
ST. PETERS, MO 63304

AMCO WELDING
PO BOX 777
ROWLEY, MA 01969

AMENDOLA, ROBERTA
226 SOUTH 18TH, APT. B

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BOZEMAN, MT 59715

AMEREN MISSOURI
6440 N. HANLEY, BERKELEY OP. CTR.
BERKELEY, MO 63134

AMEREN MISSOURI
BERKELEY OPERATING CENTER
BERKELEY, MO 63134

AMERICAL INC
100 FERNCROFT ROAD UNIT 205
DANVERS, MA 01923

AMERICAN ARBITRATION ASSOCIATION
120 BROADWAY, 21ST FLOOR
NEW YORK, NY 10271

AMERICAN BANK NOTE CO.
2520 METROPOLITAN DRIVE
TREVOSE, PA 19053

AMERICAN BARCODE & RFID
3431 E ELWOOD ST
PHOENIX, AZ 85040

AMERICAN BURGLARY AND FIRE, INC.
507 RUDDER RD.
FENTON, MO 63026

AMERICAN CANCER SOCIETY
3550 MULLAN ROAD, SUITE 105
MISSOULA, MT 59808

AMERICAN CERAMIC SOCIETY
L-2625

PO BOX 600001

COLUMBUS, OH 43260-2625

AMERICAN CHILLER SERVICE, INC.
PO BOX 1887
RANCHO CORDOVA, CA 95741-1887

AMERICAN CUSTOM LIFTS
158 EAST GRAND AVE.
ESCONDIDO, CA 92025

AMERICAN DRILL BUSHING
2000 CAMFIELD AVENUE
LOS ANGELES, CA 90040

AMERICAN DURAFILM, CO. INC.
55 BOYNTON ROAD
HOLLISTON, MA 01746

AMERICAN ESCROW & CLOSING COMPANY
1699 WALL STREET - STE 700
MT. PROSPECT, IL 60056

AMERICAN EXPRESS
WORLD FINANCIAL CENTER
200 VESEY STREET
NEW YORK, NY 10285
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AMERICAN EXPRESS
PO BOX 360001
FORT LAUDERDALE, FL 33336-0001

AMERICAN EXPRESS CPC CARD
CPC REMITTANCE PROCESSING
2975 W CORPORATE LAKES BLVD
WESTON, FL 33331

AMERICAN EXPRESS INTERNATIONAL, INC
18/F, CITYPLAZA 4, 12 TAIKOO WAN RD
TAIKOO SHING, HONG KONG

AMERICAN FENCE COMPANY OF ARIZONA
PO BOX 19040
PHOENIX, AZ 85005

AMERICAN GUARANTEE AND LIABILITY INSURANCE COMPANY
ONE LIBERTY PLAZA

165 BROADWAY

NEW YORK, NY 10006

AMERICAN HEART ASSOCIATION
700 SOUTH AVENUE WEST, SUITE D
MISSOULA, MT 59801

AMERICAN HEART ASSOCIATION, INC.
20 SPEEN ST.
FRAMINGHAM, MA 01701

AMERICAN INFRARED
PO BOX 158

3071 MAIN STREET
OLD FORGE, NY 03420

AMERICAN INSTITUTE OF CHEMICAL ENG
3 PARK AVENUE, 19TH FLOOR
NEw YORK, NY 10016-5991

AMERICAN LAZER SERVICES INC
PO BOX 376

140 ELLIOTT STREET

BEVERLY, MA 01915

AMERICAN MANAGEMENT ASSOCIATION INT
600 AMA WAY
SARANAC LAKE, NY 12983-5534

AMERICAN NATIONAL STANDARDS
INSTITUTE

25 WEST 43RD STREET, 4TH FLOOR
NEW YORK, NY 10036

AMERICAN PASSPORT EXPRESS
170 COMMERCE WAY, SUITE 104
PORTSMOUTH, NH 03801

AMERICAN PRECISION MFG. INC
164 S. HAMILTON PLACE
GILBERT, AZ 85233

AMERICAN PRODUCTION INVENTORY
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CONTROL SOCIETY
8430 WEST BRYN MAWR AVE., SUITE 100
CHICAGO, IL 60631-3439

AMERICAN RED CROSS
REBECCA JUSTICE
28 CONCORD STREET
NASHUA, NH 03064

AMERICAN REGISTRY, LLC
1040 HOLLAND DRIVE
BOCA RATON, FL 33487

AMERICAN RIGGING & RELOCATION
SYSTEMS, INC.

1370 VANDER WAY

SAN JOSE, CA 95112

AMERICAN ROLLER COMPANY, LLC
1525 11TH AVENUE
UNION GROVE, WI 53182

AMERICAN SAFETY SHOE CO. INC.
1605 W. UNIVERSITY #108
TEMPE, AZ 85281

AMERICAN SEAL AND ENGINEERING
295 INDIAN RIVER ROAD
ORANGE, CT 06477

AMERICAN SOCIETY FOR NONDESTRUCTIVE
TESTING

1711 ARLINGATE LANE

COLUMBUS, OH 43228

AMERICAN SOCIETY FOR QUALITY, INC.
PO BOX 3066
MILWAULKEE, WI 53201-3066

AMERICAN SOCIETY FOR TRAINING AND D
1640 KING ST
ALEXANDRIA, VA 22314

AMERICAN SOCIETY FOR TRAINING AND D
PO BOX 1567
MERRIFLIELD, VA 22116

AMERICAN SOCIETY OF PROFESSIONAL
EDUCATION, INC.
114 EDINBURGH SOUTH DR., STE. 200
CARY, NC 27511

AMERICAN SOLAR ENERGY SOCIETY
2400 CENTRAL AVENUE, STE A
BOULDER, CO 80301

AMERICAN STORAGE, LLC
P.O. BOX 4559
SANTA ROSA, CA 95402

AMERICAN WELDING & GAS
PO BOX 30118
8003 COLLECTION CENTER DRIVE

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GTAT Matrix
CHICAGO, IL 60693-0800

AMERICAN WELDING SOCIETY, INC.
550 NW LEJEUNE ROAD
MIAMI, FL 33126

AMERICARB INC.
1025 FAULTLESS DRIVE
ASHLAND, OH 44805

AMERICOVER
2060 WINEBRIDGE PLACE
ESCONDIDO, CA 92029

AMERIGAS PROPANE LP
PO BOX 965
VALLEY FORGE, PA 19482-0965

AMERIMADE TECHNOLOGY, INC.
449 MOUNTAIN VISTA PARKWAY
LIVERMORE, CA 94551

AMERISEAL
11 FOUR SEASONS LANE
MERRIMACK, NH 03054

AMERISTAR CASINO
ONE AMERISTAR BLVD.
ST. CHARLES, MO 63301

AMERITAS
PO BOX 81889
LINCOLN, NE 68501

AMERITHERM, INC.
39 MAIN STREET
SCOTTSVILLE, NY 14546

AMETEC POWER INSTRUMENTS

C/O FANTASIA ASSOCIATES, INC.
70 FINNELL DRIVE

WEYMOUTH, MA 02188

AMETEK

HDR POWER SYSTEMS

P.O. BOX 90310
CHICAGO, IL 60696-0310

AMETEK HDR POWER SYSTEMS
3563 INTERCHANGE ROAD
COLUMBUS, OH 43204

AMETEK POWER INSTRUMENTS
255 NORTH UNION STREET
ROCHESTER, NY 14605

AMETEK PROCESS & ANALYTICAL
P.O. BOX 8500/S-8105
PHILADELPHIA, PA 19178-8105

AMETEK PROGRAMMABLE
9250 BROWN DEER ROAD
SAN DIEGO, CA 92121
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AMETEK SPECIALTY METAL PRODUCT
PO BOX 427

ROUTE 519

EIGHTY-FOUR, PA 15330

AMETEK, INC
627 LAKE STREET
KENT, OH 04424

AMEZCUA, GENARO
7205 CAMINO COLEGIO AVE
ROHNERT PARK, CA 94928

AMICI, ROBERT
31 FOSGATE ST
BERLIN, MA 01503

AMMONO S. A.
PRUSA 2
WARSAW, 00-493 POLAND

AMMONS, WALTER CARL F.
434 E. BECKWITH AVE
MISSOULA, MT 59801

AMORE ELECTRIC INC
65 AVCO ROAD, UNIT F
HAVERHILL, MA 01835

AMOSKEAG AIRPORT SERVICE
630 SOUTH MAMMOTH ROAD
MANCHESTER, NH 03109

AMPARAN, JOSEPH
900 S. HUISH DR
GILBERT, AZ 85296

AMPHENOL TEL~-AD LTD
13 ATIR-YEDA STREET
KFAR-SABA 4464311, 64311 ISRAEL

AMPLITUDE TECHNOLOGIES
2-4 RUE DU BOIS CHALAND CE2926
EVRY CEDEX, 91029 FRANCE

AMRO ENVIRONMENTAL LABORATORIES
CORP

111 HERRICK STREET

MERRIMACK, NH 03054

AMSTERDAM/HOLLAND USA, INC.
166 WALLINS CORNERS ROAD
AMSTERDAM, NY 12010

AMUNDSEN, ERIK
59 HILLDALE AVE
SOUTH HAMPTON, NH 03827

AMUNDSEN, ERIK R.
59 HILLDALE AVE
SOUTH HAMPTON, NH 03827

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GTAT Matrix
AN, TIAN, XHANG & PARTNERS
ROOM 1212, TOWER B, FULLINK PLAZA
CHAOYANG DISTRICT, 100020 CHINA

ANACKER ARCHITECTS
6 SUNSET PLAZA, SUITE D
KALISPELL, MT 59901

ANAHEIM AUTOMATION, INC.
910 E ORANGEFAIR LANE
ANAHEIM, CA 92801

ANAHEIM WHITE HOUSE RESTAURANT
8875 ANAHEIM BOULEVARD
ANAHEIM, CA 92805-6815

ANALYTICAL & PRECISION BALANCE CO.
9830 S. 51ST STREET, SUITE B103
PHOENIX, AZ 85044

ANALYTICAL ANSWERS INCORPORATED
4 ARROW DRIVE
WOBURN, MA 01801

ANALYTICAL ANSWERS, INC.
4 ARROW DRIVE
WOBURN, MA 01801

ANALYTICS OPERATIONS ENGINEERING, I
111 DEVONSHIRE ST., 8TH FL.
BOSTON, MA 02109-5415

ANCO ENGRAVED SIGNS & STAMPS
749 EAST INDUSTRIAL DRIVE
MANCHESTER, NH 03109

ANCO ENGRAVED SIGNS & STAMPS
PO BOX 4576
MANCHESTER, NH 03108

ANDERMAN CERAMICS, INC.
600 INDUSTRIAL PARK ROAD
SAINT ALBANS, VT 05478

ANDERMAN CERAMICS, INC.
600 INDUSTRIAL PARK ROAD,
ST. ALBANS, VT 05478

ANDERSEN, I
16 LOGGING HILL ROAD
BOW, NH 03304

ANDES, DAVID
4335 E CONTESSA ST
MESA, AZ 85205

ANDOVER COUNTRY CLUB, INC.
60 CANTERBURY STREET
ANDOVER, MA 01810

ANDOVER PROFESSIONAL SEARCH
152 VEST WAY
NORTH ANDOVER, MA 01845

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GTAT Matrix

ANDRADE, JOHANNA
8104 E OLLA AVE
MESA, AZ 85212

ANDREW G. MYERS
ANDY MYERS

40 BOND STREET
GARDNER, MA 01440

ANDREW LOVE
1750 S. PRICE RD.
TEMPE, AZ 85281

ANDREW, IAN M.
5385 CASSANDRA WAY
SANTA ROSA, CA 95403

ANGEL COMMUNICATIONS LTD, CS INTERN
6 BOW COURT FLETCHWORTH GATE
COVENTRY, UKCV56SP UNITED KINGDOM

ANGELENO GROUP

ANGELENO INVESTORS L.P. II
2029 CENTURY PARK E. STE 2980
LOS ANGELES, CA 90067

ANGSTROM SCIENCES INC.
40 SOUTH LINDEN STREET
DEQUESNE, PA 15110

ANHE TECHNOLOGY DEVELOPMENT CHK) LT
FLAT A,15/F,HILLIER COMMERCIAL BLDG
SHEUNG WAN, HONG KONG

ANIMAL RESCUE LEAGUE OF NH
545 ROUTE 101
BEDFORD, NH 03110

ANITA RODRIGUEZ
3701 S MILL AVE
TEMPE, AZ 85282

ANIXTER INC.
P.O. BOX 847428
DALLAS, TX 75284-7428

ANIXTER/PACER INC.
275 WILDWOOD AVE
WOBURN, MA 01801

ANIXTER/PACER INC.
PO BOX 3966
BOSTON, MA 02241-3966

ANKO
3007 29TH AVENUE EAST
BRADENTON, FL 34208

ANS INDUSTRIAL MARKETING
13 N MAIN STREET
NEWTON, NH 03858

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ANSYS, INC
275 TECHNOLOGY DRIVE
CANONSBURG, PA 15317

ANTHEM BLUE CROSS AND BLUE SHIELD
PO BOX 1168
NEWARK, NJ 07101-1168

ANTHEM BLUE CROSS BLUE SHIELD
3000 GOFFS FALLS ROAD
MANCHESTER, NH 03111

ANTHONY PERSCHKA
1242 CYPRESS CIRCLE
CARSON, CA 90746

ANVER CORPORATION
36 PARMENTER ROAD
HUDSON, MA 01749

ANVIL CORPORATION
1675 WEST BAKERVIEW ROAD
BELLINGHAM, WA 98226

ANYTIME LOCK & SAFE
52 5TH AVE. WEST NORTH
KALISPELL, MT 59901

A-OKAY LOCK & KEY
500 SPRING VALLEY DR.
ST. PETERS, MO 63376

AON RISK SERVICES INC.
ONE FEDERAL STREET
BOSTON, MA 02110

APA LLC
14 DEPOT RD
KENNEBUNK, ME 04043

APA LLC
PO BOX 682
RONDOLPH, MA 02368

APD, INC.
1269 W STATE STREET
ONTARIO, CA 91762

APEX MARITIME CO., INC.
206 UTAH AVENUE
SOUTH SAN FRANCISCO, CA 94080

API SYSTEMS INTEGRATORS
PO BOX 17647
MISSOULA, MT 59808

APOLLO SAFETY INC
57 WALNUT ST
FALL RIVER, MA 02720

APOLLO SEIKO LIMITED
2271-7 JINBA
GOTENBA~SHI, 4120047 JAPAN
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APOLLO SPRAYERS INTERNATIONAL, INC.
1030 JOSHUA WAY
VISTA, CA 92081

APOMA
PO BOX 20001
ROCHESTER, NY 14602

APPLE INC.
1 INFINITE LOOP MS 169~-2CL
CUPERTINO, CA 95014

APPLE INC.
2511 LAGUNA BLVD
ELK GROVE, CA 95758

APPLE INC. C/O PLATYPUS DEVELOPMENT
12545 RIATA VISTA CIRCLE
AUSTIN, TX 78727

APPLEONE EMPLOYMENT SERVICES
ACCOUNTS RECEIVABLE

P.O. BOX 29048

GLENDALE, CA 91209-9048

APPLIED BOLTING TECHNOLOGY

APPLIED BOLTING TECHNOLOGY PRODUCTS
1413 ROCKINGHAM ROAD

BELLOWS FALLS, VT 05101

APPLIED INDUSTRIAL TECH, INC
649 E. INDUSTRIAL PARK DRIVE
MANCHESTER, NH 03109

APPLIED INDUSTRIAL TECH.
P.O. BOX 100538
PASADENA, CA 91189-0538

APPLIED INDUSTRIAL TECHNOLOGIES
780 CHADBOURNE RD STE C
FAIRFIELD, CA 94534-9611

APPLIED MATERIALS SWITZERLAND SA
ROUTE DE GENEVA 42
CHESEAUX, 01033 SWITZERLAND

APPLIED MATERIALS, INC.
(FKA METRON/CHEM TRACE)
PO BOX 7777~-W0O850

PHILADELPHIA, PA 19175

APPLIED NANOTEC, INC.
3006 LONGHORN BLVD., SUITE 107
AUSTIN, TX 78758-7631

APPLIED PLASTICS TECHNOLOGY INC.
PO BOX 45

45 BROAD COMMON ROAD

BRISTOL, RI 02809

APPLIED SUPERABRASIVES INC
PO BOX 1017

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18 THOMPSON ROAD
EAST WINDSOR, CT 06088

APPLIED TEST SYSTEMS, LLC
154 EAST BROOK LANE
BUTLER, PA 16002

APPLIED TEST SYSTEMS, LLC
PO BOX 643805
PITTSBURGH, PA 15264-3805

APTEK INDUSTRIES, INC.
414F UMBARGER ROAD
SAN JOSE, CA 95111

AQUA LABORATORIES INC
8 INDUSTRIAL WAY
AMESBURY, MA 01913

ARAMARK
22512 NETWORK PLACE
CHICAGO, IL 60673-1225

ARAMARK UNIFORM SERVICES
CONCORD LOCKBOX

PO BOX 101512

PASADENA, CA 91189-1512

ARAMARK UNIFORM SERVICES
PO BOX 28343
NEW YORK, NY 10087-8343

ARAMARK UNIFORM SERVICES INC
PO BOX 568

110 GLENN ST

LAWRENCE, MA 01843

ARANGO, LUIS
505 W. BASELINE RD, # 1150
TEMPE, AZ 85283

ARBO ENGINEERING INC.
3 WHITEHORSE ROAD, UNITS 4&5
-ONTARIO, ON M3] 3G8 CANADA

ARC ASSOCIATES, LLC
75 GILCREAST ROAD, SUITE 305
LONDONDERRY, NH 03053

ARCE, JOSE
3320 £. UNIVERSITY RD, #2019
MESA, AZ 85204

ARCE, TARA
331 £. SCOTT AVE
GILBERT, AZ 85234

ARCELORMITTAL PINE BLUFF, INC.

5100 INDUSTRIAL DRIVE SOUTH
PINE BLUFF, AR 71602

ARCHIBALD, SHANNON
6 FARRWOOD DR

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GTAT Matrix
BRADFORD, MA 01835

ARCHIOPOLI, PAUL
6076 W DOUBLE GREEN LANE
MARANA, AZ 85658

ARCHITECTS DESIGN GROUP, PC
1 SUNSET PLAZA
KALISPELL, MT 59901

ARCOMAC SURFACE ENGINEERING LL
6575 BUTLER CREEK ROAD
MISSOULA, MT 59808

ARCOTRONICS, INC
20-1 JULES COURT
BOHEMIA, NY 11716

ARCPLAN, INC
1055 WESTLAKES DRIVE, SUITE 175
BERWYN, PA 19312

ARCSOL
965 JOSHUA PLACE
FREMONT, CA 94539

ARCSOURCE
36 LONDON LANE
SEABROOK, NH 03874

ARD ZDF
FREIMERSDORFER WEG 6
KOLN, 50829 GERMANY

ARDC
PO BOX 19436
SPRINGFIELD, IL 62794

AREMCO PRODUCTS, INC.

PO BOX 517

707~B EXECUTIVE BLVD., PO BOX 10989
VALLEY COTTAGE, NY 10989

ARENCO, INC.
31 OLD NASHUA ROAD, UNIT 15
AMHERST, NH 03031

ARGYLE CONSULTANTS

PO BOX 6152

CHARLES E. CAMPBELL
HOLLISTON, MA 01746

ARIAS, ALAN
1226 DONNA DR
RICHARDSON, TX 75080

ARIAS, MARIA
944 S OLIVE DR
MESA, AZ 85204

ARIMA OPTOELECTRONICS CORP.

8F, NO. 349, SEC. 2, RENHE RD.

DASHI, TAOYUAN, 00335 TAIWAN, PROVINCE OF CHINA
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ARIZONA COMMERCE AUTHORITY
333 NORTH CENTRAL AVE
PHOENIX, AZ 85004

ARIZONA CONTRACT SERVICES, INC.
10165 E HAMPTON AVE, #107
MESA, AZ 85209

ARIZONA DEPARTMENT OF ENVIRONMENTAL
QUALITY (ADEQ)

1110 W WASHINGTON ST. 5415A1
PHOENIX, AZ 85007

ARIZONA DEPARTMENT OF REVENUE
PO BOX 29032
PHOENIX, AZ 85038-9032

Arizona Dept of Revenue
Attn Bankruptcy Dept
1600 West Monroe St
Phoenix, AZ 85007

ARIZONA HARD CHROME
TRAINOR & TRAINOR, INC
2609 W CYPRESS ST
PHOENIX, AZ 85009

ARIZONA PLASMA WELDING
4224 S. 36TH PLACE
PHOENIX, AZ 85040

ARIZONA PNEUMATIC SYSTEMS INC
205 S RIVER DRIVE
TEMPE, AZ 85281

ARIZONA STATE ATTORNEYS GENERAL
1275 W. WASHINGTON ST.
PHOENIX, AZ 85007

ARIZONA STATE UNIVERSITY
781 E. TERRACE RD ISTB4 ROOM 795
TEMPE, AZ 85287

ARIZONA STATE UNIVERSITY
PO BOX 873908
TEMPE, AZ 85287-3908

ARIZONA STATE UNIVERSITY
PO BOX 875812
TEMPE, AZ 85287-5812

ARMADA GROUP, THE
220 BROADWAY, STE 104
LYNNFIELD, MA 01940

ARMED FORCES CONNECTION
SUITE C CORP OFF 165 SOUTH RIVER RD
BEDFORD, NH 03110

ARMSTRONG MACHINE COMPANY
117 ELLIOT ST #3
BEVERLY, MA 01915

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ARMSTRONG, LEHIGH
202 BOSTON RD
BILLERICA, MA 01862

ARNOLD GMBH & CO
WEILSTRASSE 6
WEILIBURG, 35781 GERMANY

ARNOLD, DREW
81 MOFFATT RD
SALEM, MA 01970

ARONSON-CAMPBELL INDUSTRIAL SUPPLY
10925 E. MONTGOMERY
SPOKANE, WA 99206

ARPIN INTERNATIONAL GROUP
4372 POST ROAD, PO BOX 1306
EAST GREENWICH, RI 02818

ARPIN VAN LINES
99 JAMES P MURPHY HIGHWAY
WEST WARWICK, RI 02893

ARREDONDO, GABRIEL
625 W MCKELLIPS RD, LOT# 348
MESA, AZ 85201

ARRIGO, JAN
22 HANSON ST, APT 1
SALEM, MA 01970

ARRIOLA-FOX, ADAM
471 HEINER DR
SUPERIOR, AZ 85173

ARROW (CHINA) ELECTRONICS
cO., LIMITED

TOWER TWO EVER GAIN PLAZA 88
JINQIAO, 201206 CHINA

ARROW ELECTRONICS, INC.
50 MARCUS DRIVE
MELVILLE, NY 11747

ARROW FENCE COMPANY, INC.
360 SOUTH ST.
MARLBORO, MA 01752

ARSEAL TECHNOLOGIES, LLC
5900 WINDWARD PARKWAY, STE 475
ALPHARETTA, GA 30005

ARTFREAK CO,LTD
HATCHOBORI TOKYU BLDG,1/F,2-20-8,HA
TOKYO, 1040032 JAPAN

ARTHUR G. RUSSELL CO. INC.
PO BOX 237

750 CLARK AVENUE

BRISTOL, CT 06011

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ARTICULATE GLOBAL, INC.
244 5TH AVENUE, #2960
NEW YORK, NY 10001

ARTIMECC S.R.L.
VIA GIBERTE 20
SARCEDO, 36060 ITALY

ARTISAN ASSOCIATES, INC.
14320 JOY ROAD
DETROIT, MI 48228

ARUMUGAM VADIVEL
21 NORMANDY WAY
NASHUA, NH 03063

ARVAYO, KENNETH
119 S. PARKWOOD ST
MESA, AZ 85208

ARXAN DEFENSE SYSTEMS, INC.
1281 WIN HENTSCHEL BLVD.
WEST LAFAYETTE, IN 47906

ASAHI DIAMOND AMERICA, INC.
9872 WINDISCH ROAD
WEST CHESTER, OH 45069

ASE SYSTEMS
3850 FM 518 E.
LEAGUE CITY, TX 77573

ASG SECURITY
12301 KILN CT
BELTSVILLE, MD 20705

ASG SECURITY
PO BOX 650837
BELTSVILLE, MD 20705

ASHBY CROSS COMPANY, INC.
28 PARKER STREET
NEWBURYPORT, MA 01950

ASHLAND
62190 COLLECTIONS CENTER DRIVE
CHICAGO, IL 60693-0621

ASI PLASTICS
1463 MUSTANG PLACE

PORT COQUITLAM, BC V3C 6L2 CANADA

ASTA PACIFIC CONSULTANCY LTD.

SUITE 6E£, TOWER 2, KWAI CHUNG PLAZA

KWAI FONG, HONG KONG

ASIA SILICON CQINGHAT) COMPANY
LIMITED
38 JINQIAO ROAD

DONGCHUAN INDUSTRIAL PARK, XINING,

ASIA UNION INFORMATION CO., LTD

UNIT 104, TOWER 2 KERRY PLAZA NO.1,

GTAT Matrix

810007 CHINA

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GTAT Matrix
FUTIAN CBD,SHENZHEN, 518033 CHINA

ASME INTERNATIONAL PUBLICATIONS DEP
THREE PARK AVENUE
NEW YORK, NY 10016

ASPEN SPECIALTY INSURANCE COMPANY
PLANTATION PLACE

30 FENCHURCH STREET

LONDON, EC3M 3BD UNITED KINGDOM

ASSOCIATED EMPLOYERS
PO BOX 81087
BILLINGS, MT 59108-1087

ASSOCIATED ENGINEERING SYSTEMS, INC
625 HAZELVALLEY DRIVE
HAZELWOOD, MO 63042

ASSOCTATED SPRING RAYMOND
BARNES GROUP INC.

1705 INDIAN WOOD CIRCLE STE210
MAUMEE, OH 43537

ASSOCIATES FOR INTERNATIONAL
RESEARCH INC.

1100 MASSACHUSETTS AVENUE
CAMBRIDGE, MA 02138

ASSURED AUTOMATION
19 WALNUT AVENUE
CLARK, NJ 07066

AT & T MOBILITY
5565 GLENRIDGE CONNECTOR, STE 510
ATLANTA, GA 30342

AT&T
PO BOX 13134
NEWARK, NJ 07101

AT&T
P.O. BOX 78522
PHOENIX, AZ 85062-8522

AT&T GLOBAL NETWORK SERVICES, LLC
PO BOX 13134
NEWARK, NJ 07101-5634

AT&T MOBILITY
P.O. BOX 6463
CAROL STREAM, IL 60197-6463

A-TEK
1329 SHERMAN DR
LONGMONT, CO 80501

ATELIER FERLAND INC.
2988, CHEMW KINGSCROFT
AYER'S CLIFF, QC JOB 1CQ CANADA

ATL SOLUTIONS
P.O. BOX 99
Page 35

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GTAT Matrix
LEBANON, GA 30146

ATLANTA TRUST LTD

ATTN CHIEF FINANCIAL OFFICER
615-623 ROMCES ROAD

DARTFORD, DA2 6DY UNITED KINGDOM

ATLANTA TRUST LTD
615-623 ROMCES ROAD
DARTFORD, DA2 6DY UNITED KINGDOM

ATLANTIC SCIENTIFIC CORPORATION
BILL COOK

PO BOX 106023

4300 FORTUNE PLACE SUITE A
WEST MELBOURNE, FL 32904

ATLANTIC SCIENTIFIC CORPORATION
4300 FORTUNE PLACE SUITE A
W MELBOURNE, FL 32904

ATLAS BOX & CRATE
223 WORCESTER PROVIDENCE TURNPIKE
SUTTON, MA 01590

ATLAS COPCO COMPRESSORS LLC
1800 OVERVIEW DR
ROCK HILL, SC 29730

ATLAS COPCO COMPRESSORS LLC
DEPT CH 19511
PALATINE, IL 60055-9511

ATLAS PACKAGING(SUZHOU) CO.,LTD.
BLOCK A4-1,WEITING GONGYEFANG,
JIANGSU PROVINCE, 215121 CHINA

ATLAS TECHNOLOGIES
305 GLEN COVE ROAD
PORT TOWNSEND, WA 98368

ATM INC
7284 TOM DRIVE
BATON ROUGE, LA 70806

ATTCO, INC
2855 KOAPAKA STREET
HONOLULU, HI 96819

AUDET, SUSAN
56 SOUTH BOW RD
BOW, NH 03304

AUDIO VIDEO RESOURCES
AVAZ INC.

4323 E COTTON CENTER BLVD
PHOENIX, AZ 85040

AUDRA LOYAL
5555 PRIMROSE LN
MISSOULA, MT 59808

AUGUST STRECKER GMBH & CO. KG
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GTAT Matrix
ELEKTRO-SCHWETSSMASCHINEN- FABRIK
JAHN STRASSE 5
LIMBURG LAHN, 65549 GERMANY

AUGUST STRECKER GMBH & CO. KG
ELEKTRO-SCHWETSSMASCHINEN- FABRIK
PO BOX 1337

LIMBURG LAHN, 65533 GERMANY

AUSTFIJORD, TIMOTHY
11062 E. DRAGOON AVENUE
MESA, AZ 85208

AUTODEMO, LLC
1129 PAYNE STREET
LOUISVILLE, KY 40204

AUTOMATIC DATA PROCESSING
500 SOUTHBOROUGH DR.
SOUTH PORTLAND, ME 04106

AUTOMATIC ROLLS OF NEW ENGLAND
328 LAKE RD
DAYVILLE, CT 06241

AUTOMATION DIRECT.COM
P.O. BOX 402417
ATLANTA, GA 30384-2417

AUTOMATION. SOLUTIONS ATLANTIC
4183 EAGLE HILL DRIVE, SUITE 111
HIGH POINT, NC 27265

AUTOMATIONDIRECT.COM, INC
3505 HUTCHINSON ROAD
CUMMING, GA 30040

AUTONOMY, INC.
120 TURNPIKE RD.
SOUTHBOROUGH, MA 01772

AVAYA FINANCIAL SERVICES
CIT

PO BOX 93000

CHICAGO, IL 60673-3000

AVDB GROUP LLC
1437 WEST AUTO DRIVE
TEMPE, AZ 85284

AVFX, INC.
96 HOLTON STREET
BOSTON, MA 02135

AVID ENGINEERS, LLC

ANTHONY ALMONTE

CLOCK TOWER PLACE 17 BRIDGE STREET
BILLERICA, MA 01862

AVNET
10-M CENTENNIAL DRIVE
PEABODY, MA 01960

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GTAT Matrix
AW SHEEPSCOT HOLDING COMPANY
AW-COMPANY, LAKE MONITORS, INC.S
8809 INDUSTRIAL DR
FRANKSVILLE, WI 53126

AXA GENERAL INSURANCE HONG KONG LIM
LEVEL 11, HSBC MAIN BUILDING, 1 QUE
CENTRAL , HONG KONG

AXA GENERAL INSURANCE HONG KONG LIMITED
PO BOX NO. 90918

TSIM SHA TSUI POST OFFICE

KOWLOON

’ HONG KONG

AXENICS, INC
4 TOWNSEND WEST UNIT # 5
NASHUA, NH 03063

AXIM ENTERPRISES, INC
1300 JERICHO TURNPIKE
NEW HYDE PARK, NY 11040

AXIOM GLOBAL HK LTD.
UNIT 7R, 151 HOLLYWOOD RD.
CENTRAL HONG KONG, HONG KONG

AXIOM GLOBAL, INC.
75 SPRING STREET, 8TH FLOOR
NEW YORK, NY 10012

AXIS NEW ENGLAND
6 CHERRY HILL DRIVE
DANVERS, MA 01923

AXUS TECHNOLOGY LLC
7001 W. ERIE STREET SUITE 1
CHANDLER, AZ 85226

AYALA, JOSEPH
1711 S. EXTENSION RD, # 1076
MESA, AZ 85210

AYER SALES
2 INDUSTRIAL PARKWAY
WOBURN, MA 01801

AYERS, JOSEPH
4590 E WESTCHESTER DR
CHANDLER, AZ 85249

AZ CONTAINERS

AZ BOXES STORAGE LLC
1835 S. 19TH AVE
PHOENIX, AZ 85009

AZ CONTAINERS

AZ BOXES STORAGE LLC
2303 N. 44TH ST #14-1483
PHOENIX, AZ 85008

AZTECH CONTROLS CORP
324 S BRACKEN LANE
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CHANDLER, AZ 85224

AZTECH DESTGN

DALE MARTELL

142 SMALL LANE
MISSOULA, MT 59801

B & C CONNECTIONS LLC
682 BEECH STREET
MANCHESTER, NH 03104

B_ & H PHOTO & ELECTRONICS, CORP
420 NINTH AVENUE
NEW YORK, NY 10001

B & L GLASS CO.
3175 CLEVELAND AVENUE
SANTA ROSA, CA 95403

B&O TITLE SERVICES
PO BOX 5025
SANTA ROSA, CA 95402

B&S INTERGRATED SECURITY SYSTE
B & S LOCKSMITHS INC.

14B BROAD STREET UNIT C
NASHUA, NH 03064

B. ST. PIERRE STUDIO
68 TINKER ROAD
MERRIMACK, NH 03054

B.C. EXPRESS TRANSPORTATION
BERNABE CHAVEZ

5418 OLD REDWOOD Hwy

SANTA ROSA, CA 95403

B.H. LABRIE LANDSCAPING CO.
660 DANIEL WEBSTER HIGHWAY
MERRIMACK, NH 03054

B.R. ROOFING COMPANY
PO BOX 175
STRATHAM, NH 03885

B.W.ELLIOTT MANUFACTURING CO.,
PO BOX 773
BINGHAMTON, NY 13902

BABAYAN, STEVEN
1325 MONTCLAIRE WAY
LOS ALTOS, CA 94024

BABAYAN, STEVEN E.
1325 MONTCLAIRE WAY
LOS ALTOS, CA 94024

BABBITT BEARING CO.
1170 N. FIFTH ST.
SAN JOSE, CA 95112

BACA, MICHAEL
6445 S MAPLE AVE, APT 1050

GTAT Matrix

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GTAT Matrix
TEMPE, AZ 85283

BACCINI S.P.A

VIA POSTUMIA OVEST

244 OLMI DI $.BIAGIO DI C. TA
TREVISO, 03105 ITALY

BACHTEL, BAVID R
231 DEARBORN AVENUE
MISSOULA, MT 59801

BACKOFFICE TECHNOLOGY GROUP
5655 STATE FARM DR
ROHNERT PARK, CA 94928

BAEHRING, NICHOLAS
19525 N SANDALWOOD DR
MARICOPA, AZ 85138

BAER COUNSEL

D/B/A DAVID BAER LLC
12 TAPPAN STREET
MANCHESTER, MA 01944

BAER COUNSEL

D/B/A DAVID BAER, LLC

PO BOX 1500

MANCHESTER, MA 01944-1500

BAER, DAVID
12 TAPPAN STREET
MANCHESTER, MA 01944

BAGWELL, RUSSELL
4837 W COMMONWEALTH PL
CHANDLER, AZ 85226

BAHNS ENTERPRISE

TOM BAHNS

3040 262ND STREET
DE WITT, IA 52742

BAIKOWSKI INTERNATIONAL CORP.

ATTN JUSTIN OTTO, VICE PRESIDENT/GENERAL MANAGER
6601 NORTHPARK BLVD., SUITE H

CHARLOTTE, NC 28216

BAIKOWSKI INTERNATIONAL CORP.
6601 NORTHPARK BLVD., SUITE H
CHARLOTTE, NC 28216

BAIKOWSKI INTERNATIONAL CORP.
PO BOX 63173
CHARLOTTE, NC 28263

BAILEY, ELIZABETH
2024 S BALDWIN AVE, APT 38
MESA, AZ 85209

BAILEY, KURT
42575 W HILLMAN DR
MARICOPA, AZ 85138

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GTAT Matrix
BAKER & MC KENZIE
CHEMIN DES VERGERS 4
GENEVA, 01208 SWITZERLAND

BAKER & MCKENZIE, LLP
815 CONNECTICUT AVENUE, NW
WASHINGTON, DC 20006-4078

BAKER COMMODITIES, INC
3602 W ELWOOD ST
PHEONIX, AZ 85009

BAKER COMMODITIES, INC
PO BOX 6518
PHOENIX, AZ 85005

BAKER, DONALD
1142 EAST MOON VISTA ST
APACHE JUNCTION, AZ 85119

BAL, K. RAJA S.
243 DANIEL WEBSTER HIGHWAY
MERRIMACK, NH 03054

BAL, KANWARDEV
22 HATHWAY ROAD
LEXINGTON, MA 02420

BALAKRISHNAN BATHEY
32 HENRY J DRIVE
TEWKSBURY, MA 01876

BALDWIN, CHRIS
5124 — PINCHOT AVE
PHOENIX, AZ 85018

BANACOS, ELAINE
6759 E VINSON CIRCLE
MESA, AZ 85215

BANACOS, FRANCIS
53 WHITE BIRCH LANE
NO ANDOVER, MA 01845

BANACOS, FRANK
53 WHITE BIRCH LANE
NORTH ANDOVER, MA 01845

BANACOS, JOHN
515 WINNACUNNET RD
HAMPTON, NH 03842

BANDA FLORES, STARLIT
4853 w FOLLEY STREET
CHANDLER, AZ 85226

BANEY, KEVIN
893 W MESQUITE TREE LANE
SAN TAN VALLEY, AZ 85143

BANISH, GORDON
13251 MASONIC BLVD
WARREN, MI 48088
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GTAT Matrix

BANK OF AMERICA
100 FEDERAL STREET
BOSTON, MA 02110

BANK OF AMERICA
100 w 33RD ST.
NEW YORK, NY 10001

BANK OF AMERICA
401 NORTH TRYON STREET
CHARLOTTE, NC 28255

BANK OF AMERICA
NEUE MAINZER STRASSE 52
FRANKFURT AM MAIN, 60311 GERMANY

BANK OF AMERICA (LUXEMBOURG)
UITBREIDINGSTRAAT 180, BOX 6, B2600
ANTWERP, LUXEMBOURG

BANK OF AMERICA HONG KONG
9/F DEVON HOUSE, 979 KINGS ROAD
' HONG KONG

BANK OF AMERICA, N.A.

C/O MERRILL LYNCH, PIERCE, FENNER & SMITH INCORPORATED
ATTN JOHN SERVIDIO

ONE BRYANT PARK

NEW YORK, NY 10036

BANK OF AMERICA,MERRILL LYNCH
42/F.,TWO INTERNATIONAL FINANCE CEN
HONG KONG, HONG KONG

BANK OF CHINA
410 MADISON AVENUE
NEW YORK, NY 10017

BANK OF CHINA
61F, 1266 NANJING ROAD Cw)
SHANGHAI, 200040 CHINA

BANKSON, GARY
2509 E KNOX RD
CHANDLER, AZ 85224

BANNER INDUSTRIES, INC.
ONE INDUSTRIAL DRIVE
DANVERS, MA 01923

BANNON, SEAN
755 S. 42ND STREET
BOULDER, CO 80305

BANVILLE OPTICAL INC
88 LAFAYETTE STREET
SALEM, MA 01970

BAOJI KEDIPU NON-FERROUS METALS PRO
NO.1,YONGQING INDUSTRIAL PARK
MA YINGZHEN WEIBIN DISTRICT, 721013 CHINA

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BAR CODE DIRECT, INC
41 N. MAIN STREET
GRAFTON, MA 01536

BAR CODE DIRECT, INC
PO BOX 459
GRAFTON, MA 01536

BARBEAU~HUTCHINGS ADVERTISING,
30 CONTROLS DRIVE
SHELTON, CT 06484

BARDA, ANDREW
5134 E BRANCHWOOD DR
BOISE, ID 83716

BARHAM, GINGER
2611 CARDINAL DRIVE
MISSOULA, MT 59803

BARNCASTLE, KARLA
1033 W. SANTA CRUZ DR
TEMPE, AZ 85282

BARNES ENGINEERING CO.
2715 DELTA PLACE
COLORADO SPRINGS, CO 80910

BARNHART CRANE AND RIGGING
3460 I-55 SOUTH
JACKSON, MS 39212

BARNHART CRANE AND RIGGING
PO BOX 2153, DEPT. 1906
BIRMINGHAM, AL 35287

BARON MACHINE CO., INC.
40 PRIMROSE DRIVE
LACONIA, NH 03246

BARRETT, MICHAEL
1120 W MESQUITE AVE
APACHE JUNCTION, AZ 85120

BARRIGA, VALENTIN
1529 E. SHEFFIELD AVE
CHANDLER, AZ 85225

BARRINGTON, ROBERT
2055 E BROADWAY RD, #255
MESA, AZ 85204

BARRON, TRENT W

DBA RYANS CUSTOM CRATING
P.O. BOX 275

FULTON, CA 95439

BARRY, DOUGLAS
243 DANIEL WEBSTER HIGHWAY
MERRIMACK, NH 03054

BARRY, DOUGLAS
62 STONECLEAVE RD

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NORTH ANDOVER, MA 01845

BARTH, ROLF F.
2670 CRAFTON PARK
COLUMBUS, OH 43221

BASU, SANDIP
5061 W. JUPITER WAY
CHANDLER, AZ 85226

BATTERIES PLUS
522 AMHERST STREET
NASHUA, NH 03063

BATTIN, DAVID wW.
483 NEWPORT PLACE
SANTA ROSA, CA 95403

BATTY, MICHAEL
31 GREENWOOD ST
WAKEFIELD, MA 01880

BAUER, DOUGLAS
2834 S EXTENSION, #1045
MESA, AZ 85210

GTAT Matrix

BAY CITIES TOOL & SUPPLY INC

35367-D FIRCREST STREET
NEWARK, CA 94560

BAY CITIES TOOL & SUPPLY INC.

35367 FIRCREST ST. #D
NEWARK, CA 94560

BAY COMPOSITES INC
GLENN FONZI INC
1801 JARMAN STREET
ESSEXVILLE, MI 48732

BAY COPY
PO BOX 525
ROCKLAND, MA 02370

BAY STATE SCALE & SYSTEMS, INC.

7 RAY AVE.
BURLINGTON, MA 01803

BAY VALVE SERVICE, INC.
6554 S$. FRONTAGE ROAD
BILLINGS, MT 59101

BAY, WARREN
1922 E. PALOMINO DR
TEMPE, AZ 85284

BAYERISCHE HYPO-UND
VEREINSBANK AG

150 EAST 42ND ST. 28TH
NEW YORK, NY 10017

BAYTECH GROUP
60 BIRCHWOOD LANE
LINCOLN, MA 01773

FL

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GTAT Matrix

BAYVIEW PLASTIC SOLUTIONS INC.
45990 HOTCHKISS STREET
FREMONT, CA 94539

BAZELL TECHNOLOGIES CORPORATION
5066 COMMERCIAL CIRCLE, SUITE C,D,E
CONCORD, CA 94520

BCIA

NEW ENGLAND HOLDING LLC
PO BOX 31130

HARTFORD, CT 06150

BDC INC.
436 ANGLUM ROAD
HAZELWOOD, MO 63042

BDO USA, LLC
770 KENMOOR SE, SUITE 300
GRAND RAPIDS, MI 49546

BEACON CONSULTING SERVICES INC
25/7 BIBLE HILL EXT
FRANCISTOWN, NH 03043

BEACON INDUSTRIES, INC.
12300 OLD TESSON RD.
SAINT LOUIS, MO 63128-2247

BEACON INDUSTRIES, INC.
12300 OLD TESSON RD., SUITE 400 D
ST. LOUIS, MO 63128-2247

BEAED, LP
1850 HWY 35 BYPASS N
ALVIN, TX 77511

BEANTOWN STAFFING, LLC
1201 WESTFORD STREET, B4
LOWELL, MA 01851

BEARINGS SPECIALTY CO., INC.
PO BOX 6009

4 TOWNSEND WEST

NASHUA, NH 03063

BEASLEY, JEROME
1283 PARKLANE DR, #225
CHANDLER, AZ 85224

BEATY, WILLIAM
655 W. PRICKLEY PEAR DR
CASA GRANDE, AZ 85122

BEAUDETTE CONSULTING ENGINEERS
131 Ww. MAIN
MISSOULA, MT 59802

BEAUMAC COMPANY, INC.
382 SUNCOOK VALLEY HWY
EPSOM, NH 03234

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BEAUMAC COMPANY, INC.
382 SUNCOOK VALLEY HIGHWAY, ROUTE 2
EPSOM, NH 03234

BEAUMONT, JOHN
4247 E. BETSY LANE
GILBERT, AZ 85296

BECKART ENVIRONMENTAL INC.
6900 46TH STREET
KENOSHA, WI 53144

BECO MANUFACTURING CO. INC.
23361 PERALTA DRIVE
LAGUNA HILLS, CA 92653

BECOMING INDEPENDENT
1425 CORPORATE CENTER PARKWAY
SANTA ROSA, CA 95407

BEDFORD MASSAGE THERAPY ASSOC
BEDFORD COMMONS

112 RIVERWAY PLACE, BLDG 1
BEDFORD, NH 03110

BEDFORD NATURAL MEDICINE
82 PALOMINO LANE, SUITE 501
BEDFORD, NH 03110

BEDFORD SPECIALTY SALES INC.
2 SHAKER ROAD, SUITE D206
SHIRLEY, MA 01464

BEDFORD VILLAGE INN
2 OLDE BEDFORD WAY
BEDFORD, NH 03110

BEDINGHAUS, KEVIN
2940 S. CRAWFORD ST.
MESA, AZ 85212

BEDONIE, DALE
19401 N 7TH ST, #76
PHOENIX, AZ 85024

BEHM QUARTZ INDUSTRIES LTD
131 JANNEY ROAD
DAYTON, OH 45404

BEHRMANN COMPANY
4173 HOFFMEISTER AVENUE
ST. LOUIS, MO 63125

BEI TECHNOLOGIES INC.
7230 HOLLISTER AVENUE
GOLETA, CA 93117

BEIJING AMART TECHNOLOGY
SECOND FLOOR WEST END,BLDG B
NO.31 XISANQI JIANCAICHENG WEST RD,

BETJING BUILDING MATERIALS
JIN YU MANSION NO. 129A

GTAT Matrix

100096 CHINA

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BEIJING, 10031 CHINA

BEIJING CHUNSHU RECTIFIER CO., LTD.
NO. JIA 3 SANQINGDI FENGTAI DISTRIC
BEIJING, 100040 CHINA

BEIJING MAIKENQIAO XINCAILIAO
SHENGCHANLI CUJIN ZHONGXIN YOUXIAN
GONGST

ROOM 702, CYBER TOWER B, NO.2 ZHONG
HAIDIAN DISTRICT, 100086 CHINA

BEIJING SINOBRIDGE LAWYERS
UNITE 808, OFFICE TOWER A, E-WORLD
BEIJING, 100080 CHINA

BEIJING TIAN-LONG

TUNGSTEN & MOLYBDENUM CO LTD
ZHAOLI INDUS. ZONE LUCHENG TWN
TONGZHOU DISTRICT

BEIJING, CHINA

BEIJING ZHONGZI LAW OFFICE SHANGHAT
BRANCH

SUITE 302,UNION BUILDING, NO.100, Y
SHANGHAI, 200002 CHINA

BELILOVE COMPANY — ENGINEERS
21060 CORSAIR BLVD
HAYWARD, CA 94545

BELILOVE COMPANY-ENGINEERS
21060 CORSAIR BLVD

P.O. BOX 55936

HAYWARD, CA 94545

BELISLE GRANITE CO.
274 HACKETT HILL ROAD
HOOKSETT, NH 03106-2515

BELIZAIRE, YOLIE
35 TUDOR ST, #9
LYNN, MA 01902

BELL WINDOW CLEANING
85 MANCHESTER STREET, #1B
CONCORD, NH 03301

BELL, DAWN
2146 NOCHE DE PAZ
MESA, AZ 85202

BELL, VICTORIA
7529 W WAR DANCE CIRCLE
QUEEN CREEK, AZ 85142

BELLA ROSA COFFEE COMPANY, INC
5491 SKYLANE BLVD., STE. 116
SANTA ROSA, CA 95403

BELLOWS TECH LLC
501 LITTLE FALLS RD
CEDAR GROVE, NJ 07009-1291

GTAT Matrix

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GTAT Matrix

BELMONT, WILLIAM
4041 W. SIESTA WAY
LAVEEN, AZ 85339

BELNAP, TY
2224 BULEN ST
MISSOULA, MT 59801

BENALLY, NEAL
2142 E. WILDERMUTH AVE
TEMPE, AZ 85281

BENCHMARK ELECTRONICS (LONDONDERRY)
BENCHMARK MEXICO

34 LONDONDERRY ROAD

LONDONDERRY, NH 03053

BENCHMARK ELECTRONICS (M) SDN BHD
PLOT 17A & 17B, TECHNOPLEX, PHASE I
MEDAN BAYAN LEPAS, 11900 MALAYSIA

BENCHMARK ELECTRONICS DE MEXICO, S.
BENCHMARK MALAYSIA

CIRCUITO DE LA PRODUCTIVIDAD # 132
COLONIA LAS PINTAS, 45690 MEXICO

BENCHMARK ELECTRONICS DE MEXICO, S. DE R.L. DE C.V.
ATTN CHIEF FINANCIAL OFFICER

A, CIRCUITOS DE LA PRODUCTIVDAD 132

PARQUE INDUSTRIAL GUADALAJARA

EL SALTO, JALISCO, 45690 MEXICO

BENCHMARK ELECTRONICS INC
3000 TECHNOLOGY DR
ANGLETON, TX 75515

BENCHMARK ELECTRONICS INC
4065 THEURER BLVD
WINONA, MN 55987

BENDER, INC.

HIGHLAND CORP. CENTER
700 FOX CHASE
COATESVILLE, PA 19320

BENEQ, INC.
6340 SUGARLOAF PARKWAY, SUITE #200
DULUTH, GA 30097

BENTHAM, MARK
6446 E. TRAILRIDGE CIRCLE, UNIT 78
MESA, AZ 85215

BERACHA TECH

32 ISRAEL ZUPNICK DR
UNIT 202

MONROE, NY 10950

BERAUD, GORDON
3055 E. WINGED FOOT DR
CHANDLER, AZ 85249

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GTAT Matrix
BERENDSEN FLUID POWER
401 S. BOSTON
SUITE 1200
TULSA, OK 74103-4013

BERG ENGINEERING AND SALES COMPANY
3893 INDUSTRIAL AVE
ROLLING MEADOWS, IL 60008

BERG, EWALD
15810 W PORT AR PRINCE LANE
SURPRISE, AZ 85379

BERGEN CABLE TECHNOLOGY, LLC
343 KAPLAN DRIVE
FAIRFIELD, NJ 07004

BERGER LICHTTEHNIK GMBH & CO
WOLFRATSHAUSER STR. 150
PULLACH IM ISARTAL, 82049 GERMANY

BERGGREN, KARL
9859 E OLLA
MESA, AZ 85212

BERKSHIRE ENVIRONMENTAL CONSULTANTS
1450 EAST STREET, SUITE 6-H
PITTSFIELD, MA 01201

BERRY, CHAPARRAL
504 S. 22ND AVE APT 9
BOZEMAN, MT 59718

BERRY, CHRISTOPHER
81 WESTSIDE DR
EXETER, NH 03833

BERTON TRUCKING
14 DEBBIE DRIVE
PELHAM, NH 03076

BERTRAM CONTROLS CORP. LLC.
22 TOBEY ROAD
BLOOMFIELD, CT 06002

BERUFSGENOSSENSCHAFT HANDEL UND
WARENDISTRIBUTION

ARNULFSTR 283

MUNCHEN, 80639 GERMANY

BESHEARS, DOUGLAS
3104 E. VAN BUREN, #3102
PHOENIX, AZ 85008

BESMER, KARLENE
623 S. 97TH WAY
MESA, AZ 85208

BESS MTI INC
991 GEORGE ST
SANTA CLARA, CA 95050

BEST BUY
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PO BOX 5229
CAROL STREAM, IL 60197-5229

BESWICK ENGINEERING CO. INC.
284 OCEAN ROAD
GREENLAND, NH 03840

BETANCOURT, RUDOLPH
10146 E. ISLETA AVE
MESA, AZ 85209

BETTER ENGINEERING MANUFACTURING
8361 TOWN CENTER COURT
BALTIMORE, MD 21236-4964

BETTY, DANTEL
8 NEWMAN HILL DRIVE
ANDOVER, MA 01810

BEYOND COMPONENTS, INC.
5 CARL THOMPSON ROAD
WESTFORD, MA 01886

BFS ASSOCTATES, INC.
600 UNICORN PARK DRIVE
WOBURN, MA 01801

BHADUWALA, ARPAN
66 GEORGETOWN DRIVE
NASHUA, NH 03062

BHARGAVA, ATUL
3240 S. SIGNAL BUTTE RD
MESA, AZ 85212

BIA THOMAS
315 TALL TIMBER MEADOWS DRIVE
BALLWIN, MO 63021

BICKFORD HOUSE, LLC
1463 BLUSH HILL RD.
WATERBURY, VT 05676

BID SERVICE
225 WILLOWBROOK ROAD
FREEHOLD, NJ 07728

BIEL CRYSTAL
16-18 HING YIP STREET, KWUN TONG
KWUN TONG, HONG KONG

BIG BEAR SIGN CO., INC.
1315 CLARK FORK LANE
MISSOULA, MT 59808

BIG BROTHERS BIG SISTERS OF MISSOUL
1520 S. RUSSELL
MISSOULA, MT 59801

BIG SKY BOOSTER CLUB
2982 SANDALWOOD CT.
MISSOULA, MT 59804

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GTAT Matrix
BIG SKY MACHINING INCORPORATED
190 BIG SKY LANE
SUPERIOR, MT 59872

BIGELOW, FRANK
34556 N. APPALOOSA WAY
QUEEN CREEK, AZ 85142

BIGGERS TRANSPORT
3873 WYNNE AVENUE
BUTTE, MT 59701

BIGRAPHICS, INC.
472 AMHERST STREET
NASHUA, NH 03063

BILL JOHNSON PAINTING
PO BOX 658
WINDHAM, NH 03087

BILLCO MANUFACTURING, INC
100 HALSTEAD BLVD
ZELIENOPLE, PA 16063

BILLINGS GAZETTE
PO BOX 31238
BILLINGS, MT 59107

BILLS AUTO CLINC
2 COMMERCIAL STREET
SALEM, MA 01970

BINDER REISEN STUTTGART
BERGHEIMER STR. 12 D-
STUTTGART, 70499 GERMANY

BINGHAM MC CUTCHEN LLP
150 FEDERAL STREET
BOSTON, MA 02110

BIRCH TREE PROMOTIONS, INC.
5 TYNG STREET
NEWBURYPORT, MA 01950

BISCO INDUSTRIES INC.
649 EAST INDUSTRIAL PARK DRIVE
MANCHESTER, NH 03109

BISIG, DAVID
PO BOX 8134
SCOTTSDALE, AZ 85252

BITTNER, FREDERICK
3130 E. SANTA FE LANE
GILBERT, AZ 85297

BIVAC NORTH AMERICA INC.
3663 N. SAM HOUSTON PKWY. E.
HOUSTON, TX 77032

BIVAC NORTH AMERICA INC.
8175 Nw 12 STREET SUITE 110
MIAMI, FL 33126

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BJT TRUCK REPAIR, INC.
PO BOX 697

17 STAR DRIVE
MERRIMACK, NH 03054

BK SYSTEMS, INC.
4 COTE AVENUE
GOFFSTOWN, NH 03045

BLACK BOX CORPORATION
1000 PARK DRIVE
LAWRENCE, PA 15055

BLACK DIAMOND NETWORKS, INC.
23 MAIN STREET
ANDOVER, MA 01810

BLACK KNIGHT SECURITY AND INVESTIGA
TIONS, LLC

3325 HELENA DRIVE

MISSOULA, MT 59803

BLACK, SENGERS & ASSOCIATES
GLOBAL TRADE CONSULTING

161 CROSS KEYS, SUITE 2
MASSANUTTEN, VA 22840

BLACKBOX TECHNOLOGIES
89 JENNIE CIRCLE
AGAWAM, MA 01001

BLACKFOOT COMMUNICATIONS

D/B/A CUTTHROAT COMMUNICATIONS
1221 NORTH RUSSELL STREET
MISSOULA, MT 59808

BLACKFOOT COMMUNICATIONS, INC.
1221 N. RUSSELL ST.
MISSOULA, MT 59808

BLACKMORE AND GLUNT, INC.
12 KILMER DRIVE
MARYLAND HEIGHTS, MO 63043

BLATR-IR LLC
80 FOREST AVENUE
NEW ROCHELLE, NY 10804

BLAKES AUTO BODY, INC.
D/B/A BACKOFFICE TECHNOLOGY GROUP
5655 STATE FARM DRIVE
ROHNERT PARK, CA 94928

BLAKES, CASSELS & GRAYDON LLP
199 BAY STREET, SUITE 2800
TORONTO, ON M5L 1A9 CANADA

BLANCHARD TRAINING & DEVELOPMENT
D/B/A THE KEN BLANCHARD COMPANIES
125 STATE PLACE

ESCONDIDO, CA 92029

GTAT Matrix

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GTAT Matrix

BLOOMBERG FINANCE L.P.
731 LEXINGTON AVENUE, LOTH FL
NEW YORK, NY 10022

BLUE DAWG POWER WASH OF SOUTHERN NH
3 COLONEL WILKINS RD.
AMHERST, NH 03031

BLUE DOG BRAND WORKS
54 CUMBERLAND STREET
BRUNSWICK, ME 04011

BLUE HIVE, INC.
7 COPPAGE DRIVE
WORCESTER, MA 01603

BLUE POND SIGNS
166 HAMILTON DRIVE, SUITE F
NOVATO, CA 94949

BLUE RIDGE OPTICS LLC
118 CENTER ST
BEDFORD, VA 24523

BLUE STONE INTERNATIONAL LLC
350 N. LASALLE STREET
CHICAGO, IL 60610

BLUEBEAM SOFTWARE
55 S. LAKE AVE., SUITE 900
PASADENA, CA 91101

BNA TAX MANAGEMENT
9435 KEY WEST AVENUE
ROCKVILLE, MD 20850

BNP MEDIA

ACCOUNTING DEPARTMENT
PO BOX 2600

TROY, MI 48007-2600

BNP MEDIA
PO BOX 2600
TROY, MI 48007-2600

BOARD LEADERS LLC
762 SOUTH STREET
NEEDHAM, MA 02492

BOARD LEADERS LLC
PO BOX 920706
NEEDHAM, MA 02492

BOARD OF EQUILIZATION
250 SOUTH SECOND STREET
SAN JOSE, CA 95113

BOARD OF TRUSTEES OF THE LELAND STA
D/B/A SLAC NATIONAL ACCELERATOR LAB
2575 SAND HILL ROAD
MENLO PARK, CA 94025

BOARD OF TRUSTEES OF THE LELAND STA
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GTAT Matrix
D/B/A SLAC NATIONAL ACCELERATOR LAB
3145 PORTER DRIVE
PALO ALTO, CA 94304

BOARDEVALS, LLC
873 EMBARCADERO DR., SUITE 3
EL DORADO HILLS, CA 95762

BOARDVANTAGE, INC.
4300 BOHANNON DRIVE, SUITE 110
MENLO PARK, CA 94025

BOCK & CLARK CORPORATION
537 N. CLEVELAND-MASSILLON RD.
AKRON, OH 44333

BOCRA INDUSTRIES INC
140 BATCHELDER ROAD
SEABROOK, NH 03874

BODDY, JEROME
10353 E. OSAGE AVE
MESA, AZ 85212

BODE EQUIPMENT CO.
23 LONDONDERRY ROAD, UNIT 12
LONDONDERRY, NH 03053

BODINE ELECTRIC CO.
2500 WEST BRADLEY PLACE
CHICAGO, IL 60618

BOGLE, RICHARD
7 COLES ROCK RD
MERRIMACK, NH 03054

BOHART, SEAN
19454 E ORIOLE WAY
QUEEN CREEK, AZ 85142

BOISE OFFICE FURNITURE
329 HARVEST LANE
WILLISTON, VT 05495

BOISE STATE UNIVERSITY

ATTN NANCY/PURCHASING MS 1210
1910 UNIVERSITY DRIVE

BOISE, ID 83725

BOKERS, INC.
3104 SNELLING AVENUE
MINNEAPOLIS, MN 55406

BOLTON, ANDREW J
520 SONOMA AVE
SANTA ROSA, CA 95401

BOMAS MACHINE SPECIALTIES, INC.
334 WASHINGTON STREET
SOMERVILLE, MA 02143

BOND OPTICS, LLC
PO BOX 422

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GTAT Matrix

LEBANON, NH 03766

BONDEX LOGISTICS CO., LTD.
FLAT B, 18TH FL. GUTAI BLDG., NO 18
QUINGDAO, 266071 CHINA

BONNER, ROSEMARY
425 E. CULLUMBER AVE, APT D
GILBERT, AZ 85234

BONNIE DUFAULT
33 EMERSON RD.
NORTHBORO, MA 01532

BORDER STATES ELECTRIC
5519 E WASHINGTON
PHOENIX, AZ 85034

BORDER STATES ELECTRIC SUPPLY
CAROL MOTSCHENBACHER

PO BOX 4387

101 SOUTH CAITLIN

MISSOULA, MT 59801-1511

BORDERS, INC.
100 PHOENIX DRIVE
ANN ARBOR, MI 48107-7069

BORJAS, THOMAS
6314 S EAGLE PASS RD
GOLD CANYON, AZ 85118

BORMANN BROTHERS, INC.
30 LOMAR PARK DRIVE
PEPPERELL, MA 01463

BORNHEIM, MELISSA
263 ISLAND POND RD
DERRY, NH 03038

BOSCH REXROTH CORP.
816 EAST THIRD STREET
BUCHANAN, MI 49107

BOSCOMODELWERKS
275 LEBANON ST.
MALDEN, MA 02148

BOSS TOOL CORP
21 ROBERTS RD
DOVER, NH 03820

BOSTON BAR FOUNDATION
PO BOX 845680 , ATTN ADAMS BALL
BOSTON, MA 02284-5680

BOSTON BEAN COFFEE COMPANY
23 DRAPER STREET
WOBURN, MA 01801

BOSTON CAFE & CATERING
325 NEW BOSTON STREET # 15
WOBURN, MA 01801
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BOSTON CENTER FOR THE ARTS
539 TREMONT STREET
BOSTON, MA 02116

BOSTON HYDRAULIC & MACHINE
PO BOX 190744

1601 COLUMBIA AVENUE
BOSTON, MA 02119

BOSTON MACHINERY, INC.
119 FOSTER ST.
PEABODY, MA 01960

BOSTON PIEZO-OPTICS INC
38B MAPLE STREET
BELLINGHAM, MA 02019

BOSTON SHOWSTOPPERS
44 MALLETT STREET #1
BOSTON, MA 02124

BOSTON TECHNOLOGY CONSULTANTS
9 TABOR HILL ROAD
LINCOLN, MA 01773

BOSTONBEAN COFFEE CO. INC.
23 DRAPER STREET
WOBURN, MA 01801

BOTHERN JR., JOHN R.
1869 WINDMILL CIRCLE
SANTA ROSA, CA 95403

BOTHERN, JOHN R
1869 WINDMILL CIRCLE
SANTA ROSA, CA 95403

BOTTOM LINE CONSULTING LLC
37 QUINNIPIAC AVE
NEW HAVEN, CT 06513

BOTTU, JON
520 JUILLIARD PARK DR.
SANTA ROSA, CA 95401

BOUCHARD, PAUL W.
31 LA SALLE PL
OAKDALE, NY 11769

BOULT WADE TENNANT
PO BOX 60427
CHARLOTTE, NC 28260

BOULT WADE TENNANT
VERULAM GARDENS/70 GRAYS INN ROAD
LONDON, WC1X8BT UNITED KINGDOM

BOUNDS, MELVIN
1740 E. FRANCISCO DR
PHOENIX, AZ 85042

BOURQUE, DANIEL

GTAT Matrix

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GTAT Matrix
130 ALLDS STREET
NASHUA, NH 03060

BOUTIN ALTIERI, PLLC

PO BOX 1107

ONE BUTTRICK ROAD, PO BOX 1107
LONDONDERRY, NH 03053

BOVIE SCREEN PROCESS PRINTING
P.O. BOX 720
CONCORD, NH 03302-0720

BOXX DESIGN GROUP
NO.788,DING XI LU,6/F, UNIT C,
CHANGNING DISTRICT, 200052 CHINA

BOY SCOUTS OF AMERICA, PACK 4908
16044 FRENCHTOWN FRONTAGE RD.
FRENCHTOWN, MT 59834

BOYD COATINGS RESEARCH CO., INC.
51 PARMENTER RD.
HUDSON, MA 01749-3213

BOYLE,DEVENY & MEYER PC
305 S 4TH E, SUITE 200
MISSOULA, MT 59801

BOZEMAN DAILY CHRONICLE
VIOLA GREEN

PO BOX 1190

BOZEMAN, MT 59771

BP SOLAR INTERNATIONAL INC.
630 SOLAREX COURT
FREDERICK, MD 21703

BRAD MINTZ PHOTOGRAPHY
24R COLUMBIA WAY
NEWBURY, MA 01951

BRAD WALLIS
1474 RUSCH CT
SANTA ROSA, CA 95401

BRADBURY SCHOOL PTA LIMITED
43C STUBBS ROAD
HONG KONG, HONG KONG

BRADY INDUSTRIES OF ARIZONA, LLC
4422 S 38TH PLACE
PHOENIX, AZ 89118

BRADY INDUSTRIES OF ARIZONA, LLC
7055 LINDELL RD
LAS VEGAS, NV 85040

BRADY WORLDWIDE, INC.

PO BOX 2131

6555 WEST GOOD HOPE ROAD
MILWAUKEE, WI 53201

BRAGG, CANDIS
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GTAT Matrix
2126 W. ALTA VISTA RD
PHOENIX, AZ 85041

BRAHMBHATT, SAGAR
PO BOX 195, 95 NORTH PEPPERELL RD
HOLLIS, NH 03049

BRAINARD, ROBERT
780 PONDEROSA AVENUE
SUNNYVALE, CA 94086

BRAINARD, ROBERT JAMES
780 PONDEROSA AVE
SUNNYVALE, CA 94086

BRAND, STEPHEN
405 SAINT MARY DRIVE
STEVENSVILLE, MT 59870

BRANDERS.COM, INC.
STE 300, 1850 GATEWAY DRIVE
SAN MATEO, CA 94404

BRANNEKY TRUE VALUE
11403 ST. CHARLES ROCK ROAD
BRIDGETON, MO 63044

BRANOM INSTRUMENT CO.
P.O. BOX 80307
SEATTLE, WA 98108-0307

BRANOM INSTRUMENT CO., INC.
PO BOX 80307

5500-4TH AVE SO.

SEATTLE, WA 98108

BRANOM INSTRUMENT CO., INC.

PO BOX 80307

PO BOX 80307, 5500-4TH AVE SO.
SEATTLE, WA 98108

BRANTS PLANTS
2200 SOUTH 5TH WEST #4
MISSOULA, MT 59801

BRAVO CATERING
224 N. HIGGINS AVENUE
MISSOULA, MT 59802

BRAY, SCOTT
13311 E. MARIGOLD
FLORENCE, AZ 85132

BRAZA, JOSEPH F.
4211 ALY DRIVE
DOYLESTOWN, PA 18902

BRECOFLEX CO., L.L.C.
PO BOX 829

222 INDUSTRIAL WAY WEST
EATONTOWN, NJ 07724

BREED, GARRY
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1634 INVERNESS AVE
MESA, AZ 85204

BREIDENBACH, TIM
2294 E OLIVINE RD
SAN TAN VALLEY, AZ 85143

BRENNAN FOOD VENDING

BRENNAN VENDING OF LONDONDERRY
6 MAYFLOWER DRIVE

LONDONDERRY, NH 03053

BRESNAN COMMUNICATIONS
924 S 3RD ST W
MISSOULA, MT 59801-2340

BRETTELL, BARKER
100 HAGLEY ROAD

GTAT Matrix

EDGBASTON, BIRMINGHAM, B16 8QQ UNITED KINGDOM

BREVAN ELECTRONICS
6 CONTINENTAL BOULEVARD
MERRIMACK, NH 03054

BREWER SCIENCE, INC.
2401 BREWER DRIVE
ROLLA, MO 65401

BRIAN JAMES ELLINGWOOD
1202 S. MONTANA AVENUE
BOZEMAN, MT 59701

BRIDGE, THE
600 SHOUTH IGGINS AVENUE
MISSOULA, MT 59801

BRIERLY LOMBARD AND CO INC
1017 SOUTHBRIDGE STREET
WORCESTER, MA 01610

BRIGHT LIGHT WELDING & MFG INC
3395 A EDWARD AVE
SANTA CLARA, CA 95054

BRIGHTON TRU-EDGE HEADS
11861 MOSTELLER RD
CINNCINATI, OH 45241

BRIGHTON TRU~EDGE HEADS
4955 SPRING GROVE AVENUE
CINCINNATI, OH 45232

BRINKMANN PUMPS, INC.
47060 CARTIER DRIVE
WIXOM, MI 48393

BRINTON, REID
1446 S. MONTEREY ST
GILBERT, AZ 85233

BRISKHEAT CORP.
1055 GIBBARD AVENUE
COLUMBUS, OH 43201

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BRISKHEAT CORPORATION
1055 GIBBARD AVENUE
COLUMBUS, OH 43201

BROADRIDGE
PO BOX 416423
BOSTON, MA 02241-6423

BROCK SOLUTIONS
86 ARDELT AVENUE
KITCHENER, ON N2C 2C9 CANADA

BRODIE INC
PO BOX 1888
LAWRENCE, MA 01843

BRODOCK, MICHAEL
12541 E LAUREL LN
SCOTTSDALE, AZ 85259

BROOKS AUTOMATION
25347 NETWORK PLACE
CHICAGO, IL 60673-1253

BROOKS AUTOMATION INC.
25347 NETWORK PLACE
CHICAGO, IL 60673-1253

BROOKS AUTOMATION SOFTWARE
No. 100-13777 COMMERCE PARKWAY
RICHMOND, B.C, BC V6V 2X3 CANADA

BROOKS INSTRUMENT LLC
407 WEST VINE STREET
HATFIELD, PA 19440-0903

BROOKS INSTRUMENT LLC
PO BOX 730139
DALLAS, TX 75373-0139

BROOKS, BRANDON
5/F, 31 WING FUNG STREET, WANCHAIL
; HONG KONG

BROOKTRONICS ENGINEERING CORP
28231 AVE CROCKER UNIT 70
VALENCIA, CA 91355

BROUILLETTE, JOHN
29 GLEN DRIVE
HUDSON, NH 03051

BROWN PARTSMASTER INC
7280 N GLENN HARBOR
GLENDALE, AZ 85307

BROWN RUDNICK LLP
ONE FINANCIAL CENTER
BOSTON, MA 02111

BROWN&BROWNMCDUFFEE INSURANCE
PO BOX 1510

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GTAT Matrix
309 DANIEL WEBSTER HIGHWAY
MERRIMACK, NH 03054

BROWN, ALANNA
123 FLEUR DE LIS DRIVE
WENTZVILLE, MO 63385

BROWN, GREGORY
51 CIDER MILL RD
BEDFORD, NH 03110

BROWN, MAURICE
2545 N 83RD AVE, #2285
PHOENIX, AZ 85035

BROWN, MICHAEL D.
1350 CHELEQ COURT
MISSOULA, MT 59804

BROWN, SHAUN
2601 E. MCKELLIPS RD, #2064
MESA, AZ 85213

BROYER, DAVID
20 MORNING DOVE RD
KINGSTON, NH 03848

BRUNER, RONALD
213 N 110TH STREET
APACHE JUNCTION, AZ 85120

BRUNO, ANTHONY
3 PEPPERCORN LN
HAVERHILL, MA 01830

BRYAN CAVE LLP
503089 PO BOX
ST. LOUIS, MO 63150

BRYAN L. FICKETT
172 NIELSON RD
STEVENSON, WA 98648

BRYAN NETTLES
163 CONWAY DRIVE WEST
MOBILE, AL 36608

BRYANT CONTROL, INC
2933 N. WEBSTER AVE
INDIANAPOLIS, IN 46219

BRYANT, SEAN
1271 S. BOGLE CT
CHANDLER, AZ 85286

BRYSON ENTERPRISES

DBA CC&M WELDING&INSTALLATION
1388 B COPPERHILL PARKWAY
SANTA ROSA, CA 95403

BS & B SAFETY SYSTEMS
C/O STAFFORD TECHNICAL SALES
162 WOBURN STEET
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ANDOVER, MA 01810

BS&B SAFETY SYSTEMS

C/O NORTHWEST FLUID SOLUTIONS
11814 NE 116TH STREET
KIRKLAND, WA 98034

BSG CONSULTING
161 CROSS KEYS CT., STE 2
MASSANUTTEN, VA 22840

BSP TRANS INC

PO BOX 1387

2500 LIBERTY DRIVE
LONDONDERRY, NH 03053

BTG SCIENCE PRODUCTS, LLC
PAUL FARRELL

28 SWAN COURT

GLEN COVE, NY 11542

BTS LOGISTICS, INC.
125 STEWART ROAD
WILKES~BARRE, PA 18706

BTS LOGISTICS, INC.
30 W 196 CALUMET AVE
WARRENVILLE, IL 60555

BUCHANAN AUTOMATION INC.
PO BOX 1249
SNOHOMISH, WA 98291

BUCK CONSULTANTS, LLC

ACS HUMAN RESOURCES SOLUTIONS
ONE PENNSYLVANIA PLAZA 30TH FL
NEW YORK, NY 10119

BUCKEYE FABRICATING COMPANY
245 S. PIONEER BLVD
SPRINGBORO, OH 45066

BUCKINGHAM BUS CO., INC.
PO BOX 8, 40 STATION AVENUE
GROTON, MA 01450

BUCKLEY SYSTEMS, LTD.
11 BOWEN ROAD
MOUNT WELLINGTON, NEW ZEALAND

BUCKLIN OFFICE FURNITURE
31 STETSON ST
LYNN, MA 01904

BUDROVICH
10328 LAKE BLUFF DRIVE
ST. LOUIS, MO 63123

BUELL DIV. OF FISHER~KLOSTERMAN, IN
200 N. 7TH STREET, SUITE 2
LEBANON, PA 17046

BUFFALO LIFTING & TESTING, INC.

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GTAT Matrix
69 ORCHARD STREET
FREDONIA, NY 14063

BUHN, NATHANIEL J
3909 NEW ZEALAND AVE
SANTA ROSA, CA 95407

BUI, CHUONG
43324 W. COWPATH RD
MARICOPA, AZ 85138

BUI, TAM
1640 S FALCON DR
GILBERT, AZ 85295

BUILDING CODE CONSULTING, LLC.
62 GROVE ST.
NORFOLK, MA 02056

BUILDINGSTARS OPERATIONS, INC.
11489 PAGE SERVICE DRIVE
ST. LOUIS, MO 63146

BULBS.COM
40 JACKSON STREET
WORCESTER, MA 01608

BULLETPROOF SECURITIES INC
8341 E GELDING DRIVE
SCOTTSDALE, AZ 85260

BULLSEYE PCB INC.
1181 N. 4TH STREET, SUITE 50
SAN JOSE, CA 95112

BURBRIDGE, TIMOTHY
9 HALFYARD DRIVE
BROOKLINE, NH 03033

BURGESS LUMBER
3610 COPPERHILL LANE
SANTA ROSA, CA 95403

BURGESS MANNING, INC
227 THORN AVENUE
ORCHARD PARK, NY 14127

BURGESS, GLEN
464 ROCKLAND AVE
MANCHESTER, NH 03102

BURGSTAHLER, KRIS C.
1131 MITZI DRIVE
CALISTOGA, CA 94515

BURKERT CONTROMATIC CORP.
2915 WHITEHALL PARK DR.
CHARLOTTE, NC 28273

BURNESS, THOMAS
29 PARK AVENUE
HAMPTON, NH 03842

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GTAT Matrix
BURNS LEVINSON LLP
125 SUMMER STREET
BOSTON, MA 02110

BURNS PEST ELIMINATION, INC.
2620 W GROVERS AVENUE
PHOENIX, AZ 85053

BURNS, DANNY wW.
445 CEDAR COVE
HERNANDO, MS 38632

BURNS, KENNETH
6819 S PALM DR
TEMPE, AZ 85283

BURT PROCESS EQUIPMENT
PO BOX 185100
HAMDEN, CT 06518

BUSCH INC
516 VIKING DRIVE
VIRGINIA BEACH, VA 23452

BUSINESS & INDUSTRY ASSOC. OF NH
122 N. MAIN STREET
CONCORD, NH 03301

BUSINESS NH MAGAZINE
670 B. COMMERCIAL STREET, STE 110
MANCHESTER, NH 03101

BUSINESS WIRE
44 MONTGOMERY STREET, 39TH FLOOR
SAN FRANCISCO, CA 03900

BUSSCO INC.
25 FRANKLIN STREET
MALDEN, MA 02148

BUTLER, DARRELL
706 N. SAN MARCOS DR
APACHE JUNCTION, AZ 85120

BUWW COVERINGS, INC.
4462 BOEING DRIVE
ROCKFORD, IL 61109

BYD CSHANGLUO) INDUSTRY CO., LTD.
SHAHEZI, SHANGDAN,
SHANGLUO, 726000 CHINA

BYK USA, INC

BYK GARDNER USA

25098 NETWORK PL
CHICAGO, IL 66073-1098

BYK USA, INC

BYK GARDNER USA
9104 GUILFORD RD
COLUMBIA, MD 21046

BYRD, ALLEN
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GTAT Matrix
4333 N 24TH ST, #323
PHOENIX, AZ 85016

BYRNE, PAUL
771 W. HACKBERRY DR
CHANDLER, AZ 85248

BYRNES, ROBERT
410 LUCE AVE
UKIAH, CA 95482

BYUN, MICHAEL
7475 MICHAEL WAY
ROHNERT PARK, CA 94928

BYUNG RYUL HWANG
DAELIM APT ,DEUNGCHON-3 DONG
GANGSEO-GU, 104-902 KOREA, REPUBLIC OF

C&R WORLDWIDE LOGISTICS TRANSPORT
54 NEW LONDON AVENUE
WEST WARWICK, RI 02893

C.H. POWELL COMPANY
PO BOX 75303
CHARLOTTE, NC 28275

C.H. ROBINBSON WORLDWIDE INC.
P.O. BOX 9121
MINNEAPOLIS, MN 55480-9121

c.P.LIN & CO.
UNIT B, 19TH FLOOR, UNITED CENTRE,
ADMIRALTY, HONG KONG

C.W. LINT
PO BOX 8153
ELBURN, IL 60119

C+I INVESTMENT ASSOCIATES

C+I INVESTMENT ASSOCIATES C/O COUT
23 SETTLERS COURT

BEDFORD, NH 03110

CABAN, DAVID
23 CIDER LANE
NASHUA, NH 03063

CABOT MICROELECTRONICS POLISHING CO
39 W. OFFICIAL ROAD
ADDISON, IL 60101

CADD EDGE INC.
2ND FL 241 BOSTON POST ROAD WEST
MARLBOROUGH, MA 01752

CADDOCK ELECTRONICS INC
1717 CHICAGO AVE.
RIVERSIDE, CA 92507-2364

CAERUS SYSTEMS
451 PONEMAH HILL ROAD
MILFORD, NH 03055
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GTAT Matrix

CAFE COURIER
22A SHAWNEE WAY
BOZEMAN, MT 59715

CAHILL, GERARD
113 STARLIGHT RIDGE COURT
ST. CHARLES, MO 63304

CALCARB, LTD
2 TERRI LANE, SUITE 101
BURLINGTON, NJ 08016

CALDERONDELGADO, LUIS
1543 BOSTON COURT, APT 9
SANTA ROSA, CA 95405

CALDWELL, CHASON
3843 S. CROSSCREEK DR
CHANDLER, AZ 85286

CALDWELL, DAVID
2511 E. LIBRA ST
GILBERT, AZ 85234

CALIFORNIA BRAZING
DEPT. 33615

P.O. BOX 39000

SAN FRANCISCO, CA 94139

CALIFORNIA BRAZING
P.O. BOX 3005
S. EL MONTE, CA 91733

CALIFORNIA CHAMBER OF COMMERCE
P.O. BOX 526020
SACRAMENTO, CA 95852-6020

California Dept of Revenue
Attn Bankruptcy

450 N St MIC 55
Sacramento, CA 95814

CALIFORNIA METAL & SUPPLY, INC.
10450 PIONEER BLVD., SUITE 8
SANTA FE SPRINGS, CA 90670

CALIFORNIA STATE

DISBURSEMENT UNIT

PO BOX 989067

WEST SACRAMENTO, CA 95798-9067

CALIFORNIA STATE ATTORNEYS GENERAL
1300 I ST.

STE. 1740

SACRAMENTO, CA 95814

california State Board of Equalization
Property and Special Taxes Dept

PO Box 942879

Sacramento, CA 94279-0029

CALIRI, FRANK C.
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23 ALCINE LANE
BURLINGTON, MA 01803

CALISOLAR, INC.
985 ALMANOR AVENUE
SUNNYVALE, CA 94085

CALL, NEIL
42 BRANDY BROW RD
HAVERHILL, MA 01830

CALLISTO COMMUNICATIONS
18075 EDISON AVE.
CHESTERFIELD, MO 63005

CAL-STEAM INC. #2504
DEPT #34261

PO BOX 39000

SAN FRANCISCO, CA 94139

CALTRONICS BUSINESS SYSTEMS
10491 OLD PLACERVILLE ROAD
SACRAMENTO, CA 95827

CALVARY DESIGN TEAM, INC,

DBA CALVARY AUTOMATION SYSTEMS
855 PUBLISHERS PARKWAY
WEBSTER, NY 14580

CAMBRIDGE CHEMICAL TECHNOLOGIE
625 MOUNT AUBURN STREET
CAMBRIDGE, MA 02138

CAMBRIDGE VALVE & FITTING, INC
126 HALL STREET
CONCORD, NH 03301

CAMCO FURNACE
370 G INDUSTRIAL RD.
SAN CARLOS, CA 94070

CAMCON MFG, LLC
4764 PRIEM LANE, STE 202
PFLUGERVILLE, TX 78660

CAMERALAND
94 MAIN STREET
NASHUA, NH 03060

CAMFIL FARR APC
3505 SOUTH AIRPORT RD.
JONESBORO, AR 72401

CAMPBELL & GEORGE CO.
1100 INDUSTRIAL ROAD #12
SAN CARLOS, CA 94070-4131

CAMP-CENTER FOR ADVANCED MINERAL
& METALLURGICAL PROCECESSING
1300 W. PARK STREET, C CASSIDY
BUTTE, MT 59701

CAMPRO SCIENTIFIC GMBH

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GTAT Matrix
BOBINESTRAAT 7-6
3903 KE VEENENDAAL , 3903 KE NETHERLANDS

CANACCORD GENUITY
99 HIGH STREET
BOSTON, MA 02110

CANACCORD GENUITY INC.
99 HIGH STREET
BOSTON, MA 02110

CANDLEWOOD SUITES PORTLAND AIRPORT
H&S OREGON, LLC

11250 NE HOLMAN ST

PORTLAND, OR 97220

CANNON AND WENDT ELECTRIC CO
4020 N 16TH ST
PHOENIX, AZ 85016

CANOBIE LAKE PARK
SCOTT HILLS

PO BOX 190

SALEM, NH 03079

CANTRELL, WAYNE
190 CUIVRE RIDGE DR
TROY, MO 63379

CANTU, JESSICA
708 E. HARMONY AVE
MESA, AZ 85204

CAP INC.
2 CENTENNIAL DR.
PEABOBY, MA 01960

CAPACCTO ENVIRONMENTAL ENGINEERING
293 BOSTON POST ROAD WEST
MARLBOROUGH, MA 01752

CAPGEMINI U.S. LLC
45 BARTLETT STREET
MARLBROUGH, MA 01752-3014

CAPGEMINI U.S. LLC
98836 COLLECTION CENTER DRIVE
CHICAGO, IL 60693

CAPITAL ASSET EXCHANGE
1600 SEAPORT BLVD SUITE #300
REDWOOD CITY, CA 94063

CAPITAL CITY PUBLISHING
BEV ALLISON

PO BOX 4249

HELENA, MT 59604-4249

CAPITOL VACUUM PARTS
13897 WILLARD ROAD
CHANTILLY, VA 20151

CAPONE IRON CORPORATION, INC.
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PO BOX 706
20 TURCOTTE MEMORIAL DR., PO BOX 70
ROWLEY, MA 01969

CAPOVANI BROTHERS INC.
704 PRESTIGE PARKWAY
SCOTIA, NY 12302

CAPPELLINO, MICHAEL
1339 WEST HOLSTIEN TRAIL
SAN TAN VALLEY, AZ 85143

CAPPELLO, ANDREA
629 BLODGET ST
MANCHESTER, NH 03104

CARAS NURSERY & LANDSCAPE, LLC.
HELEN STEIGER

2727 S. 3RD STREET wW.

MISSOULA, MT 59804

CARBOLITE INC.
110 SOUTH SECOND STREET
WATERTOWN, WI 53094

CARBON COMPOSITES INC
12 JYTEK PARK
LEOMINSTER, MA 01453

CARBONE LORRAINE CO. LTD.

FRANCOIS FORTIN

RM 313, C40 BLDG, ECONOMIC & TECHNO
CHONGQUIG, 401122 CHINA

CARBONE OF AMERICA
ULTRA CARBON DIVISION
900 HARRISON STREET
BAY CITY, MI 48708-8244

CARBORUNDUM UNIVERSAL LTD
IND CER DIV, PLANT II 47,
SIPCOT IND COMPLEX HOSUR 635
126

TAMILNADU, INDIA

CARDINAL DETECTO REPAIR CTR.
216 NORTH MAIN STREET
WEBB CITY, MO 64870

CARDINAL IND. FINISHES
P.O. BOX 9296
SOUTH EL MONTE, CA 91733-0965

CAREER CONNECTIONS, INC
74 NORTHEASTERN BLVD, UNIT 17
NASHUA, NH 03062

CAREERBUILDER.COM LLC
200 NORTH LASALLE ST., LOTH FLOOR
CHICAGO, IL 60601

CARGILLE LABORATORIES
55 COMMERCE ROAD

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CEDAR GROVE, NJ 07009-1289

CARINO, TEODULO
3801 BLACKFORD AVE, APT 2
SAN JOSE, CA 95117

CARL CHARTIER

C SQUARED ENGINEERING
152 MAPLEHURST AVENUE
MANCHESTER, NH 03104

CARL KRUGER
63 LOUIS STREET
MANCHESTER, NH 03102

CARL LUEDERS
258 MAIN STREET UNIT #6
MEDFIELD, MA 02052

CARL M RODIA AND ASSOCIATES, INC.

13 LOCUST STREET
TRUMBULL, CT 06611

CARL STAHL SAVA INDUSTRIES, INC.
4 NORTH CORPORATE DRIVE
RIVERDALE, NJ 07457-1715

CARL ZEISS INDUSTRAIL METROLOGY
25065 NETWORK PLACE
CHICAGO, IL 60673-1250

CARL ZEISS INDUSTRAIL METROLOGY
6250 SYCAMORE LANE N
MAPLE GROVE, MN 55369

CARLE, MACKIE, POWER&ROSS LLP
100 B STREET, SUITE 400
SANTA ROSA, CA 95401

CARLETON M MILLER
3913 WSHING WELL LANE
PLANO, TX 75093

CARMAN PATRICE SERVICES, LLC
PO BOX 777, 19 POLLARD RD.
PLAISTOW, NH 03865

CAROL J. WORD

BROADWAY CENTER RENTAL

372 KOOTENAI CREEK ROAD
STEVENSVILLE, MT 59870

CAROLINA MEXICAN FOOD INC
PO BOX 21387
PHOENIX, AZ 85036

CARON, REBECCA
15407 Ss. 42ND ST
PHOENIX, AZ 85044

CARR LANE MANUFACTURING INC.
4200 CARR LANE CT
ST. LOUIS, MO 63119

GTAT Matrix

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CARR LANE MANUFACTURING INC.
PO BOX 191970
ST LOUIS, MO 63119-7970

CARRASCO, MANUEL
3444 S CONESTOGA
APACHE JUNCTION, AZ 85119

CARRILLO, MONTY
2199 W TANNER RANCH RD
QUEEN CREEK, AZ 85142

CARROLL, GABE
727 SOUTH 1ST STREET WEST
MISSOULA, MT 59801

CARTER, FREDERICK
1522 E SOUTHERN AVE, APT # 2129
TEMPE, AZ 85282

CASELLA WASTE MANAGEMENT OF MASS
PO BOX 1372
WILLISTON, VT 05495-1372

CASES BY SOURCE, INC
16 MCKEE DRIVE
MAHWAH, NJ 07430

CASEY, MICHAEL J
16 TRINITY DRIVE
NASHUA, NH 03063

CASIAS, CHRISTOPHER
1443 E. STANFORD AVE
GILBERT, AZ 85234

CASSIDY WATER CONDITIONING, INC.
39 CHELMSFORD ST.
LOWELL, MA 01851

CASSIDY, GERALD
370 E PINON WAY
GILBERT, AZ 85234

CAST ALUMINUM SOLUTIONS, LLC
1310 KINGSLAND DRIVE
BATAVIA, IL 60510

CAST ALUMINUM SOLUTIONS, LLC
PO BOX 564
BEDFORD PARK, IL 60499

CASTALDO, GEORGE
5 TRINITY COURT
TEWKSBURY, MA 01876

CASTERBRIDGE BUSINESS COMMUNICATION
67 TROTTING PARK ROAD
TEATICKET, MA 02536

CASTILLO, HENOCK
10228 E. BROADWAY RD

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GTAT Matrix
MESA, AZ 85208

CASTILLO, LUIS
1598 BECKY CT, #37
SANTA ROSA, CA 95403

CASTLE COUNTRY PAINTING, LLC
PO BOX 1032
LONDONDERRY, NH 03053

CASTRO, ANTHONY
1311 Ww BASELINE RD, #2139
TEMPE, AZ 85283

CATEY CONTROLS
3102 wEST BROADWAY
MISSOULA, MT 59808

CATHERINE CARVALHO
151 NORTH ST., APT. 2R
SALEM, MA 01970

CAYER, ROLAND W.
157 PORCUPINE CIRCLE
SALEM, NH 03079

CBEYOND, INC
320 INTERSTATE NORTH PKWY
ATLANTA, GA 30339

CBEYOND, INC
FILE 50326
LOS ANGELES, CA 90074-0326

CCA/WESCO DISTRIBUTION
CONTROL CORP OF AMERICA

35 OTIS STREET, PO BOX 5100
WESTBORO, MA 01581

CCG FACILITIES INTEGRATION INC.
1500 S EDGEWOOD ST
BALTIMORE, MD 21227

CCH INCORPORATED
4025 wW. PETERSON AVENUE
CHICAGO, IL 60646

CDC PACKAGING CORP
2 JOY ROAD
SALISBURY, MA 01952

CDFA

COMMUNITY DEVELOPMENT FINANCE
14 DIXON AVENUE STE 102
CONCORD, NH 03301

CDI CORPORATION
1717 ARCH STREET 35TH FLOOR
PHILADELPHIA, PA 19103

CDI ENGINEERING SOLUTIONS
9800 CENTRE PARKWAY STE 300
HOUSTON, TX 77099
Page 72

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CDT EQUIPMENT LLC
10 MAIN STREET., STE 12
SACRAMENTO, CA 95838

CDW
200 N.MILWAUKEE AVENUE
VERNON HILLS, IL 60061

CDW DIRECT, LLC
P.O. BOX 75723
CHICAGO, IL 60675-5723

CEA INSTRUMENTS, INC.
160 TILLMAN STREET
WESTWOOD, NJ 07675

CEEKAY SUPPLY, INC.
5835 MANCHESTER AVE.
ST. LOUIS, MO 63110

CELEBRATIONS DISTINCTIVE CATERING,
40 PEMBERTON ROAD
NASHUA, NH 03063

CELLER, GEORGE K.
38 OLD OAK DRIVE
SUMMIT, NJ 07901

CELLULAR OUTLET, INC.
7207 ALABAMA AVENUE
CANOGA PARK, CA 91303

CELTIC ELECTRIC
PO BOX 4517
MANCHESTER, NH 03108

CENTALINE PROPERTY AGENCY LIMITED
SHOP NO.107,1/F,OLYMPIAN CITY 1,11
HONG KONG, HONG KONG

CENTENO JR, GEORGE
8745 E. OBISPO AVE
MESA, AZ 85212

CENTENO SR, GEORGE
521 S. PASADENA
MESA, AZ 85210

CENTENO, FRANCISCO
8158 E. ONZA
MESA, AZ 85212

CENTER FOR CREATIVE LEADERSHIP
ATTN FINANCE DEPT

ONE LEADERSHIP PLACE
GREENSBORO, NC 27410

CENTER FOR EMERGING TECHNOLOGIES
4041 FOREST PARK AVE
ST. LOUIS, MO 63108

CENTER FOR MANAGEMENT RESEARCH, INC

GTAT Matrix

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GTAT Matrix
JERRI DEKRIEK
55 WILLIAM STREET
WELLESLEY, MA 02481

CENTERLINE MACHINE
60 PARK ST
BEVERLY, MA 01915

CENTERLINE TECHNOLOGIES, LLC
577 MAIN STREET, SUITE 270
HUDSON, MA 01749

CENTRAL BLOWER CO.
211 S. 7TH AVE
CITY OF INDUSTRY, CA 91746

CENTRAL COLLECTION AGENCY
MUNICIPAL INCOME TAX
1701 LAKESIDE AVENUE
CLEVELAND, OH 44114

CENTRAL STEEL SUPPLY
PO BOX 52475
BOSTON, MA 02205-2475

CENTRAL STEEL SUPPLY CO INC
85 AMES ST
MARLBOROUGH, MA 01752

CENTRIFUGE SERVICES, INC.
120 SOUTH 16TH STREET
LA PORTE, TX 77571

CENTRYCO, INC.
300 WEST BROAD ST.
BURLINGTON, NJ 08016

CENTRYCO, INC.
PO BOX 250
BURLINGTON, NJ 08106

CENTURY BUSINESS SOLUTION
205 SOPUTH PUENTE STREET
BREA, CA 92821

CENTURY MECHANICAL, INC.
PO BOX 2230
CONCORD, NH 03302

CENTURY SPRING, CORP.
222 EAST 16TH STREET
LOS ANGELES, CA 90015

CENTURYLINK
1801 CALIFORNIA ST., 25TH FLOOR
DENVER, CO 80202

CENTURYLINK COMMUNICATIONS
1801 CALIFORNIA ST., 25TH FLOOR
DENVER, CO 80202

CENTURYLINK COMMUNICATIONS
PO BOX 29040
Page 74

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PHOENIX, AZ 85038-9040

CERADYNE (TIANJIN) ADVANCED MATERIA
NO.18, RUIHANG ROAD, TIANJIN AIRPORT
TIANJIN, 300308 CHINA

CERADYNE, INC.
3169 RED HILL AVE.
COSTA MESA, CA 92626

CERADYNE, INC. - THERMO MATERIALS
780 PARK NORTH BLVD., SUITE 122
CLARKSTON, GA 30021

CERAMCO, INC.

1467 E. MAIN ST.

P.O. BOX 300

CENTER CONWAY, NH 03813

CERAMIC TECH INC.
46211 RESEARCH AVENUE
FREMONT, CA 94539-6113

CERAMICS GRINDING COMPANY
12 WALNUT STREET
MAYNARD, MA 01754

CERAMTECH
21065 NETWORK PLACE
CHICAGO, IL 60673

CERIUM HOLDINGS, INC
5204 E. BEN WHITE BLVD
AUSTIN, TX 78741

CERIUM NETWORKS
1011 E 2ND AVENUE, SUITE 10
SPOKANE, WA 99202

CESAR MAUREAL
2143 NECTARINE CT
SANTA ROSA, CA 95404

CH2M HILL ENGINEERS, INC.

22ND FLOOR, TOWER B, CITY CENTER
100 ZUN YI RD.

, 200051 CHINA

CHABOT GLASS
29 BRIDGE STREET
NASHUA, NH 03060

CHATLLAND, TODD
1176 w FRUIT TREE LANE
SAN TAN VALLEY, AZ 85143

CHALLEEN, MICHAEL
100 BECKETT LANE
BUTTE, MT 59701

CHAMPIGNY, MARK
16 DOUGLASS ST
LYNN, MA 01904

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GTAT Matrix

CHAMPION SCALE, LTD
3849 SOUTH BROADWAY
ST. LOUIS, MO 63118

CHAN, JESSICA
2/F, NO. 337 MA TIN TSUEN, YUEN LONG, NEW TERRITORIES
; HONG KONG

CHAN, JULIE
FLAT D, 16/F. BLOCK 7, BELVEDERE GARDEN PHASE 3
TSUEN WAN, HONG KONG

CHAN, PURPLE
3/F, NO. 73 CHUNG HING BACK STREET, CHEUNG CHAU
, HONG KONG

CHANEY, STEVE
371 CROOKED CREEK VIEW LN
MOSCOW MILLS, MO 63362

CHANG CHENG INSURANCE BROKERS LTD.
11/F., YIN NONG BUILDING

178 DONGFENG ROAD WEST

GUANGZHOU, 510180 CHINA

CHANG SHENG INSTRUMENTS CO.
17 - 4 FL. 378 MINCHUAN 2ND ROAD
KAOHSIUNG, OO806 TAIWAN, PROVINCE OF CHINA

CHANG, PAK SAM
265 KASTLEKOVE DRIVE
LEWIS CENTER, OH 43035

CHANGE DYNAMICS, INC
19 OAKRIDGE DRIVE
AYER, MA 01432

CHANGZHOU TRINA SOLAR ENERGY
PARK NO. 2 XIN YUAN YI ROAD, ELECTR
NEW DISTRICT, CHANGZHOU, 213031 CHINA

CHAO SHUN ABRASIVE LTD.
RM703,172 CHANG CHUN RD.,
TAIPEI, TAIWAN, PROVINCE OF CHINA

CHAO, CHUNG TSU
6523 EAST VIRGINIA ST
MESA, AZ 85212

CHAPMAN, STEVEN
2171 E. STACEY RD
GILBERT, AZ 85298

CHART, ARVIND
14801 GYPSY HILL RD
SARATOGA, CA 95070

CHARIF, ABOUBAKRI
PO BOX 37
GILBERT, AZ 85299

CHARLES ENGINEERING
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GTAT Matrix
10400 S. 119TH ST. WEST
CLEARWATER, KS 67026

CHARLES ENGINEERING
PO BOX 369
CLEARWATER, KS 67026

CHARLES F. REICHEL CPA
1201 VINE STREET, SUITE 103
HEALDSBURG, CA 95448

CHARLES GUENZER
3852 GROVE AVENUE
PALO ALTO, CA 94303

CHARLES K STEVENSON
8300 OBRIEN CREEK ROAD
MISSOULA, MT 59804

CHARMAR CO.
PO BOX 449
ROCKLAND, ME 04841

CHART CRYOGENIC ENGINEERING SYSTEMS
(CHANGZHOU) CO. LTD.

NEW DISTRI NO. 388, HEHAI WEST ROAD
JIANGSU PROVINCE, 213032 CHINA

CHARTERS, JEFFREY
10372 E. FORTUNA AVE
GOLD CANYON, AZ 85118

CHARTWORTH, LLC
155 FLEET STREET
PORTSMOUTH, NH 03801

CHASE AUTO FINANCE CORP.
900 STEWART AVENUE
GARDEN CITY, NY 11530

CHASE AUTO FINANCE CORP.
PO BOX 78076
PHOENIX, AZ 85026-8076

CHASE VEHICLE EXCHANGE, INC.
14800 FRYE RD., 1ST FLOOR, TX 1-130
FORT WORTH, TX 76155

CHASSE, TORA
26 GINGRAS DRIVE
NASHUA, NH 03060

CHAVEZ, DAVID
5120 E. HAMPTON AVE, #1162
MESA, AZ 85206

CHECK~ALL VALVE MFG. CO.
1800 FULLER ROAD
WEST DES MOINES, IA 50265

CHEMETALL US INC
22040 NETWORK PLACE
CHICAGO, IL 60673-1220
Page 77

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GTAT Matrix

CHEMICAL ABSTRACTS SERVICE
2540 OLENTANGY RIVER RD.
COLUMBUS, OH 43210

CHEMICAL DESIGN, INC.
285 MARKET STREET
LOCKPORT, NY 14094

CHEMPLAST SANMAR LTD
REGD OFFICE 9 CATHEDRAL RD
CHENNAI, 600086 INDIA

CHEMSTATIONS, INC
2891 NOTTINGHAM DRIVE WEST
SAGINAW, MI 48603

CHEMSW, INC.
4771 MANGELS BLVD
FIARFIELD, CA 94533

CHEMTRACE
12130 NE AINSWORTH CIRCLE, SUITE 21
PORTLAND, OR 97220

CHEMTREAT, INC.
15045 COLLECTIONS CENTER DR
CHICAGO, IL 60693

CHENGDU BOHUA TECHNOLOGY CO. LTD.
BLDG B, STE 310, #12 GAOPENG AVE
CHENGDU, SICHUAN, 610041 CHINA

CHEUNG, CY
FLAT A6, 22ND FLOOR, 441 LOCKHART ROAD, WANCHAT
, HONG KONG

CHEUNG, HENRY
42D, TOWER M9, YOHO MIDTOWN, YUEN LONG, NEW TERRITORIES
' HONG KONG

CHEUNG, JESSICA
8/F, FEN HWA BUILDING, 1231 CANTON ROAD, KOWLOON
’ HONG KONG

CHEUNG, KELVIN
RM G, 3F, BLOCK 10,SCENEWAY GARDEN, 1-18 SCENEWAY ROAD, LAM TIN, KOWLOON
’ HONG KONG

CHEUNG, LUKE
FLAT 6, 1/F, BLOCK C, NEW KWAI FONG GARDEN, KWAI FONG, NEW TERRITORIES
; HONG KONG

CHEUNG, RITA
FLAT 4, 10/F, BLOCK D, TREND PLAZA, TUEN MUN, NEW TERRITORIES
; HONG KONG

CHHEAN, SOKCHUM
9914 W. CROWN KING RD
TOLLESON, AZ 85353

CHHUON, MARITH
3802 E. BASELINE RD, #2046
Page 78
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GTAT Matrix
PHOENIX, AZ 85042

CHICAGO COMMERCIAL CENTER
CHICAGO TITLE INSURANCE CENTER
171 NORTH CLARK STREET ~ O4CI
CHICAGO, IL 60601

CHICK PACKAGING OF NEW ENGLAND
1462 VILLAGE RD., RT. 113
SILVER LAKE, NH 03875

CHILD, KENT
7526 ODYSSEY WAY
DUBLIN, CA 94568

CHILDRENS FRIEND AND FAMILY SERVIC
110 BOSTON ST.
SALEM, MA 01970

CHILWORTH TECHNOLOGY, INC.
113 CAMPUS DRIVE
PRINCETON, NJ 08540

CHINA CNTC INTERNATIONAL TENDERING
ZAOJUNMIAO 14, HAIDIAN DISTRICT
BEIJING, 100081 CHINA

CHINA ELECTRIC AUTOMATION CO.
HSINCHU INDUSTRIAL PARK

NO. 19 RENYI ROAD

HSINCHU, TAIWAN, PROVINCE OF CHINA

CHINA NATIONAL AERO-TECHNOLOGY CORP
SHANGHAI LLC

27TH CATIC MANSION, 212 JIANGNING R
SHANGHAI, 200041 CHINA

CHINA NATIONAL CHEMICAL INFORMATION
CENTER

NO. 53 XIAQGUAN STREET

ANWAI, BEIJING, 100029 CHINA

CHINA TEAM INTERNATIONAL ENTERPRISE
SOLUTIONS LIMITED

15/F, SHUN ON COMM BLDG, 112-114 DE
CENTRAL , HONG KONG

CHINACHEM AGENCIES LIMITED
37/F, TOWER TWO NINA TOWER, 8 YEUNG
HONG KONG, HONG KONG

CHIPOTLE MEXICAN GRILL INC
1401 WYNKOOP STREET STE. 500
DENVER, CO 80202

CHIU, JULIAN
ROOM 3506, BLOCK C, KAM KEUNG HOUSE,, KAM YING COURT
MA ON SHAN, N.T., HONG KONG

CHMIEL, DAVID
PO BOX 1269, 100A EAST MAIN ST
EAST HAMPSTEAD, NH 03826

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CHOATE, HALL & STEWART LLP
TWO INTERNATIONAL PLACE
BOSTON, MA 02110

CHOU, HENRY Y.
130 HITCHING POST LANE
BEDFORD, NH 03110

CHOU, TZU-FAN
21753 W IVANHOE ST
CHANDLER, AZ 85224

CHRIS GAGNON TILE & VINYL
3 ALMA LANE
DANVERS, MA 01923

CHRIS MILLER BRICKPAVER INSTALLER

29 WILLOW STREET
PELHAM, NH 03076

CHRISTIAN, SAMSON, JONES & CHISHOLM

310 WEST SPRUCE
MISSOULA, MT 59802

CHROMALOX

JON IRVINE ~ BELLEVEUE SALES OFFICE

PO BOX 932836

VALIN NORTHWEST 1850 130TH AVENUE N

BELLEVEUE, WA 98005

CHROMALOX
P.O. BOX 536435
ATLANTA, GA 30353-6435

CHROMALOX INC.
103 GAMMA DRIVE
PITTSBURGH, PA 15238

CHRONICLE GRAPHICS, INC.
8210 SOUTH KEARNEY ST.
CENTENNIAL, CO 80112

CHU, WILSON

FLAT C, 49/F, BLOCK 1, COASTAL SKYLINE,

NEW TERRITORIES
; HONG KONG

CHUBB GROUP OF INSURANCE CO.

P.O. BOX 382001
PITTSBURGH, PA 15250-8001

CHUBB GROUP OF INSURANCE COMPANTES

ATTN UNDERWRITING
82 HOPMEADOW STREET
SIMSBURY, CT 06070-7683

CHUBB GROUP OF INSURANCE COMPANIES

15 MOUNTAIN VIEW ROAD
WARREN, NJ 07059

CHUBB GROUP OF INSURANCE COMPANIES

PO BOX 7777-1630
PHILADELPHIA, PA 19175-1630

GTAT Matrix

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12 TUNG CHUNG WATERFRONT ROAD, TUNG CHUNG,
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GTAT Matrix

CHUBB INSURANCE CCHINA) CO., LTD.
JIANGSU BRANCH UNIT 1001

SUNNY WORLD, NO. 188 LUSHAN ROAD
JIANYE DISTRICT, NANJING

JIANGSU, 210019 CHINA

CHUBB INSURANCE (CHINA) CO., LTD.

UNIT 901-905, KERRY PARKSIDE OFFICE BUILDING

NO. 1155 FANGDIAN ROAD
PUDONG NEW DISTRICT
SHANGHAT , CHINA

CHUBB INSURANCE CO. OF EUROPE
COTTONS CENTRE

HAYS LANE

LONDON, SE1 2QP UNITED KINGDOM

CHUBB SPECIALTY INSURANCE
ATTN KAREN MAHONEY

55 WATER STREET, 28TH FLOOR
NEW YORK, NY 10041

CHUI, KARSON

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FLAT A, 50/F, BLOCK 8, TSEUNG KWAN O PLAZA, TSEUNG KWAN O, NEW TERRITORIES

: HONG KONG

CHUI, LESLEY

1/F, 71 HO LIK PUI, WANG TOI SHAN, PAT HEUNG, YUEN LONG, NEW TERRITORIES

’ HONG KONG

CHUNG, GARY
ROOM 305, BLOCK 35, HENG FA CHUEN, CHAIWAN
5 HONG KONG

CI DESIGN, INC.
250 SUMMER STREET, 2ND FLOOR
BOSTON, MA 02210

CIAOS PIZZA & SUBS
495 AMHERST STREET
NASHUA, NH 03063

CIDRA PRECISION SERVICES LLC
50 BARNES PARK NORTH
WALLINGFORD, CT 06492

CILLAY, JASON
20418 N TAMMY ST
MARICOPA, AZ 85138

CIMETRIX, INC.
6979 SOUTH HI TECH DRIVE
MIDVALE, UT 84947-3757

CINDERELLA TRAVEL CORP.
97-11 64-TH ROAD
NEW YORK, NY 11374

CINGULAR WIRELESS
PO BOX 6463
CAROL STREAM, IL 60197

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GTAT Matrix

CINTAS
200 APOLLO DRIVE
CHELMSFORD, MA 01824

CINTAS
6200 OLIVE BLVD.
UNIVERSITY CITY, MO 63130

CINTAS
PO BOX 630803
CINCINNATI, OH 45263-0803

CINTAS DOCUMENT MANAGEMENT
PO BOX 633842
CINCINNATI, OH 45263

CINTAS FIRE PROTECTION
634 LAMBERT POINTE DRIVE
HAZELWOOD, MO 63042

CINTAS FIRST AID AND SAFETY
PO BOX 631025
CINCINNATTI, OH 45263-1025

CIRCLE VALVE TECHNOLOGIES
1533 GEHMAN ROAD
HARLEYSVILLE, PA 19438

CIRCLE VALVE TECHNOLOGIES, INC.
1533 GEHMAN ROAD
HARLEYSVILLE, PA 19438

CIRCUIT ENGINEERING MARKETING CO.
2 RELAY ROAD
WATERLOOVILLE, PO77XA UNITED KINGDOM

CISCO WEBEX
3979 FREEDOM CIRCLE
SANTA CLARA, CA 95054

CISCO-EAGLE, INC
8034 S DATELAND DRIVE
TEMPE, AZ 85284

CISCO-EAGLE, INC
DEPARTMENT 1225
TULSA, OK 74182-1225

CITIGATE DEWE ROGERSON LTD
3 LONDON WALL BUILDINGS
LONDON WALL, EC2M 5SY UNITED KINGDOM

CITIZENS BANK
875 ELM STREET
MANCHESTER, NH 03101

CITRIX ONLINE LLC
7414 HOLLISTER AVENUE
GOLETA, CA 93117

CITY OF HAZELWOOD
415 ELM GROVE LANE
HAZELWOOD, MO 63042

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CITY OF MESA
PO BOX 1466
MESA, AZ 85211-1466

CITY OF MESA
PO BOX 16350
MESA, AZ 85211-6350

CITY OF MESA
PO BOX 1878
MESA, AZ 85211-1878

CITY OF MISSOULA
435 RYMAN STREET
MISSOULA, MT 59802

CITY OF SALEM
120 WASHINGTON ST., 3RD FLOOR
SALEM, MA 01970

CITY OF SALEM BACKFLOW TESTING
ATTN ENGINEERING DEPT.

120 WASHINGTON ST., 4TH FLOOR
SALEM, MA 01970

CIUDAD DE LAS ARTES Y LAS CIENCIAS
No. 48 ENTLO. 1-2
VALENCIA, 46023 SPAIN

CjJ2 ASSOCIATES LIMITED
6F,NO.888 ZHONGJIANG ROAD,
CHINA, 200333 CHINA

CL INTERNATIONAL
THREE PARLA COURT
NORTHPORT, NY 11768

CLAMPCO PRODUCTS INC
PO BOX 72226
CLEVELAND, OH 44192

CLARION SAFETY SYSTEMS
190 OLD MILFORD RD.
MILFORD, PA 18337

CLARION SAFETY SYSTEMS, LLC
PO BOX 1174

190 OLD MILFORD ROAD
MILFORD, PA 18337

CLARK INDUSTRIAL, INC
6900 KESTROL DRIVE #3
MISSOULA, MT 59808

CLARK STEEL DRUM CO INC
76 WOLCOTT STREET
MEDFORD, MA 02155

CLARK, BRYCE
145 N. 3RD ST W., APT B
MISSOULA, MT 59802

GTAT Matrix

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CLARK, MIKE
485 E. STACEY LANE
TEMPE, AZ 85284

CLASSONE EQUIPMENT
5302 SNAPFINGER WOODS DR
DECATUR, GA 30035

CLAW, JIM
2051 W. OBISPO AVE
MESA, AZ 85202

CLAYBERG, COLLEEN
4101 E. BASELINE RD, #1723
GILBERT, AZ 85234

CLAY-KING.COM, INC.
125 BEN ABI ROAD
SPARTANBURG, SC 29307

CLAYTON, DAN
2798 W MILA WAY
QUEEN CREEK, AZ 85142

CLC STEEL INC.
2401 SOUTHWIND MEADOWS CT.
ST. LOUIS, MO 63129-3647

CLEAN AIR CAB
1600 W MAIN STREET
MESA, AZ 85201

CLEAN AIR PRODUCTS
8605 WYOMING AVENUE NORTH
MINNEAPOLIS, MN 55445

CLEAN ENERGY INVESTMENTS, LLC
1982 ZANKER ROAD,SUITE B
SAN JOSE, CA 95112

CLEAN HARBORS ENV, SERVICES
P.O. BOX 3442
BOSTON, MA 02241-3442

CLEAN HARBORS ENVIRONMENTAL
SERVICES, INC.

42 LONGWATER DRIVE

NORWELL, MA 02061

CLEAN THE UNIFORM CO ST. LOUIS
1316 SOUTH SEVENTH STREET
ST. LOUIS, MO 63104

CLEANING TECHNOLOGIES GROUP, LLC
RANSOHOFF DIVISION

4933 PROVIDENT DRIVE

CINCINNATI, OH 45246

CLEANING TECHNOLOGIES GROUP, LLC
RANSOHOFF DIVISION

PO BOX 891

FIRST FINANCIAL BANK

MIDDLETOWN, OH 45044-0891

GTAT Matrix

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GTAT Matrix

CLEANPART SOUTHWEST, LLC
631 INTERNATIONAL PKWY, STE 200
RICHARDSON, TX 75081-6622

CLEANROOMS INTERNATIONAL, INC.
4939 STARR ST. SE
GRAND RAPIDS, MI 49546

CLEARWATER MONTANA PROPERTIES, INC.
PO BOX 490
SEELEY LAKE, MT 59868

CLEARWATER TECHNOLOGIES, INC.
1025 EXCHANGE STREET
BOISE, ID 83716

CLEMENZI PLUMBING & HEATING
141 ORCHARD STREET
BYFIELD, MA 01922

CLEVELAND, RACHEL
2615 MUIRFIELD COURT
MISSOULA, MT 59808

CLIMATEC, LLC
2851 W KATHLEEN RD
PHOENIX, AZ 85053

CLIMAX PORTABLE MACHINE TOOLS
2712 E. SECOND STREET
NEWBERG, OR 97132

CLOCKTOWER SEARCH CONSULTANTS
513 LINWOOD COURT
CLINTON, MA 01510

CLP POWER HONG KONG LTD.
8 LAGUNA VERDE AVENUE
HUNG HOM, KOWLOON

; HONG KONG

CLP POWER HONG KONG LTD.
G.P.O. BOX NO. 1188
HONG KONG, HONG KONG

CLUTTERBUCK, SEAN
3636 E INVERNESS AVE, UNIT 1001
MESA, AZ 85206

CM FURNACES
103 DEWEY ST
BLOOMFIELD, NJ 07003

CNA INSURANCE COMPANY

OPEN BROKERAGE GLOBAL SPECIALTY LINES
53 STATE STREET, SUITE 510

BOSTON, MA 02116-6516

CNIEC SHAANXI CORPORATION
18TH FLOOR OF BLOCK AB
TANGYAN INTERNATIONAL CENTRE, 3 TANGYAN AVENUE
XI’AN, CHINA
Page 85

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GTAT Matrix

COAST MAINTENANCE SUPPLY COMPANY
310 ANDOVER ST CRTE 114)
DANVERS, MA 01923

COAST TOOL COMPANY
DEPARTMENT 1970

PO BOX 4110

WOBURN, MA 01888-4110

COASTLINE OPTICS LLC
906 VIA ALONDRA
CAMARILLO, CA 93012

COASTLINE OPTICS, INC.
906 VIA ALONDRA
CAMARILLO, CA 93012

CODE G AUTOMATION
JIM FIGUCIA

18 RAG ROCK DRIVE
WOBURN, MA 01801

CODEWARE, INC
5224 STATION WAY
SARASOTA, FL 34293

COFFEY, JAMES D.
2824 N POWER RD, STE. 113, PMB285
MESA, AZ 85215

COFFEY, JENNIFER
2824 N POWER RD, STE 113, PMB285
MESA, AZ 85215

COGHLIN NETWORK SERVICES INC
100 PRESCOTT STREET
WORCESTER, MA 01605

COGNEX CORPORATION
ONE VISION DRIVE
NATICK, MA 01760

COGNEX CORPORATION
PO BOX 27623
NEW YORK, NY 10087-7623

COHEN MACHINERY COMPANY
8 CHESTNUT DRIVE
BEDFORD, NH 03110

COHERENT INC.
5100 PATRICK HENRY DRIVE
SANTA CLARA, CA 95054

COHN & DUSST, LLC
300 TRADE CENTER, SUITE 3700
WOBURN, MA 01801

COIA, JOSEPH
5239 N. IRONWOOD
APACHE JUNCTION, AZ 85120

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GTAT Matrix
COILING TECHNOLOGIES, INC.
7777 WRIGHT ROAD
HOUSTON, TX 77041

COISH, DEBORAH
104 BOYCE ST
SANTA ROSA, CA 95401

COLE, MICHAEL
20865 E£. SHETLAND ST
QUEEN CREEK, AZ 85142

COLE, ROBERT
868 S. ARIZONA AVE, # 1177
CHANDLER, AZ 85225

COLEMAN, TREMAIN
3777 E. MCDOWELL, #2201
PHOENIX, AZ 85008

COLE-PARMER
13927 COLLECTIONS CENTER DRIVE
CHICAGO, IL 60693

COLE-PARMER INSTRUMENT CO.
13927 COLLECTIONS CENTER DRIVE
CHICAGO, IL 60693-0139

COLE-PARMER INSTRUMENT CO.
625 EAST BUNKER COURT
VERNON HILLS, IL 60061

COLLECTOR OF REVENUE~ST. LOUIS COUN
41 S. CENTRAL AVE.
ST. LOUIS, MO 63105

COLLEGIATE CYCLING CLUB
SUB BOX 13
BOZEMAN, MT 59717

COLLINS PATTERN & MOLD co.
130 SCRIBNER RD.
FREMONT, CA 03044-3405

COLLINS, ANTHONY
2706 S. 112TH AVE
AVONDALE, AZ 85323

COLLINS, MARK
11535 E. REUBEN AVE
MESA, AZ 85212

COLLINS, VICTORIA
11535 E. REUBEN AVE
MESA, AZ 85212

COLON, JOSEPH
2044 S SABRINA
MESA, AZ 85209

COLONIAL SUPPLEMENT INSURANCE
PROCESSING CTR
PO BOX 1365
Page 87

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GTAT Matrix
COLUMBIA, SC 29202

COLORADO DEPARTMENT OF REVENUE
1375 SHERMAN ST.
DENVER, CO 80261-0008

COLORADO DEPARTMENT OF REVENUE
PO BOX 17087
DENVER, CO 80217-0087

COLT REFINING, INC.
12A STAR DRIVE
MERRIMACK, NH 03054

COLUMBIA BASIN HERALD
813 wW 3RD AVENUE
MOSES LAKE, WA 98837

COLUMBIA ELECTRICAL CONTRACTORS
D/B/A COLUMBIA TECH

17 BRIDEN STREET

WORCESTER, MA 01605

COLUMBIA RIVER ENGINEERING & CO.
1835 SAGEWOOD LOOP
RICHLAND, WA 99352

COLVIN, THERON
10926 E SILVER MINE RD
GOLD CANYON, AZ 85118

COMAK BROTHERS, INC.
647 REAR LOWELL STREET
PEABODY, MA 01960

COMBES, CARL Q.
397 SUGAR MAPLE LANE
WINDSOR, CA 95492

COMCAST

COMCAST BUSINESS SERVICES
676 ISLAND POND RD
MANCHESTER, NH 03109

COMCAST
P.O. BOX 1577
NEWARK, NJ 07101-1577

COMCAST CABLE COMMUNICATIONS MGMT.
55 CONCORD ST.
NORTH READING, MA 01864

COMDEL, INC.
11 KONDELIN ROAD
GLOUCESTER, MA 01930

COMFORT SALES AGENCY, INC.
PO BOX 483, 7103 MARINE RD.
EDWARDSVILLE, IL 62025

COMMERCIAL METAL FORMING
341 WEST COLLINS AVENUE
ORANGE, CA 92867-5597
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GTAT Matrix

COMMERCIAL METAL FORMING
3466 SOLUTIONS CENTER
CHICAGO, IL 60677-3004

COMMERCIAL PUMPING SERVICES, LLC
2506 BETHMAN ROAD
ST. CHARLES, MO 63301

Commonwealth of Massachusetts
Department of Revenue

100 cambridge st

Boston, MA 02114

Commonwealth of Massachusetts
Department of Revenue

PO Box 9564

Boston, MA 02114-9564

COMMONWEALTH OF MASSACHUSETTS
MASSACHUSETTS DEPARTMENT OF REVENUE
PO BOX 7065

BOSTON, MA 02204-7065

COMMONWEALTH OF MASSACHUSETTS
RADIATION CONTROL PROGRAM

529 MAIN ST

CHARLESTOWN, MA 02129

COMMONWEALTH OF MASSACHUSETTS -
DEPT. OF ENVIRONMENTAL PROTECTION
COMMONWEALTH MASTER LOCKBOX, PO BOX
BOSTON, MA 02241-3982

COMMONWEALTH OF MASSACHUSETTS -
DEPT. OF ENVIRONMENTAL PROTECTION
ONE WINTER STREET

BOSTON, MA 02108

COMMONWEALTH OF VIRGINIA
TREASURER

P.O. BOX 562

RICHMOND, VA 23218-0562

COMMONWEALTH SCIENCES
11 WALPOLE ST
NORWOOD, MA 02062

COMMONWEALTH SCIENCES, INC.
11 WALPOLE STREET
NORWOOD, MA 02062

COMMUNICATE, INC
700 S. W. HIGGINS, SUITE 102
MISSOULA, MT 59803

COMMUNICATION RESOURCES, LLC.
CHRIS RICHARD

2814 BROOKS STREET #652
MISSOULA, MT 59801

COMMUNTQUE INTERPRETING
330 COLLEGE AVE
Page 89

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GTAT Matrix
SANTA ROSA, CA 95401

COMMUNITY MEDICAL CENTER FOUNDATION
2827 FORT MISSOULA ROAD
MISSOULA, MT 59804

COMPLETE STAFFING SOLUTIONS
33 BOSTON POST ROAD WEST
MARLBOROUGH, MA 01752

COMPREHENSIVE LOSS MANAGEMENT, INC.
15800 32ND AVENUE N. SUITE 106
MINNEAPOLIS, MN 55447

COMPRESSOR ENERGY SERVICES,LLC
8030 SOUTH WILLOW STREET
MANCHESTER, NH 03103

COMPTRYX, LLC
17 MAIN ST
HOPKINTON, MA Q1748

COMPUMACHINE INC.
6 ELECTRONICS AVE.
DANVERS, MA 01923

COMPUTER AIDED TECHNOLOGY INC.
165 N ARLINGTON HEIGHTS RD. SUITE 1
BUFFALO GROVE, IL 60089-1783

COMPUTER PACKAGES, INC.
414 HUNGERFORD DR., 3RD FLOOR
ROCKVILLE, MD 20850

COMPUTER-AIDED PRODUCTS, INC.
2 CENTENNIAL DRIVE
PEABODY, MA 01960

COMPUTERSHARE SHAREOWNER SVCS. LLC
250 ROYALL ST.
CANTON, MA 02021

COMRENT INTERNATIONAL LLC
7640 INVESTMENT CT, UNIT A
OWINGS, MD 20736

COMSTOCK INDUSTRIES INC.
23 FOUNDRY DRIVE
MEREDITH, NH 03253

CONAWAY, J. MICHAL
243 DANIEL WEBSTER HIGHWAY
MERRIMACK, NH 03054

CONAWAY, MICHAEL

C/O PEREGRINE GROUP, LLC
12 OLD MISSION ROAD

ALISO VIEJO, CA 92656-1623

CONAX BUFFALO TECHNOLOGIES
2300 WALDEN AVENUE
BUFFALO, NY 14225

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GTAT Matrix
CONAX TECHNOLOGIES LLC
2300 WALDEN AVE
BUFFALO, NY 14225

CONBRACO INDUSTRIES, INC.
PO BOX 405728
ATLANTA, GA 30384-5728

CONCEPTS IN BENEFITS, INC.
43 CONSTITUTION DRIVE
BEDFORD, NH 03110

CONCISE MOTION SYSTEMS, INC.
9440-L SAN MATEO BLVD NE
ALBURQUERQUE, NM 87113

CONCORD AWNING & CANVAS, INC.
1 TALLWOOD DRIVE
BOW, NH 03304-3302

CONCORD TECHNOLOGIES (HONG KONG) CO
LIMITED

7C, BLOCK 2, NEW TOWN PLAZA PHASE 3
HONG KONG, HONG KONG

CONCORDE SPECIALTY GASES, INC.
36 EATON ROAD
EATONTOWN, NJ 07724

CONCRETA, S.L.

C.1I.F. B-97519599, ORGANIZACION
C/BONAIRE, N 8-PTA 1.

VALENCIA, 46003 SPAIN

CONCUR TECHNOLOGIES, INC.
18400 NE UNION HILL RD.
REDMOND, WA 98052

CONDUCTIX
P.O. BOX 3129
OMAHA, NE 68103

CONESTOGA-ROVERS & ASSOC INC
DEPARTMENT 406

PO BOX 8000

BUFFALO, NY 14267

CONESTOGA-ROVERS & ASSOCIATES, INC.
2055 NIAGARA FALLS BLVD., SUITE 3
NIAGARA FALLS, NY 14304

CONESTOGA-ROVERS & ASSOCIATES, INC.
4050 E. COTTON CENTER BLVD.
PHOENIX, AZ 85040

CONFERENCE BOARD INC. THE
845 THIRD AVENUE
NEW YORK, NY 10022

CONFERENCECALL . COM
P.O. BOX 409573
ATLANTA, GA 30384-9573

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CONHA FAMILY CHILDRENS FUND
TRACY TOLER @ ERNST & YOUNG
5 TIMES SQUARE 15TH FLOOR
NEW YORK, NY 10036

CONNECTICUT GENERAL LIFE INSURANCE
13680 COLLECTION CENTER DRIVE
CHICAGO, IL 60693

CONNELLY REPORTING & VIDEO
32 GAULT ROAD
BEDFORD, NH 03110

CONNEXION SYSTEMS & ENGINEERING, IN
JAMES ST. PIERRE

490 BOSTON POST ROAD

SUDBURY, MA 01776

CONS, RUBEN
848 N PIONEER
MESA, AZ 85203

CONSERVATION SOLUTIONS CORP.
162 GREAT ROAD
ACTON, MA 01720

CONSOLIDATED ELECTRICAL
DISTRIBUTORS, INC.

444 YOLANDA AVE., SUITE 5B
SANTA ROSA, CA 95404

CONSOLIDATED ELECTRICAL DIST
79 CARL DRIVE
MANCHESTER, NH 03103

CONSOLIDATED ELECTRICAL DIST.
P.O. BOX 14004
ORANGE, CA 92863

CONSOLIDATED ELECTRICAL DIST.
PO BOX 98
NEWPORT, ME 04953

CONSTANT CONTACT
1601 TRAPELO ROAD, SUITE 329
WALTHAM, MA 02451

CONSULATE GENERAL OF CHINA
520 12TH AVENUE
NEW YORK, NY 10036

CONSULATE GENERAL OF INDIA
3 EAST, 64 STREET
NEW YORK, NY 10065

CONSULATE GENERAL OF TAIWAN
1 EAST 42ND STREET, 4TH FL
NEW YORK, NY 10017

CONSULTING ENGINEERS INC.
7410 NW TIFFANY SPRINGS PKWY STE 10
KANSAS CITY, MO 64153

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CONSUMER ELECTRONICS ASSOCIATION
P.O. BOX 37154
BALTIMORE, MD 21297-3154

CONTAINER CONSULTING SERVICE
455 MAYOCK RD
GILROY, CA 95020

CONTINENTAL CASUALTY COMPANY
333 S. WABASH
CHICAGO, IL 60604

CONTINENTAL CASUALTY COMPANY
53 STATE STREET, SUITE 510
BOSTON, MA 02109

CONTINENTAL DIAMOND TOOL CORP.
1221 HARTZELL STREET
NEW HAVEN, IN 46774

CONTOOCOOK SCHOOL, THE
40 PARK LANE
CONTOOCOOK, NH 03229-3103

CONTRERAS, JOSE
128 PAGE RD
BOW, NH 03304

CONTRERAS, ROBERTO
10858 E SEBRING AVE
MESA, AZ 85212

CONTROL 7, INC.
32 SCOTLAND BLVD., UNIT #6
BRIDGEWATER, MA 02324

CONTROL COMPANY
DRAWER 58307
HOUSTON, TX 77258

CONTROL CONCEPTS
18760 LAKE DRIVE EAST
CHANHASSEN, MN 55317-9500

CONTROL CONCEPTS INC.
18760 LAKE DRIVE EAST
CHANHASSEN, MN 55317

CONTROLCO
320 KETUCKY ST.
BAKERSFIELD, CA 93305

CONTROLLED MOTION SOLUTIONS, INC.

403 W BROADWAY RD
TEMPE, AZ 85282

CONTROLLED MOTION SOLUTIONS, INC.

911 N POINSETTIA STREET
SANTA ANA, CA 92701

CONTROLLER SERVICE & SALES CO,
11 ROBBIE ROAD
AVON INDUSTRIAL PARK

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AVON, MA 02322

CONTROLS FOR AUTOMATION. INC.
PO BOX 4126

55 COMMERCE WAY

DEDHAM, MA 02027

CONVENTUS CONGRESSMANAGEMENT & MARK
GMBH

CARL-PULFRICH-STRAISE 1

JENA, 07745 GERMANY

CONVEXA CAPITAL IX AS
P.O. BOX 1755 VIKA
OSLO, 00122 NORWAY

CONVEYOR SOLUTIONS, INC.
902 MORSE AVENUE
SCHAUMBURG, IL 60193

CON-WAY FREIGHT INC
PO BOX 642080
PITTSBURGH, PA 15264

CON-WAY FREIGHT INC.
P.O. BOX 5160
PORTLAND, OR 97208-5160

CONWAY OFFICE PRODUCTS, LLC
10 CAPITAL STREET
NASHUA, NH 03063

CONWAY, GEOFFREY
9201 W. CAMELBACK, E-92
PHOENIX, AZ 85031

COOGAN, LISA
2130 W. CAMINO ST, #10
MESA, AZ 85201

COOKE CORPORATION, THE
148 BATCHELDER ROAD
SEABROOK, NH 03874

COOKE, SCOTT

SOLUTION RESEARCH COMPANY
219 COMMERCIAL STREET
VALLEJO, CA 94589

COONS, GREGORY
11502 E. ELTON AVE
MESA, AZ 85208

COOPER INSTRUMENTS & SYSTEMS
400 BELLE AIR LANE
WARRENTON, VA 20186

COOPER POWER SYSTEMS
17 MAIN STREET
HOPKINTON, MA 01748

COOPER, MICHAEL
7726 E. BASELINE RD, UNIT 167

GTAT Matrix

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GTAT Matrix
MESA, AZ 85209

COORS TEK INC.
2051 E. MAPLE AVENUE
EL SEGUNDO, CA 90245

COPAL ELECTRONICS
367 VAN NESS WAY, SUITE 621
TORRANCE, CA 90501

COPE PLASTICS, INC.
1600 PARK 370 PLACE, SUITE 4
HAZELWOOD, MO 63042

COPIER SOLUTIONS
5393 EAGLE PARK DRIVE
SAN JOSE, CA 95138

COPPER & BRASS SALES
P.O. BOX 894213
LOS ANGELES, CA 90189-4213

COPPER STATE BOLT & NUT CO.
3602 N 35TH AVE
PHOENIX, AZ 85017

CORE BUSINESS DEVELOPERS
601 S. PIONEER WAY, SUITE F #204
MOSES LAKE, WA 98837

CORE CONTRACTING SERVICES, INC.
3 OAKLAND ST.
WOBURN, MA 01801

CORE SECURITY TECHNOLOGIES
41 FARNSWORTH ST.
BOSTON, MA 02210

CORE SYSTEMS
47757 WARM SPRINGS BOULEVARD
FREMONT, CA 94539

COREMEDICAL GROUP

D/B/A CIRCHARO ACQUISITION CORP
2 KEEWAYDIN DRIVE

SALEM, NH 03079

CORN, KEVIN
709 S. DARROW DR
TEMPE, AZ 85281

CORNERSTONE IT, LLC
125 MAIN STREET, SUITE El
STONEHAM, MA 02180

CORNERSTONE PROPERTIES SA, LLC
5401 OLD REDWOOD HIGHWAY. #110
PETALUMA, CA 94954

CORNERSTONE RESEARCH
699 BOYLSTON STREET
BOSTON, MA 02116

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GTAT Matrix
CORNERSTONE STRATEGIC SERVICES,
INC.
PO BOX 1
EAST HAMPSTEAD, NH 03826

CORPORATE ELECTRIC INC
272 E GISH ROAD
SAN JOSE, CA 95112

CORPORATE EXECUTIVE BOARD
3393 COLLECTIONS CENTER DRIVE
CHICAGO, IL 60693

CORPORATE FINANCE GROUP, INC.
15 BROAD STREET, SUITE 902
BOSTON, MA 02109

CORPORATE RESOLUTIONS
111 BROADWAY, SUITE 1206
NEw YORK, NY 10006

CORPORATE TECHNOLOGY GROUP
910 BROOK STREET
MISSOULA, MT 59801

CORPORATION SERVICE COMPANY
2710 GATEWAY OAKS DRIVE
SUITE 150N

SACRAMENTO, CA 95833-3505

CORPORATION SERVICE COMPANY
2711 CENTERVILLE ROAD
WILMINGTON, DE 19808

CORPTAX, INC.
1751 LAKE COOK ROAD
DEERFIELD, IL 60015

CORREIA, RICHARD
32 WETHERFIELD DR
NORTHFIELD, NH 03276

CORRENS CORPORATION
ARK YAGI HILLS 3F, 1-8-7
ROPPONGI, MINATO-KU, 1060032 JAPAN

CORRISON PRODUCTS & EQUIPMENT,
INC.

239 NECK ROAD

HAVERHILL, MA 01835

CORROSION MATERIALS
2262 GROOM ROAD
BAKER, LA 70714

CORROSION MATERIALS
5092 STEADMONT
HOUSTON, TX 77040

COSTA, FERNANDO
100 MERRIMACK AVENUE, UNIT 92
DRACUT, MA 01826

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COSTANTINI, MICHAEL
15 MADISON DR
HUDSON, NH 03051

COSTCARE PLLC
1001 EAST BROADWAY, STE. 10
MISSOULA, MT 59802

COSWAY, RICHARD
1449 W. COQUINA DR
GILBERT, AZ 85233

COTE, KATHLEEN A.
243 DANIEL WEBSTER HIGHWAY
MERRIMACK, NH 03054

COTE, KATHLEEN A.
656 16TH AVE. NE
SAINT PETERSBURG, FL 33704

COTRONICS CORPORATION
131 47TH STREET
BROOKLYN, NY 11232

COTTERMAN, INC.
100 HAYES AVE.
WENONAH, NJ 08090

COUNTRY GLASS CO., INC.
9 BONAZZOLI AVE., #6
HUDSON, MA 01749

COUNTY OF MISSOULA
200 W. BROADWAY
MISSOULA, MT 59802

COURIER TRANSPORT
71 SPIT BROOK ROAD, SUITE 106
NASHUA, NH 03060

COURIER TRANSPORTATION SERVICES
OF NASHUA

379 AMHERST STREET, #402
NASHUA, NH 03063

COVALENT MATERIALS CORPORATION
NISSEI BLDG., 6-3, OSAKI 1-CHROME
SHINAGAWA-KU, 1410032 JAPAN

COVALENT MATERIALS USA, INC.
2010 NORTH FIRST STREET, SUITE 400
SAN JOSE, CA 95131

COVARRUBIA, EBERTH
3810 BOSTON DR
OXNARD, CA 93033

COVERALL NORTH AMERICA, INC.
2955 MOMENTUM PLACE
CHICAGO, IL 60889

COVERT, KIMBERLY
28201 N. SUPERIOR

GTAT Matrix

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SAN TAN VALLEY, AZ 85143

COVINGTON ENGINEERING CORP
715 W. COLTON AVE.
REDLANDS, CA 92374-3057

COX COMMUNICATIONS ARIZON
1550 W. DEER VALLEY ROAD
PHOENIX, AZ 85027

COX COMMUNICATIONS ARIZONA, LLC
1550 w. DEER VALLEY ROAD
PHOENIX, AZ 85027

COX COMMUNICATIONS ARIZONA, LLC
PO BOX 53249
PHOENIX, AZ 85072-3249

CPFD SOFTWARE, LLC

10899 MONTGOMERY BLVD. NE, SUITE A

ALBUQUERQUE, NM 87111

CPU AUTOMATION, INC.
164 WESTFORD ROAD, SUITE 3
TYNGSBORO, MA 01879

CRABAJALES, JESUS
10938 E FLOSSMOOR AVE
MESA, AZ 85208

CRAIG, SCOTT
2945 w 9TH PLACE
APACHE JUNCTION, AZ 85120

CRAMER PRODUCTION CO. INC.
425 UNIVERSITY AVENUE
NORWOOD, MA 02062

CRANE, CHARLES
751 E£. MULE TRAIN TRATL
SAN TAN VALLEY, AZ 85143

CRANNEY COMPANIES
10 RAINBOW TERRACE
DANVERS, MA 01923

CRANSE, MICHAEL F.
1640 JULIANNE PL
SANTA ROSA, CA 95404

CRATERS & FREIGHTERS
12747 CARROLLTON INDUSTRIAL DRIVE
ST. LOUIS, MO 63044

CRATERS AND FREIGHTERS
3495 WINHOMA
MEMPHIS, TN 38118

CRAWFORD, ROLAND
29 SARAH DR
MERRIMACK, NH 03054

CREATIVE CATERING

GTAT Matrix

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GTAT Matrix

PO BOX 7696
MISSOULA, MT 59807

CREATIVE COMMUNICATIONS SALES & REN
3332 E. BROADWAY RD
PHOENIX, AZ 85040

CREDIT SUISSE CORP CASH MANAGE
PERSHING LLC

11 MADISON AVENUE 7TH FLOOR
NEw YORK, NY 10010

CREDIT SUISSE INTERNATIONAL

C/O CREDIT SUISSE AG, NEW YORK BRANCH
ATTN JOHN CARR

ELEVEN MADISON AVENUE

NEW YORK, NY 10010-3629

CREEKSIDE TECHNOLOGIES
16 NORTH 3192 EAST
IDAHO FALLS, ID 83401

CRENLO
1600 4TH AVENUE NW
ROCHESTER, MN 55901

CREST COATING INC.
1361 S. ALLEC ST.
ANAHEIM, CA 92805

CRITICAL SYSTEMS INC
7000 W VICTORY RD
BOISE, ID 83709

CRIVELLI, JOE
8 BETTY COURT
PETALUMA, CA 94952

CRIVELLI, JOSEPH
8 BETTY COURT
PETALUMA, CA 94952

CROES, MICHAEL
119 N. CARTER RANCH RD
COOLIDGE, AZ 85128

CROOKER, ANGELA
7205 E. SUPERSTITION SPRINGS, #1112
MESA, AZ 85209

CROSS PHOTOGRAPHY
14 COBURN WOODS
NASHUA, NH 03063

CROSS, DAVID
1064 E. DOLPHIN AVE
MESA, AZ 85204

CROWN LIFT TRUCKS
2 PRESIDENTAL WAY
WOBURN, MA 01601

CROWN SYSTEMS INC
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GTAT Matrix
3855 N. 24TH ST. STE 1
PHOENIX, AZ 85016

CROWNE PLAZA NASHUA
2 SOMERSET PARKWAY
NASHUA, NH 03063

CRUELL, JOHN
8251 E FAIRY DUSTER DR
GOLD CANYON, AZ 85118

CRUZ ALVAREZ, JOAQUIN A.
11166 W. BADEN ST
AVONDALE, AZ 85323

CRUZ, JOAQUIN A.
1300 YULUPA AVE #5
SANTA ROSA, CA 95405

CRYSTAL MOTOR EXPRESS
3 MELVIN STREET
WAKEFIELD, MA 01880

CRYSTAL OPTICS RESEARCH
315 PAUMA PLACE
ESCONDIDO, CA 92029

CRYSTAL PRECISION DRILLING, INC.
3122 TORQUE DRIVE
LOVES PARK, IL 61111

CRYSTAL SPRING BEVERAGE CO. INC.
14 NORTH MAIN STREET
MIDDLETON, MA 01949

CRYSTALS TECHNOLOGY LTD.
RM. C 10/F FULLY IND. BLDG. TSUN YI
KWUN TON, HONG KONG

CRYSTALWISE TECHNOLOGY INC
1F, NO.16, CREATION 1ST RD
HSINCHU, 00123 TAIWAN, PROVINCE OF CHINA

CRYTUR, LTD.
PALACHEHO 175

511 01 TURNOV

’ CZECH REPUBLIC

CS INTERNATIONAL CORPORATION
2-21-12 SAKURA
TSUKUBA, 3050003 JAPAN

CSA INTERNATIONAL

PO BOX 66512

AMF OHARE

CHICAGO, IL 60666-0512

CSOFT INTERNATIONAL, LTD.

WORLD FINANCIAL CENTRE, 15TH FL.
1 EAST 3RD RING ROAD

BEIJING, 100020 CHINA

CT CORPORATION
Page 100

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GTAT Matrix
SYSTEM
STE 700 155 FEDERAL STREET - TEAM 2
BOSTON, MA 02110

CT CORSEARCH D/B/A CORSEARCH
111 8TH AVENUE, 13TH FLOOR
NEW YORK, NY 10011

CTA INC.
306 W RAILROAD AVENUE, SUITE 104
MISSOULA, MT 59802

CTCI CORPORATION
NO. 89 SEC. 6 ZHONGSHAN N. ROAD
TAIPEI, 00111 TAIWAN, PROVINCE OF CHINA

CTMAA
PO BOX 750785
PETALUMA, CA 94975

CTS CORPORATION
34 LONDONDERRY RD
LONDONDERRY, NH 03053

CTS CORPORATION
PO BOX 71238
CHICAGO, IL 60694

CUBELLIS ASSOCIATES, INC.
281 SUMMER STREET
BOSTON, MA 02210

CUBIC DESIGNS, INC.
16770 W VICTOR RD.
NEW BERLIN, WI 53151

CUI, FANG
54 MAJESTIC AVE
NASHUA, NH 03063

CULBERSON, ERIC
1242 CYPRESS CIRCLE
CARSON, CA 90746

CULLEN, MARK
9 PHEASANT RUN RD
LONDONDERRY, NH 03053

CULLIGAN
2020 ERNEST AVENUE
MISSOULA, MT 59801

CULLIGAN OF PHOENIX
SOUTHWEST WATER CONDITIONING
5410 S. 28TH STREET

PHOENIX, AZ 85040

CULLIGAN WATER CONDITIONING
1555 COMMERCIAL BLVD.
HERCULANEUM, MO 63048

CULLIGAN WATER CONDITIONING
8911 VETERANS MEMORIAL PARKWAY
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O'FALLON, MO 63366

CULLIPHER, JOSHUA
10543 E. CICERO ST
MESA, AZ 85207

CULP, MARK
420 S. 97TH ST
MESA, AZ 85208

CULPEPPER AND ASSOCIATES, INC.
DAVE FISCHER

3600 MANSELL ROAD, SUITE 310
ALPHARETTA, GA 30022

CUMMINGS, MICHELLE
65 LOG STREET
MANCHESTER, NH 03102

CUMMINGS, MICHELLE
71 VINE STREET, APT. B
NASHUA, NH 03060

CUMMINGS, SHIRLEY
16 MIDDLETON RD
NEW DURHAM, NH 03855

CUMMINS NORTHEAST INC
PO BOX 845326
BOSTON, MA 02284

CUMMINS NORTHWEST, LLC
4711 N. BASIN AVE
PORTLAND, OR 97208

CUPS, HEATHER
609 W NARANJA
MESA, AZ 85210

CURTIS MALLET-PREVOST COLT & MOSLE
101 PARK AVENUE
NEW YORK, NY 10178

CUSTOM COATINGS OF UKIAH
21111 PLUMMER ST.
CHATSWORTH, CA 91313-2516

CUSTOM: COATINGS OF UKIAH
3661 CHRISTY LANE
UKIAH, CA 95482

CUSTOM DESIGN TECHNOLOGY, INC.
5569 MOUNTAIN VIEW DRIVE SOUTH
FLORENCE, MT 59833

CUSTOM ELECTRIC & COMMUNICATIONS LL
407 DANIEL WEBSTER HIGHWAY
MERRIMACK, NH 03054

CUSTOM PACKAGING OPTIONS, INC.
1200 SHAKESPEARE STREET
MISSOULA, MT 59802

GTAT Matrix

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GTAT Matrix
CUSTOM PLASTICS MACHINING, INC.
9 D PRESIDENTIAL WAY
WOBURN, MA 01801

CUSTOM SYSTEMS & CONTROLS, INC.
132 WINTER STREET
FRAMINGHAM, MA 01702

CUSTOMS & BORDER PROTECTION OFFICE
INTERNATIONAL TRADE

1700 L STREET NW ROOM 1119
WASHINGTON, DC 20229-1154

CUTTING EDGE, THE
4843 NORTH RIDGE ROAD
PERRY, OH 44081

CUTTINGEDGE IONS
1667 N. ODONNELL WAY
ORANGE, CA 92867

CV COMMUNICATIONS, INC.
372-2 RAYMOND ROAD, PO BOX 68
CANDIA, NH 03034-0068

CYBER MARKETING INC
800 WISCONSIN STREET UNIT 15
EAU CLAIRE, WI 54703

CYBER-ARK SOFTWARE, INC
60 WELLS AVENUE, SUITE 103
NEWTON CENTRE, MA 02459

CYBERTEK TRAINING CENTERS INC.
747 ALISO STREET
CORONA, CA 92879

CYNERGY ERGONOMICS, INC.
13144 BARRETT MEADOWS DR.
BALWIN, MO 63021

CYNTHIA M BAUEER
17850 Hwy 93N
FLORENCE, MT 59833

CYRUS BENJAMIN MARTINEZ
3109 E SAN JUAN AVE
PHOENIX, AZ 85016

D & D MACHINE INC.
103 LEDGE STREET UNIT 9
SEABROOK, NH 03874

D & G CRANE SERVICE INC
P.O. BOX 3149
MISSOULA, MT 59806

D & G MACHINE PRODUCTS, INC.
50 EISNHOWER DRIVE
WESTBROOK, ME 04092

D & R AUTOCHUCK MFG INC
5248 27TH AVENUE
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GTAT Matrix

ROCKFORD, IL 61109

D.A.S. DISTRIBUTION, INC.
17 CONNECTICUT SOUTH DRIVE
EAST GRANBY, CT 06026

D.B. ROBERTS COMPANY
30 UPTON DRIVE, SUITE 3
WILMINGTON, MA 01887-1076

D.D.A. SERVICES, INC.
137 HARVEY ROAD
LONDONDERRY, NH 03053

D.L.G. ENTERPRISES, INC.
800 TURNPIKE ST., SUITE 300
NORTH ANDOVER, MA 01845

D.P. LUND COMPANY
DANA LUND

5650 HAYES CREEK ROAD
MISSOULA, MT 59804

D.W. PIZZA
78 DANIEL WEBSTER HIGHWAY
MERRIMACK, NH 03054

D2SOLAR, LLC
2369 BERING DRIVE
SAN JOSE, CA 95131

DADE MOELLER & ASSOCIATES, INC.
1835 TERMINAL DR., SUITE 200
RICHLAND, WA 99354

DAEJIN MACHINERY CO., LTD.
297 7 GONGDAN DONG
GUMI-CITY, 730-030 KOREA, REPUBLIC OF

DAH CHONG HONG (MOTOR LEASING) LTD.
20 KAI CHEUNG ROAD
KWOLOON BAY, HONG KONG

DAHLEN, KARL
78 SUMMER ST
MILFORD, NH 03055

DAHLEN, KARL J.
78 SUMMER STREET
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METHUEN, MA 01844-3818

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DAIKIN APPLIED AMERICAS INC
13600 INDUSTRIAL PARK BOULEVARD
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DAILY INTER LAKE, THE
PO BOX 7610
KALISPELL, MT 59904-7610

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GTAT Matrix

DAITRON, INC.
27750 Sw 95TH AVE., SUITE 100
WILSONVILLE, OR 97070

DAKOTA SYSTEMS, INC.
1057 BROADWAY ROAD, RTE 113
DRACUT, MA 01826

DALE ENGINEERING
3 ALFRED CIRCLE
BEDFORD, MA 01739

DALEY, DERRICK
4223 BRUDENELL DR
FAIRFIELD, CA 94533

DALIAN RALL FINE CERAMIC CO., LTD
NO. 110 HUAIHE WEST ROAD
DEVELOPMENT ZONE,DALIAN, 116600 CHINA

DALTILE
EAST 4000 BROADWAY
SPOKANE, WA 99202

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A-050 ENVIRONMENTAL PROTECTION
DANDONG CITY, 118000 CHINA

DANGER GONE LLC
7 CLARKSON FARM DR.
CHESTERFIELD, MO 63017

DANIEL 2. FOLEY
7 JUNCO DRIVE
TOPSHAM, ME 04086

DANIEL J. MCCARTHY MEMORIAL FUND
PO BOX 3088
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DANIEL SUNDBERG
5033 GREEN SPRUCE DRIVE
SYLVANIA, OH 43560

DANIELA FREDRICK
33 DUTCH VALLEY LANE
SAN ANSELMO, CA 94960

DANIELS, YOLANDA
1050 S AMANDES
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MESA, AZ 85208

DANVERS INDUSTRIAL PACKAGING CORP.
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DARCOID NOR-CAL SEAL
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DASS, SUBODH
1941 S. PIERPONT, #2032
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DATA PROCESSING AIR CORPORATION
DP AIR CORPORATION

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DATAMAX SOFTWARE GROUP, INC.
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DATAPAQ, INC
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DATEX INSTRUMENTS, INC.
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1808 PIPER CIRCLE
ANACORTES, WA 98221

DAWSON-MACDONALD CO INC
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DCM TECH, INC.
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DCM TECH, INC.
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GTAT Matrix

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DEMOULAS SUPPER MARKETS INC
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11 CALDWELL DRIVE
AMHERST, NH 03031

DENNIS FLOYD TRUCKING, INC.
860 IRWIN LANE
SANTA ROSA, CA 95401-5648

DENNISON LUBRICANTS, INC.
102 CHARLES ELDRIDGE DRIVE
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DENNYS COPY STOP, INC.
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DEPARTMENT OF PATHOLOGY, THE OHIO S
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DEVITO, JOHN
3129 MADAME PLANTIEN AVE
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DEXTRYS INC.
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DGI SUPPLY ST. LOUIS
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DHL EXPRESS (USA), INC
16592 COLLECTIONS CENTER DRIVE
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DHL EXPRESS (USA), INC.
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DHL GLOBAL FORWARDING
No. 600 1200 S. PINE ISLAND ROAD
PLANTATION, FL 33324

DIAMOND BUILDING MAINTENANCE
1921 RIDGEMONT DR
SAN JOSE, CA 95148

DIAMOND GROUND PRODUCTS

GTAT Matrix

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GTAT Matrix
2651 LAVERY CT
NEWBURY PARK, CA 91320

DIAMOND INDUSTRIAL TOOLS, INC
6712 N. CRAWFORD AVENUE
LINCOLNWOOD, IL 60712

DIAMOND INNOVATIONS INC
6325 HUNTLEY ROAD
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DIAMOND INNOVATIONS INC
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DIAMOND MATERIALS TECH, INC.

ATTN TOM DEVINE, CHIEF EXECUTIVE OFFICER
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DIAMOND MATERIALS TECH, INC.
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DIDERO, ROBERT A
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THIEF RIVER FALLS, MN 56701

DILLWOOD BURKEL & MILLAR, LLP
175 CONCOURSE BLVD., STE. A
SANTA ROSA, CA 95403
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175 CONCOURSE BLVD., STE A
SANTA ROSA, CA 95403

DIMENSION 3 PLASTICS LTD
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DIMERCO EXPRESS (USA) CORPORATION
140 EASTERN AVENUE
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DINERS PROFESSIONAL TRANSLATION
SERVICES LIMITED

RM.902, 9/F, FAR EAST CONSORTIUM BL
CENTRAL HONG KONG, HONG KONG

DINH, CHAM
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DINOVO, COSMO
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DIPIERO, MARK
20 CITATION AVE
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DIRAK, INC.
4115 PLEASANT VALLEY ROAD, SUITE 20
CHANTILLY, VA 20151

DIRECT COMMUNICATIONS LIMITED
STE 2 PORTLAND HOUSE, GLACIS RD
GIBRALTAR, UNITED KINGDOM

DIRECT ENERGY BUSINESS

HESS ENERGY MARKETING, LLC
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HESS ENERGY MARKETING, LLC
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GTAT Matrix

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GTAT Matrix
ALEXANDRIA, VA 22313-1450

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136 HARVEY ROAD, BLDG B, STE #5
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13566 GRAY HAWK RD
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17 POWDER HILL ROAD
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DL THURROTT, INC.
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DMV RENEWAL
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DOCKENDORF , THEODORE
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DOE & INGALLS OF MASSACHUSETTS
OPERATING, LLC

2520 MERIDIAN PARKWAY, SUITE 500
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DOE & INGALLS OF MASSACHUSETTS
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539 KEISLER DRIVE., SUITE 204
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DOERING
6343 RIVER ROAD S.E.
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DOLLER, ROBERT
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DONAL MACHINE, INC.
591 NO. MCDOWELL BLVD
PETALUMA, CA 94954
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FILTRACION, S.L.

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161 ZHONGSHAN ROAD

116011

DALIAN, CHINA

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DOUBLETREE HOTEL MISSOULA EDGEWATER
CHRIS SKOLD

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DOUGLAS C. DAVIS, LLC
DOUGLAS C. DAVIS
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150 MATHILDA PL, SUITE 300
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18 GRAF ROAD #10
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SHARONVILLE, OH 45241-2011

DUCTPRO ENGINEERING CHONG KONG) LIM
UNIT 4107B, 41/F, TOWER 2, METROPLA
HONG KONG, HONG KONG

DUENEZ, JOEL
1935 S SUNNYVALE, #1047
MESA, AZ 85206

DUFF & PHELPS, LLC
2397 PAYSPHERE CIRCLE

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CHICAGO, IL 60674

DUHIG & COMPANY, INC.
P.O. BOX 226966
LOS ANGELES, CA 90022-0666

DUKE UNIVERSITY
PO BOX 403636
ATLANTA, GA 30384-3636

DULAY, MANUEL
2255 W GERMANN RD, APT 1008
CHANDLER, AZ 85286

DULCE, VIDA
P.O.BOX 611064
SAN JOSE, CA 95161

DUMOND, BRYAN
893 E. COTTON FARM LANE
SAN TAN VALLEY, AZ 85140

DUMONT ASSOCIATES, INC.
50 HIGH TECH DRIVE
RUSH, NY 14543

DUMONT, ANDRE
108 N. HARRIS DR
MESA, AZ 85203

DUN & BRADSTREET
PO BOX 75542
CHICAGO, IL 60675

DUNIWAY STOCKROOM CORP.
1305 SPACE PARK WAY
MOUNTAIN VIEW, CA 94043-1308

DUNKIN DONUTS
282 DERBY STREET
SALEM, MA 01970

DUNKIN DONUTS
PO BOX 367
MERRIMACK, NH 03054

DUNWELL ENGINEERING CO LTD
INDUSTRIAL ESTATE
8 WANG LEE STREET
YUEN LONG, 00852 HONG KONG

DURAFLEX, INC
6305 LONDONDERRY DRIVE
CARY, IL 60013

DUVALL-REXFORD, CATHERINE
1529 E. GRANDVIEW ST
MESA, AZ 85203

DWIGHT CO. INC.
414 HEWITT ROAD
CHEHALIS, WA 98532

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GTAT Matrix
DWORAKOWSKI, RYSZARD
414 N. PALO VERDE
MESA, AZ 85207

DWYER INSTRUMENTS, INC
102 HIGHWAY 212
MICHIGAN CITY, IN 46361

DWYER INSTRUMENTS, INC.
P.O. BOX 338
MICHIGAN CITY, IN 46361

DXP ENTERPRISES, INC.
1111 SOUTH 27TH STREET
BILLINGS, MT 59101

DYADEM INTERNATIONAL LTD
9050 YONGE STREET SUITE 401
RICHMOND HILL, ON L4C 9S6 CANADA

DYER TECHNOLOGY, INC.
17 HAMPSHIRE DRIVE, SUITES 1 & 2
HUDSON, NH 03051

DYER, PHYLLIS
21086 S 186TH PLACE
QUEEN CREEK, AZ 85142

DYKEMAN, LYNE
11020 E ELTON AVE
MESA, AZ 85208

DYNAFLUX
241 BROWN FARM ROAD
CARTERSVILLE, GA 30120

DYNAMESH INC
512 KINGSLAND DRIVE
BATAVIA, IL 60510

DYNAMIC FLOWFORM CORP.
12 SUBURBAN PARK DRIVE
BILLERICA, MA 01821

DYNAMIC MANUFACTURING SOLUTIONS, LL
600 CENTER RIDGE DRIVE, SUITE 100
AUSTIN, TX 78753

DYNAMIC MATERIALS CORPORATION
5405 SPINE ROAD
BOULDER, CO 80301

DYNAMIC MATERIALS CORPORATION
PO BOX 975198
DALLAX, TX 75397-5198

DYNAMIC MOTION CONTROL, INC.
2222 N. ELSTON AVENUE, SUITE 200
CHICAGO, IL 60614

DYNAMIC SOLUTIONS
9209 RESEARCH DRIVE
IRVINE, CA 92618
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DYNATRONIX, INC.
462 GRIFFIN BLVD
AMERY, WI 54001

DYNAVAC

VACUUM TECHNOLOGY ASSOCIATES INC.
110 INDUSTRIAL PARK ROAD

HINGHAM, MA 02043

E SUPPLY DEPOT
3911 NORTH TULSA AVE.
OKLAHOMA CITY, OK 73112

E&S TECHNOLOGIES
180 MIDDLESEX STREET
CHELMSFORD, MA 01863

E. AMANTI & SONS, INC.
390 HIGHLAND AVE.
SALEM, MA 01970

E. MCGRATH INC
35 OSBORNE STREET
SALEM, MA 01970-2599

EADS, FRED
8 WOLF CREEK TRAIL
ST. PETERS, MO 63376

EAGAR LLC
138 CLAFLIN ST.
BELMONT, MA 02478

EAGLE AIR FREIGHT, INC.
140 EASTERN AVENUE I MC N BOX 6116
CHELSEA, MA 02150

EAGLE ALLOYS CORPORATION
178 WEST PARK CT
TALBOT, TN 37877

EAGLE BENDING MACHINES INC
PO BOX 99
STAPLETON, AL 36578

EAGLE ELECTRIC SUPPLY, CO.
290 VANDERBILT AVENUE
NORWOOD, MA 02062

EARTHLINK BUSINESS
5 WALL STREET
BURLINGTON, MA 01803

EARTHLINK BUSINESS
PO BOX 88104
CHICAGO, IL 60680

EAST COAST FILTER, INC
686 SOUTH ST.
WRENTHAM, MA 02093

EAST COAST FILTER, INC

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GTAT Matrix
75 ELMVIEW AVE
HAMBURN, NY 14075

EAST COAST PROCESS PIPING
8 MEADOWVIEW LANE
MERRIMACK, NH 03054

EAST COAST WELDING & FABRICATI
104 PARKER STREET
NEWBURYPORT, MA 01950

EAST WEST MANUFACTURING
4170 ASHFORD DUNWOODY RD SUITE 220
ATLANTA, GA 30319

EASTECH SYSTEMS LTD.
ROOM 307, INTERNATIONAL PLAZA, 20 S
KOWLOON BAY, HONG KONG

EASTERN BEARINGS, INC.
7096 SOUTH WILLOW STREET
MANCHESTER, NH 03103

EASTERN INDUSTRIAL AUTOMATION
158 LEXINGTON ST.
WALTHAM, MA 02452

EASTERN METAL INDUSTRIES
910 R. BROADWAY RTE 1
SAUGUS, MA 01906

EASTON, HOLLY
PO BOX 20187
MESA, AZ 85277

EASTWOOD ASSOCIATES
1954 FLETCHER AVENUE
SOUTH PASADENA, CA 91030

EASY LIFT EQUIPMENT CO INC
EASY LIFT CO INC

2 MILL PARK COURT

NEWARK, NJ 19713

EASY RACK
4705 HWY 36 SOUTH, SUITE E
ROSENBERG, TX .77471

EATON CORPORATION
PO BOX 93531
CHICAGO, IL 60673-3531

EATON, MICHAEL
5509 W FOLLEY ST
CHANDLER, AZ 85226

EBARA TECHNOLOGIES INC.
51 MAIN AVE
SACRAMENTO, CA 95838

EBERTH COVARRUBIA
3810 BOSTON DRIVE
OXNARD, CA 93033
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EBSD ANALYTICAL INC.
2044 NORTH 1100 EAST
LEHI, UT 84043

ECKERSLEY, RODNEY
1321 E. BELL DE MAR
TEMPE, AZ 85283

ECLIPSE TOOLS NORTH AMERICA INC.
442 MILLEN ROAD, UNIT #9
STONEY CREEK, ON L8E 6H2 CANADA

ECON DISPOSABLE SUPPLIES, INC.
16810 BARKER SPRINGS RD., #219
HOUSTON, TX 77084

ECON DISPOSABLE SUPPLIES, INC.
PO BOX 421048
HOUSTON, TX 77242

ED FAGAN, INC.
769 SUSQUEHANNA AVE.
FRANKLIN LAKES, NJ 07417

EDGAR ONLINE, INC.
50 WASHINGTON STREET
NORWALK, CT 06854

EDGAR PEREZ
172 E. HOPE STREET
MESA, AZ 85203

EDGELL BUILDING & DEVELOPMENT, INC.
316 EXPRESSWAY
MISSOULA, MT 59808

EDISON CONSULTING GROUP
3659 GREEN ROAD
BEACHWOOD, OH 44122

EDMUND INDUSTRIAL OPTICS
ATTN ACOUNTS RECEIVABLE
101 EAST GLOUCESTER PIKE
BARRINGTON, NJ 08007-1380

EDMUND INDUSTRIAL OPTICS
101 EAST GLOUCESTER PIKE
BARRINGTON, NJ 08007

EDWARD G MORAN, NH CUSTODIAL TRUSTE
132 SUMMIT AVENUE
MONCLAIR, NJ 07043

EDWARD LILLEY
18900 LAKEVIEW DRIVE
CLERMONT, FL 34715

EDWARDS ANGELL PALMER DODGE
101 FEDERAL STREET
BOSTON, MA 02110

EDWARDS VACUUM LTD.

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GTAT Matrix
MANOR ROYAL
CRAWLEY, RH1O 9LW UNITED KINGDOM

EDWARDS VACUUM, INC
6400 INDUCON CORPORATE DRIVE
SANBORN, NY 14132

EDWARDS VACUUM, INC
88700 EXPEDITE WAY
CHICAGO, IL 60695-1700

EDWARDS WILDMAN PALMER LLP
111 HUNTINGTON AVENUE
BOSTON, MA 02199

EFG GMBH
BEESKOWDAMM 6
BERLIN, 14167 GERMANY

EFG INTERNATIONAL
BEESKOWDAMM 6
BERLIN, 14167 GERMANY

EGL TOURS COMPANY LIMITED
15/F,EGL TOWER,NO.83 HUNG TO ROAD,K
HONG KONG, HONG KONG

EGON ZEHNDER INTERNATI
350 PARK AVE 8TH FLOOR
NEW YORK, NY 10022

EGON ZEHNDER INTERNATIONAL
1290 PAGE MILL ROAD
PALO ALTO, CA 94304

EGON ZEHNDER INTERNATIONAL INC
350 PARK AVENUE
NEW YORK, NY 10022

EGYPT CONSULATE GENERAL
1110 2ND AVENUE
NEW YORK, NY 10022

EIDE, PAUL
5 HOLMGREN RD
STRATHAM, NH 03885

EIS, INC
1524 w 14TH ST #106
TEMPE, AZ 85281

EIS, INC
PO BOX 98059
CHICAGO, IL 60693

EJC ENGINEERS
7 EMERALD DRIVE
NASHUA, NH 03062-1043

EL-CAT INC.
160 HOPPER AVENUE
WALDWICK, NJ 07463

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GTAT Matrix
EL-CAT INC.
80 RAILROAD AVE.
RIDGEFIELD PARK, NJ 07660

ELCON PRECISION LLC
1009 TIMOTHY DRIVE
SAN JOSE, CA 95133

ELDER CONSULTING

RICHARD E. ELDER

3790 EL CAMINO REAL PMB 324
PALO ALTO, CA 94306

ELECTRIC MOTOR SUPPLY CO.
4650 MAIN STREET N.E.
FRIDLEY, MN 55421

ELECTRICAL CONTROLS, INC.
PO BOX 402

275 CENTRE STREET, UNIT #16
HOLBROOK, MA 02343

ELECTRICAL SUPPLY / SANTA ROSA
P.O. BOX 5650
SANTA ROSA, CA 95402

ELECTRICAL SUPPLY OF MILFORD
318 SOUTH STREET, ROUTE 13
MILFORD, NH 03055

ELECTRICAL SUPPLY OF SANTA ROSA
ESSR, PO BOX 5650,
SANTA ROSA, CA 95402

ELECTRO DRIVE

PO BOX 60238

317 BROOKS STREET
WORCESTER, MA 01606

ELECTRO FLEX HEAT, LLC
LB# 8067 DEPT# 208067

PO BOX 5998

CAROL STREAM, IL 60197

ELECTROCHEM, INC.
32500 CENTRAL AVENUE
UNION CITY, CA 94587

ELECTROCRAFT OHIO, INC
250 MCCORMICK ROAD
GALLIPOLIS, OH 45631

ELECTRODES INCORPORATED
MATL CODE 11045

P.O. BOX 11839

NEWARK, NJ 07101-8138

ELECTRODES, INC
12035 SLAUSON AVE. SUITE E
SANTE FE SPRINGS, CA 90670

ELECTROGRIP COMPANY
6945 LYNN WAY
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PITTSBURGH, PA 15208

ELECTRO-LITE CORPORATION
6 TROWBRIDGE DRIVE
BETHEL, CT 06801

ELECTROMAGNETICWORKS INC.
8300 SAINT~PATRICK STREET SUITE 300
LASALLE, QC H8N 2H1 CANADA

ELECTROMATIC EQUIPMENT CO INC
600 OAKLAND AVENUE
CEDARHURST, NY 11516

ELECTRON MICROSCOPY SCIENCES
1560 INDUSTRY ROAD
HATFIELD, PA 19440

ELECTRONIC CONTAINER CORPORATION
5050-G LIST DRIVE
COLORADO SPRING, CO 80919

ELECTRONICS.CA PUBLICATIONS
3551 ST. CHARLES BLVD. SUITE 558
KIRKLAND, QC H9H 3C4 CANADA

ELECTROPHYSICS CORPORATION
373 ROUTE 46 WEST, BLDG E
FAIRFIELD, NJ 07004

ELECTRORENT CORPORATION
1770 CORPORATE DRIVE SUITE 550
NORCROSS, GA 30093

ELECTRO-TECH MACHINING
ATIN JESSIE LUCHETTI
PO BOX 92610
ROCHESTER, NY 14692

ELEKTRORECHNI
OBERBANK LANDSHUT, NEUSTADT 462
LANDSHUT, 84028 GERMANY

ELEKTRORECHNISCHE WERKE

FRITZ DRIESCHER & SOHNE GMBH
OBERBANK LANDSHUT, NEUSTADT 462
LANDSHUT, 84028 GERMANY

ELEMENTAL ANALYSIS, INC.
2101 CAPSTONE DR., SUITE 110
LEXINGTON, KY 40511

ELGAR
9250 BROWN DEER ROAD
SAN DIEGO, CA 92121

ELITE TECHNOLOGY SOLUTIONS, LLC
5900 SOM CENTER ROAD, STE 12-276
WILLOUGHBY, OH 44094

ELIUK, JESSE
10 CABOT STREET
SALEM, MA 01970

GTAT Matrix

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GTAT Matrix

ELKEM AS BREMANGER
6721 GUNNAR SHELDRUPSVEI
SVELGEN, 01234 NORWAY

ELLISON MACHINERY COMPANY, LLC
1610 SO. PRIEST DR, SUITE 101
TEMPE, AZ 85281

ELLSWORTH-DURKIN, JESSE
10856 E. SONRISA AVE
MESA, AZ 85212

ELMET TECHNOLOGIES
ATTN ERIC SCHEINERMAN, CHIEF EXECUTIVE OFFICER
1560 LIBSON STREET
LEWISTON, ME 04240

ELMET TECHNOLOGIES
1560 LIBSON STREET
LEWISTON, ME 04240

ELMET TECHNOLOGIES, INC.
PO BOX 845832
BOSTON, MA 02284-5832

ELSEVIER, LTD
6277 SEA HARBOR DRIVE
ORLANDO, FL 32887

ELYOUSFI, ALAN
11939 TIFFANY LN
EDEN PRAIRIE, MN 55344

ELYSEE HOTEL AG HAMBURG
ROTHEN BAUMCHAUSSEE 10
D-20 148 HAMBURG, 20148 GERMANY

ELYSIUM INC.
3000 TOWN CENTER, SUITE 1330
SOUTHFIELD, MI 48075

EMAGINE COMMUNICATIONS LLC
73 STEVENS STREET, UNIT 1
TAUNTON, MA 02718

EMAXWIN TECHNOLOGY CO. LTD.
11F.-3, NO. 9, DONGSING W. ST., NAN
TAICHUNG CITY, 00408 TAIWAN, PROVINCE OF CHINA

EMCOR

BONNIE ANDERSON
1600 4TH AVE. NW
ROCHESTER, MN 55901

EME TECHNOLOGIES, INC
P.O. BOX 4097
SANTA CLARA, CA 95056-4097

EMEDCO
PO BOX 369
BUFFALO, NY 14240

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GTAT Matrix
EMERGING MATERIALS TECHNOLOGY INC
1491 LITTLEFIELD COURT
LAKE FOREST, IL 60045

EMERSON NETWORK POWER, LIEBERT
SERVICES, INC.

PO BOX 70474

SERVICES, INC. PO BOX 70474
CHICAGO, IL 60673-0001

EMERSON NETWORK POWER, LIEBERT
SERVICES, INC.

SERVICES 610 EXECUTIVE CAMPUS DRIVE
WESTERVILLE, OH 43082

EMERSON-SWAN, INC.
300 POND STREET
RANDOLPH, MA 02368

EMINESS TECHNOLOGIES, INC.
7272 E. INDIAN SCHOOL RD., SUITE 35
SCOTTSDALE, AZ 85251

EMINESS TECHNOLOGIES, INC.
PO BOX 53051
PHOENIX, AZ 85072-3051

EMM PRECISION INC
619 EAST CONWAY RD
CENTER CONWAY, NH 03813

EMPIRE SHEET METAL, INC.
155 BAKER ST.
MANCHESTER, NH 03103

EMPIRE SOUTHWEST, LLC
840 N 43RD AVE
PHOENIX, AZ 85009

EMPIRE TODAY, LLC
1053 TURNPIKE ST.
STOUGHTON, MA 02072

EMPIRE TODAY, LLC
333 NORTHWEST AVE.
NORTHLAKE, IL 60164

EMS CONTROLS INC.
840 PAMELA DRIVE
PUNTA GORDA, FL 33950

EMSL ANALYTICAL, INC.
200 ROUTE 130 NORTH
CINNAMINSON, NJ 08077

EMX CONTROLS, INC.
ONE TECHNOLOGY DRIVE
UXBRIDGE, MA 01569

ENARDO, LLC
4470 SOUTH 70TH EAST AVE.
TULSA, OK 74145-4607

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GTAT Matrix
ENARDO, LLC
P.O. BOX 951494
DALLAS, TX 75395-1494

ENCO
400 NEVADA PACIFIC HIGHWAY
FERNLEY, NV 89408

ENDRESS & HAUSER CHELLAS) S.A.
L KIMIS & 4B ILEKTRAS STR., GR
MAROUSI - ATTICA, 15122 GREECE

ENDRESS + HAUSER

C/O OCONNOR & SENECAL, INC.
176 WORC-PROV TURNPIKE
SUTTON, MA 01590

ENDRESS + HAUSER, INC.

C/O IPT GROUP LLC

P.O. BOX 663674
INDIANAPOLIS, IN 46266-3674

ENERFAB INC
4955 SPRING GROVE AVE
CINCINNATI, OH 45232

ENERFAB INC
PO BOX 630398
CINCINNATI, OH 45263-0399

ENERGY MACHINERY, INC.
10 RESERVOIR DRIVE
ROCKLAND, MA 02370-0363

ENERGY MACHINERY, INC.
PO BOX 845216
BOSTON, MA 02284-5216

ENERGY RESEARCH CENTRE OF

THE NETHERLANDS

WESTERDUINWEG 3, PO BOX 1

LE PETTEN, 1755 ZG NETHERLANDS

ENERTRON, INC
5005 S. ASH AVE, SUITE 5/6
TEMPE, AZ 85282

ENERVAC CORPORATION
280 HOLIDAY INN DRIVE
CAMBRIDGE, ON N3C 124 CANADA

ENGINEERED LUBRICANTS CO.
11525 ROCK ISLAND CT.
MARYLAND HEIGHTS, MO 63043-3522

ENGINEERED PRESSURE SYSTEMS
165 FERRY ROAD
HAVERHILL, MA 01835

ENGINEERED THERMAL SYSTEMS
235 MILLWELL DRIVE
MARYLAND HEIGHTS, MO 63043

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GTAT Matrix
ENGINEERING JOBS, LLC
5174 MCGINNIS FERRY ROAD SUITE 241
ALPHARETTA, GA 30005

ENGIS CORPORATION
105 WEST HINTZ ROAD
WHEELING, IL 60090

ENGLISH SCHOOLS FOUNDATION
ESF CENTRE, 25/F, 1063 KINGS ROAD
QUARRY BAY, HONG KONG

ENPRO SERVICES INC.
709 KIETH AVE.
PEMBROKE, NH 03275

ENTEGEE

ENGINEERING TECHNICAL GROUP
70 BLANCHARD ROAD
BURLINGTON, MA 01803

ENTEGREAT INC.
200 1900 INTERNATIONAL PARK DR SUIT
BIRMINGHAM, AL 35243

ENTEGRIS
300 OLD GREENWOOD ROAD
DECATUR, TX 76234

ENTERPRISE RENT-A-CAR
6 E PERIMETER ROAD
LONDONDERRY, NH 03053

ENTEST, INC
2015 MIDWAY ROAD, SUITE 114
CARROLLTON, TX 75006

ENVIRO BUILDINGS
401 DELAWARE ST.
QUINCY, IL 62301

ENVIRON INTERNATIONAL CORP.
4350 N. FAIRFAX DR., SUITE 300
ARLINGTON, VA 22203

ENVIRONMENTAL AIR SPECIALTIES
80 WORCESTER ST.
NORTH GRAFTON, MA 01536

ENVIRONMENTAL ENGINEERING & CONSULT
1262 E MCNAIR DRIVE
TEMPE, AZ 85283

ENVIRONMENTAL PACKAGING, INC.
64 WOOD RANCH CIRCLE
DANVILLE, CA 94506

ENVIRONMENTAL PROTECTION AGENCY
1595 WYNKOOP ST.
DENVER, CO 80202-1129

ENVIRONMENTAL PROTECTION AGENCY
1650 ARCH STREET
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PHILADELPHIA, PA 19103-2029

ENVIRONMENTAL PROTECTION AGENCY
1 CONGRESS ST

SUITE 1100

BOSTON, MA 02114-2023

ENVIRONMENTAL PROTECTION AGENCY
61 FORSYTH STREET, SW
ATLANTA, GA 30303-3104

ENVIRONMENTAL PROTECTION AGENCY
75 HAWTHORNE STREET
SAN FRANCISCO, CA 94105

EPAK

4926 SPICEWOOD SPRINGS ROAD
SUITE 200

AUSTIN, TX 78759

EPAK INTERNATIONAL, INC.
4926 SPICEWOOD SPRINGS, #200
AUSTIN, TX 78759

EPG METALS GROUP
4896 —. 345TH STREET
WILLOUGHBY, OH 44094

EPLUS TECHNOLOGY, INC.
1376 BORREGAS AVE
SUNNYVALE, CA 94089

EPLUS TECHNOLOGY, INC.
PO BOX 404398
ATLANTA, GA 30384-4398

EPNER TECHNOLOGY INC
78 KINGSLAND AVENUE
BROOKLYN, NY 11222

EPOCH SOLUTIONS, LLC

PO BOX 725

125 GRAY STREET

NORTH ANDOVER, MA 01845

E-QUAL, INC.
357 RIVER RD.
FORT THOMAS, KY 41075

EQUILAR, INC.
1100 MARSHALL ST.
REDWOOD CITY, CA 94063

EQUIPCO RENTALS
4411 S 40TH STREET, SUITE D-1
PHOENIX, AZ 85040

EQUIPCO RENTALS
PO BOX 5606
CONCORD, MA 94520

EQUITY ADMINISTRATION SOLUTION
4683 CHABOT DRIVE, SUITE 260

GTAT Matrix

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PLEASANTON, CA 94588

ERC WIPING PRODUCTS
19 BENNETT STREET
LYNN, MA 01905

ERE MEDIA, INC.
176 MULBERRY STREET, SUITE 3
NEW YORK, NY 10013

ERGOMET, INC
60 WARD HILL AVENUE
WARD HILL, MA 01835

ERGOWEST CONSULTING
SHAWNALEA SHELLEY
502 w PELICAN DR
CHANDLER, AZ 85286

ERIC BARNETT
582 HAWTHORNE HEIGHTS
LAWRENCEBURG, IN 47025

ERIC Z DISPOSAL
5 HUTCHINSON STREET
LYNN, MA 01902

ERIK A BEAN, BUS. CONSULTING
C/O EXCHANGE BANK ACCNT 3353
1031 VINE STREET

HEALDSBURG, CA 95448

ERNEST GODSHALK
50 CHESTNUT ST., APT C
BOSTOIN, MA 02108

ERNST & YOUNG
PO BOX 827006
PHILADELPHIA, PA 19182

ERNST & YOUNG LLPCENGLAND)
I MORE LONDON PLACE
LONDON, SE1 2AF UNITED KINGDOM

ERNST & YOUNG PRODUCT SALES LL
925 EUCLID AVENUE, SUITE 1300
CLEVELAND, OH 44115

ERRAN, JENNIFER
1332 W. 6TH AVE
MESA, AZ 85202

ESCANER, LEONOR
41577 N. PALM SPRINGS TRL
SAN TAN VALLEY, AZ 85140

E-SCIENCE, INC.
596 SCHOMMER DR, STE 100
HUDSON, WI 54016

ESCOBAR, ARMANDO
316 N. BROWER LANE
MARICOPA, AZ 85139

GTAT Matrix

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GTAT Matrix

ESCUETA, RAFFY

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FLAT C, 5TH FLOOR, FORUM COURT BLDG, FANLING TOWN CENTRE, 18 FANLING STATION ROAD,

FANLING, NEW TERRITORIES
5 HONG KONG

ESK CERAMICS
3169 RED HILL AVENUE
COSTA MESA, CA 92626

ESK CERAMICS
MAX-SCHAIDHAUF~STR. 25
KEMPTEN, 87437 GERMANY

ESPEC NORTH AMERICA
4141 CENTRAL PARKWAY
HUDSONVILLE, MI 49426

ESPI METALS
1050 BENSON WAY
ASHLAND, OR 97520

ESQUIVEL, RENE
29 W LOVE RD
SAN TAN VALLEY, AZ 85143

ESSELMAN, MARK
1880 N HAMILTON PL
CHANDLER, AZ 85225

ESSEM VENTURES INC
93 MASSACHUSETTS AVENUE, STE 300
BOSTON, MA 02115

ESSENTRA PLASTICS, LLC
PO BOX 179

2265 BLACK CREEK ROAD
MUSKEGON, MI 49444

ESSEX ALARM & SECURITY, INC.
7 QUINCY PARK
BEVERLY, MA 01915

ESSEX COUNTY CRAFTSMAN, INC.
60 WARD ST.
SALEM, MA 01970

ESTES EXPRESS LINES
P.O. BOX 25612
RICHMOND, VA 23260-5612

ESTES, CARLA
2832 N 57TH AVE
PHOENIX, AZ 85035

ESTRATEGIES EVENTS, LTD
33 JACOB WELLS ROAD
CLIFTON, BS8 1DQ UNITED KINGDOM

ETECH FIRE LIMITED
RM.303C, 3/F, HENLEY INDUSTRIAL CEN
MONGKOK, HONG KONG

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GTAT Matrix
ETM MANUFACTURING CO
24 PORTER ROAD
LITTLETON, MA 01460

ETQ MANAGEMENT CONSULTANTS INC.
399 CONKLIN STREET, #208
FARMINGDALE, NY 11735

ETRADE FINANCIAL SERVICES
4005 WINDWARD PLAZA DRIVE
ALPHARETTA, GA 30005

ETS AUTOMATION, INC.
3730 E ZEUS RD.
MEAD, WA 99021

ETUDE MAITRE FRANCIS KESSELER NOTAI
5,RUE ZENON BERNARD,B.P.186
ESCH-SUR-ALZETTE, 04002 LUXEMBOURG

EUBANKS ENGINEERING CO
3022 INLAND EMPIRE BLVD
ONTARIO, CA 91764

EUGENE SKAYNE
155 MAYFAIR DRIVE
BOXBOROUGH, MA 01719

EUGENE YATSENKO
46 HALSEY AVENUE
TORONTO, ON M4B 1A5 CANADA

EUROMONEY, INC.

D/B/A MIS TRAINING INSTITUTE
153 CORDAVILLE ROAD, SUITE 200
SOUTHBOROUGH, MA 01772-1834

EUSTIS CO., INC.
12407~B MUKILTEO SPEEDWAY STE.200
LYNNWOOD, WA 98087

EVANS ANALYTICAL GROUP LLC
103 COMMERCE BLVD.
LIVERPOOL, NY 13088

EVANS ANALYTICAL GROUP LLC
810 KIFER ROAD
SUNNYVALE, CA 94086

EVANS ANALYTICAL GROUP LLC
DEPT. LA 22489
PASADENA, CA 91185-2489

EVANS ANALYTICAL GROUPCCHINA)
1F, BUILDING 4, NO.1151 LIANXI ROAD
SHANGHAI, 201204 CHINA

EVANS, BRAD
2748 E TEAKWOOD PL
CHANDLER, AZ 85249

EVAPCO
PO BOX 1300
Page 135

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GTAT Matrix
WESTMINSTER, MD 21158

EVER CONCORD LOGISTICS JFK
149-06 182ND STREET
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EVER ENERGY CO LTD
NO.156 JHONGYUAN RD
JHONGLI CITY, 00320 TAIWAN, PROVINCE OF CHINA

EVERBANK COMMERCIAL FINANCE
PO BOX 911608
DENVER, CO 80291-1608

EVEREST PERFORMANCE GROUP
1052 BARROW CT
WESTLAKE VILLAGE, CT 91361

EVERETT CHARLES TECHNOLOGIES
487 JEFFERSON BOULEVARD
WARWICK, RI 02886

EVOLUTIONS IN BUSINESS
PO BOX 4008
CHELMSFORD, MA 01824

EVON GMBH
FRANK-STRONACH-STR. 8
8200 GLEISDORF

, GERMANY

EXACT IMAGE
1945 BIRCH ST.
MISSOULA, MT 59802

EXACT SOFTWARE-MAX
1065 HILLSDALE BLVD
FOSTER CITY, CA 94404

EXACTITUDE, LLC
JOESPH J KOENIG
775 N COUNTRY CLUB DRIVE, SUITE 5
MESA, AZ 85201

EXAIR CORPORATION
11510 GOLDCOAST DRIVE
CINCINNATI, OH 45249

EXCELNET TOTAL HR SOLUTIONS
RM 301-10, DOMINION CENTRE, 43-59 Q
WANCHAT, HONG KONG

EXCHANGE BANK

ATTN CAROL A. SCHOFIELD VP
PO BOX 208

SANTA ROSA, CA 95402

EXECU-SYS, LTD.
1411 BROADWAY, SUITE 1220
NEW YORK, NY 10018

EXECUTIVE BUSINESS SOLUTIONS (EBS)
12655 OLIVE BLVD., STE 210
Page 136

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GTAT Matrix
ST. LOUIS, MO 63141

EXECUTIVE CENTRE HONG KONG

LIMITED, THE

EAST 3 PACIFIC PLCE,LEVEL3, 1 QUEEN
CENTROL HONG KONG, OOHKL HONG KONG

EXECUTIVE COURT CONFERENCE CENTER
1199 SOUTH MAMMOTH ROAD
MANCHESTER, NH 03109

EXECUTIVE FURNISHINGS INC.
8 HERSEY LANE
STRATHAM, NH 03885

EXECUTIVE LIABILITY UNDERWRITERS
ONE CONSTITUTION PLAZA, 16TH FLOOR
HARTFORD, CT 06103

EXECUTIVE SPEAKING, INC.
60 SOUTH SIXTH STREET, SUITE 3610
MINNEAPOLIS, MN 55402

EXHIBIT SERVICES GROUP

DBA NUVISTA EVENT MANAGEMENT
2627 FARRINGTON ST

DALLAS, TX 75207

EXHIBIT SOURCE, THE
145 WELLS AVENUE
NEWTON, MA 02459

EXLAR CORPORATION
18400 WEST 77TH STREET
CHANHASSAN, MN 55317

EXLAR CORPORATION
PO BOX 223867
PITTSBURGH, PA 15250-2867

EXM MANUFACTURING, LTD.
870 BOUL MICHELE-BOHEC
BLAINEVILLE, QC J7C 5E2 CANADA

EXPEDITORS HONG KONG LIMITED
ACCOUNTING OFFICE

36/F-38/F, ENTERPRISE SQUARE THREE,
KOWLOON BAY, HONG KONG

EXPEDITORS INTERNATIONAL/BOSTON
PO BOX 1107
LYNNFIELD, MA 01940

EXPEDITORS INTL ~ NY
245 ROGERT AVENUE
INWOOD, NY 11096

EXPEDITORS INTL - STL
610 LAMBERT POINTE DR
HAZELWOOD, MO 63042

EXPEDITORS INTL / IND
2670 EXECUTIVE DRIVE SUITE B
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GTAT Matrix
INDIANAPOLIS, IN 46241

EXPEDITORS INTL / MCI
10749 NW AMBASSADOR DRIVE
KANSAS CITY, MO 64153

EXPEDITORS INTL / NJ
150 RARITAN CENTER PARKWAY
EDISON, NJ 08837

EXPEDITORS INTL / PA
519 KAISER DRIVE SUITE A
FOLCROFT, PA 19032

EXPEDITORS INTL / SEA
PO BOX 1127
KENT, WA 98035

EXPEDITORS INTL MKE
9675 SOUTH 54TH STREET
FRANKLIN, WI 53132

EXPEDITORS INTL ORD
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EXPEDITORS INTL/BOSTON
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LYNNFIELD, MA 01940

EXPEDITORS INTL/JFK
245 ROGER AVENUE
INWOOD, NY 11096

EXPEDITORS INTL/PDX
2508 N MARINE DRIVE
PORTLAND, OR 97217

EXPEDITORS INTL/PIT
BURGH

980 BEAVER GRADE ROAD
CORAOPOLIS, PA 15108

EXPEDITORS INTL/SFO
425 VALLEY DRIVE
BRISBANE, CA 94005

EXPEDITORS TRADEWIND LLC
1015 THIRD AVENUE 12TH FLOOR
SEATTLE, WA 98104

EXPOCON
MARSHALLSTRAAT 18
BRUNSSUM, 6441 JX NETHERLANDS

EXPONENT, INC

PO BOX 200283
DEPT 002

DALLAS, TX 75320

EXPONENT, INC.
149 COMMONWEALTH DRIVE
MENLO PARK, CA 94025
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GTAT Matrix

EXPORT RISK MANAGEMENT

AMERICAN EXPORT TRAINING INSTITUTE
C/O EXPORT RISK 225 TACONIC ROAD
SALISBURY, CT 06068

EXPOTRADE MIDDLE EAST FZ-LLC
LEVEL 10, 1002, THURAYA TOWER 2
DUBAI MEDIA CITY, 01234 UNITED ARAB EMIRATES

EXPOTRADE MIDDLE EAST FZ-LLC
PO BOX 500686
DUBAI, 01234 UNITED ARAB EMIRATES

EXPRESS LIGHTING INC.
1635 SOUTH MIAMI ROAD
FORT LAUDERDALE, FL 33316

EXPRESS LINE (U.S.A.) INC.
167-16 146TH AVENUE
JAMAICA, NY 11434

EXPRESS PACKAGING & CRATING, INC.
4202 N 38TH DRIVE
PHOENIX, AZ 85019

EXTREME BOLT & FASTENER
202 S. DEER RUN DRIVE
LINCOLN UNIVERSITY, PA 19352

F SOLAR GMBH
APPENDORFER WEG 5
OSTERWEDDINGEN, 39171 GERMANY

F SOLAR GMBH
APPENDORFER WEG 5
SUELZETAL, 39171 GERMANY

F. S. INDUSTRIES
PO BOX 72659, 50 SPRAGUE ST.
PROVIDENCE, RI 02907

F.W. WEBB COMPANY
160 MIDDLESEX TURNPIKE
BEDFORD, MA 01730

F.W. WEBB COMPANY
7 REDMOND STREET
NASHUA, NH 03062

F.X. MASSE ASSOCIATES, INC
10 HARBOUR HEIGHTS
GLOUCESTER, MA 01930

FAB2SPEC
300 W. ROBLES AVE SUITE M,
SANTA ROSA, CA 95407

FABER, JAMES
3 HILLSIDE AVENUE
EXETER, NH 03833

FABICK POWER SYSTEMS INC
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11 FABICK DR
FENTON, MO 63026

FABREEKA INTERNATIONAL, INC.
PO BOX 210

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FABRICATING/DISTRIBUTOR INC
6316 S TAXIWAY CIRCLE
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14104 N.E. 45TH COURT
VANCOUVER, WA 98686

FACHVERBAND PULVERMETALLURGIE E.V.
GOLDENE PFORTE 1
HAGEN, 58093 GERMANY

FACTORY MUTUAL INSURANCE COMPANY
HONG KONG BRANCH

UNIT 1601, LEVEL 16

TOWER ONE, GRAND CENTURY PLACE
193 PRINCE EDWARD ROAD WEST
MONGKOK, KOWLOON, HONG KONG

FAILING, JOHNNY & SHERRY
14120 MORELLI LANE
SEBASTOPOL, CA 95472

FAIN & CO.
1365 MONROE DRIVE Bl
ATLANTA, GA 30324

FAIRBANKS SCALES INC.
1525 S GLADIOLA ST. UNIT 13
SALT LAKE CITY, UT 84104

FAIRPOINT COMMUNICATIONS INC.
770 ELM STREET
MANCHESTER, NH 03101

FAIRPOINT COMMUNICATIONS INC.
PO BOx 11021
LEWISTON, ME 04243-9472

FAIRVIEW COIL FABRICATION
80 FAIRVIEW RD.
SCOTTSVILLE, NY 14546

FALCON ELECTRIC INC.
5116 AZUSA CANYON ROAD
IRWINDALE, CA 91706

FALCON PROCESS SYSTEMS, INC.
18 CELINA AVENUE, UNIT 19
NASHUA, NH 03063

FALK GMBH & CO KG
POSTFACH 10 22 80
HEIDELBERG, 69012 GERMANY

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GTAT Matrix
FALMER THERMAL SPRAY
96 SWAMPSCOTT RD, UNIT 10
SALEM, MA 01970

FAMOUS DAVES
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SCOTTSDALE, AZ 85260

FAMOUS DAVES
2038 OVERLAND AVE..
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FANUC ROBOTICS AMERICA INC.
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PO BOX 79001, DRAWER #5739
DETROIT, MI 48279-5739

FARAG, PETER
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QUEEN CREEK, AZ 85142

FARMERS COPPER LTD.
202 37TH STREET
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GALVESTON, TX 77553

FARNAM CUSTOM PRODUCTS
PO BOX 1377

90 BRADLEY BRANCH ROAD
ARDEN, NC 28704

FARO RECRUITMENT CHONG KONG) LTD.
21/F., 88 GLOUCESTER ROAD, WANCHAT
HONG KONG, HONG KONG

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FARO TECHNOLOGIES, INC.
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FASB
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FASB/FARS

ATTENTION ACCOUNTS RECEIVABLE
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FAST SIGNS
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FASTENAL COMPANY
PO BOX 1286
WINONA, MN 55987
Page 141

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GTAT Matrix

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WINONA, MN 55987-1286

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PO BOX 669
GENERAL POST OFFICE, HONG KONG

FEDERAL EXPRESS CORP.
P.O. BOX 7221
PASADENA, CA 91109-7321

FEDERAL EXPRESS EUROPE INC.
LANGER KORNWEG 34K
KELSTERBACH, 65451 GERMANY

FEDERAL INSURANCE COMPANY
ATTN POONAM SCOTT

ONE FINANCIAL CENTER
BOSTON, MA 02111-2697

FEDERAL INSURANCE COMPANY
15 MOUNTAIN VIEW ROAD
WARREN, NJ 07059

FEDERAL INSURANCE COMPANY
ONE FINANCIAL CENTER
BOSTON, MA 02111-2697

FEDEX
PO BOX 371461
PITTSBURGH, PA 15250

FEDEX
PO BOX 371461
PITTSBURG, PA 15250-7461

FEDEX FREIGHT

DEPT. LA

P.O. BOX 21415
PASADENA, CA 91185-1415

FEDEX FREIGHT
PO BOX 10306
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PO BOX 223125
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FEDEX KINKOS
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NASHUA, NH 03063

FEDEX NATIONAL LTL
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LAKELAND, FL 33804-5001

FEDEX OFFICE AND PRINT SERVICE
PO BOX 672085
DALLAS, TX 75267-2085

FEIGELSON, ROBERT S.
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SARATOGA, CA 95070

FEIR, HANK
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SAN FRANCISCO, CA 94107

FELIX, ADRIAN
2902 E. ESCONDIDO AVE
MESA, AZ 85204

FELIX, JOSEPH
1523 MARIA WAY
SAN JOSE, CA 95117

FEMAGSOFT S.A.
AXIS PARC RUE ANDRE DUMONT 7
MONT-ST-GUIBERT, 01435 BELGIUM

FENWAY CONSULTING GROUP
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NEWTON, MA 02642

FERIA VALENCIA
PO BOX 476 E
VALENCIA, 46080 SPAIN

FERNANDEZ, DANIEL
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MESA, AZ 85202

FERNANDEZ, WILLIAM
5151 E ELENA AVE
MESA, AZ 85206

FERNS, STEVE
2656 E DENIM TRAIL
SAN TAN VALLEY, AZ 85143

FERRO CORPORATION
1395 ASPEN WAY
VISTA, CA 92081

FERRO CORPORATION
PO BOX 5831
CLEVELAND, OH 44193

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FERRO-CERAMIC GRINDING, INC.
5 CORNELL PLACE
WILMINGTON, MA 01887

FERROTEC (USA) CORPORATION
33 CONSTITUTION DR
BEDFORD, NH 03110

FESTIVAL CITY FABRICATORS

DIV OF CLEMMER STEELCRAFT TECH
487 LORINE AVENUE E.
STRATFORD, ON N5A 6S4 CANADA

FESTO CORPORATION
2 CONSTITUTION WAY
WOBURN, MA 01801

FESTO CORPORATION
PO BOX 1355

ACCT 20318391
BUFFALO, NY 14240

FESTO CORPORATION
P.O. BOX 18023

395 MORELAND ROAD
HAUPPAUGE, NY 11788

FESTO LIMITED

6/F NEW TIMELY FACTORY BLDG
497 CASTLE PEAK ROAD

’ HONG KONG

FIBER MATERIALS, INC
5 MORIN STREET
BIDDEFORD, ME 04005

FIBER MATERIALS, INC
PO BOX 3852
BOSTON, MA 02241

FIBERNEXT, LLC
3 ROBINSON RD., SUITE A-3
BOW, NH 03304

FIELDSERVER TECHNOLOGIES
1991 TAROB COURT
MILPITAS, CA 95035

FIERA MILANO CONGRESSI SPA
P.LE CARLO MAGNO, 1
MILANO, 20149 ITALY

FIGUEROA, ALVARO
576 TODD ROAD
SANTA ROSA, CA 95407

FIGUEROA, JESUS
10608 E. LINCOLN AVE
MESA, AZ 85212

FILMETRICS, INC
3560 DUNHILL STREET

GTAT Matrix

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GTAT Matrix
SAN DIEGO, CA 92121

FILMSOURCE, LLC

SOUTHWEST PLASTIC BINDING COMPANY
PO BOX 150

MARYLAND HEIGHTS, MO 63043

FILTER SALES & SERVICE, INC.
15 ADAMS STREET
BURLINGTON, MA 01803-4916

FILTRATION TECHNOLOGIES, LLC
1255 RESEARCH BLVD, BUILDING B
SAINT LOUIS, MO 63132

FIMBEL PAUNET CORPORATION
281 DANIEL WEBSTER HIGHWAY
MERRIMACK, NH 03054

FIMBRES, CHRISTOPHER
9562 E. LINDNER AVE
MESA, AZ 85209

FINANCIAL AGENT

PO BOX 970030

FEDERAL TAX DEPOSIT PROCESSING
ST. LOUIS, MO 63197

FINANCIAL EXECUTIVES INTERNATIONAL
200 CAMPUS DRIVE
FLORHAM PARK, NJ 07932-0674

FINISH SYSTEMS
2691 SOUTH CALHOUN ROAD
NEW BERLIN, WI 53151

FINRA
1735 K STREET
WASHINGTON, DC 20006

FIRE & EMERGENCY SERVICE DEPT
COUNTY OF SONOMA

2300 COUNTY CTR DR., STE 2208
SANTA ROSA, CA 95403

FIRE PROTECTION TECHNOLOGY, LLC
21 DRAKE LANE
DERRY, NH 03038

FIREMANS FUND INSURANCE COMPANIES
777 SAN MARIN DRIVE
NOVATO, CA 94998

FIRMLY ROOTED LANDSCAPING, LLC
405 RIVER ROAD
WEARE, NH 03281

FIRST ALARM SECURITY SERVICES
1111 ESTATES DRIVE
APTOS, CA 95003

FIRST AMERICAN TITLE INSURANCE CO.
OF NEW YORK
Page 145

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GTAT Matrix
633 THIRD AVENUE
NEW YORK, NY 10017

FIRST CALL COMPUTER SOLUTIONS
616 SOUTH HIGGINS AVENUE
MISSOULA, MT 59801

FIRST CAPITOL COURIER
3711 MUELLER ROAD
ST. CHARLES, MO 63301

FIRST CHOICE
2423 VERNA COURT
SAN LEANDRO, CA 94577

FIRST ELECTRIC MOTOR SERVICE, INC.
73 OLYMPIA AVENUE
WOBURN, MA 01801

FIRST INTERSTATE BANK
101 E. FRONT STREET, SUITE 101
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FIRST PHILEC SOLAR CORPORATION
LOT 19 PHASE 1B
TANAUAN CITY, 04232 PHILIPPINES

FIRST SECURITY BANK OF MISSOULA
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FIRST UNUM LIFE INSURANCE COMPANY
1 FOUNTAIN SQUARE
CHATTANOOGA, TN 37402-1330

FIRST UNUM LIFE INSURANCE COMPANY
PO BOX 406919
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SUWANEE, GA 30024

FISHER SCIENTIFIC COMPANY
PO BOX 3648
ACCT#309587-001

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FISTER ELECTRIC, INC.
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MISSOULA, MT 59801

FITNESS INTERNATIONAL LLC
3161 MICHELSON DR SUITE 600
IRVINE, CA 92612

FITZSIMMONS, ROBERT
2222 N. MCQUEEN RD, #1021
CHANDLER, AZ 85225

FLAGSHIP AUTOMATION, INC.
1 TECHNOLOGY DRIVE
Page 146

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UXBRIDGE, MA 01569

FLAG-WORKS

DBA AMERICAN COWBOY, LLC
6 NORTH MAIN STREET
CONCORD, NH 03301

FLAIM, RYAN
5 SPRING STREET
DUXBURY, MA 02332

FLATIRON CAPITAL
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FLEMING, GLORIA
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QUEEN CREEK, AZ 85140

FLETCHER GRANITE
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1603 WATSON COURT
MILPITAS, CA 95035

FLEXICON CORPORATION
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BETHLEHEM, PA 18020

FLTESLER MEYER LLP
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SAN FRANCISCO, CA 94108

FLIGHTLINE, INC AIRPORT SVC
514 PELHAM ROAD
SALEM, NH 03079

FLIR COMMERCIAL SYSTEMS, INC.
9 TOWNSEND WEST
NASHUA, NH 03063

FLIR COMMERCIAL SYSTEMS, INC.
LOCKBOX 11115
BOSTON, MA 02211

FLODRAULIC GROUP, INC
2125 EAST 5TH STREET #113
TEMPE, AZ 85281

FLODRAULIC GROUP, INC
No. 774583 4583 SOLUTIONS CENTER
CHICAGO, IL 60677

FLORES, ANTHONY
643 E. HOLMES AVE
MESA, AZ 85204

FLORES, ARMANDO
PO BOX 42253
MESA, AZ 85274

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GTAT Matrix
FLORES, MICHAEL
6220 E GREENWAY ST
MESA, AZ 85205

FLOTTWEG SEPARATION TECHNOLOGIES, I
10700 TOEBBEN DRIVE
INDEPENDENCE, KY 41051

FLOTTWEG SEPARATION TECHNOLOGIES, INC.
10700 TOEBBEN DRIVE
INDEPENDENCE, KY 41051

FLOW ELEMENTS, INC.
ONE PARK DRIVE, UNIT 14
WESTFORD, MA 01886

FLOW MARK HIGH TECH COMPANIES
6837 COMMERCIAL AVENUE
BILLINGS, MT 59101

FLOW SAFE SUPPLY, INC.
S-3865 TAYLOR ROAD
ORCHARD PARK, NY 14127

FLOWERS, SHAWN
1060 w. GLENMERE DR
CHANDLER, AZ 85224

FLR PARTNERSHIP LLP DBA REAL ESTATE
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MISSOULA, MT 59808

FLUENT INC.

CENTERRA RESOURCE PARK
10 CAVENDISH COURT
LEBANON, NH 03766

FLUID COMPONENTS INTL (FCI)
FCI C/O REPTEK

21 MANOMET ROAD

SHARON, MA 02067

FLUID EQUIPMENT SOLUTIONS OF NEW EN
PO BOX 87
AMESBURY, MA 01913

FLUID EQUIPMENT SOLUTIONS OF NEW ENGLAND
PO BOX 87
AMESBURY, MA 01913

FLUID GAUGE COMPANY
P.O. BOX 881833
SAN FRANCISCO, CA 94188-1833

FLUID TECHNOLOGY, INC.
250 BELMONT STREET
BROCKTON, MA 02301

FLUKE ELECTRONICS
1201 SHAFFER RD, BLDG. 2
SANTA CRUZ, CA 95060-5731

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GTAT Matrix
FLUKE ELECTRONICS
7272 COLLECTION CENTER DR.
CHICAGO, IL 60693

FLUTED PARTITION, INC.
850 UNION AVE.
BRIDGEPORT, CT 06607

FLUXTROL MANUFACTURING, INC.
1388 ATLANTIC BOULEVARD
AUBURN HILLS, MI 48326

FLYNN CONSTRUCTION CORP
145 TEMPLE STREET
NASHUA, NH 03060

FMC TECHNOLOGIES, INC.
2730 HIGHWAY 145 Ss.
SALTILLO, MS 38866

FOCUS ON FITNESS INC
596 WEST HOLLIS STREET
NASHUA, NH 03062

FOG CREEK SOFTWARE, INC.
55 BROADWAY, 25TH FLOOR
NEw YORK, NY 10006

FOLIOFN INVESTMENTS, INC.
PO BOX 10544
MCLEAN, VA 22102-8544

FOLLOW ME INTL EXHIBITION, INC.
R902, HALL 1, 2020 ZHONGSHAN RD (Ww)
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FONTES, EUGENE
2691 W ANGEL WAY
QUEEN CREEK, AZ 85142

FOOTE, ROBBIE D.
1361 S GREENFIELD RD, #1104
MESA, AZ 85206

FORCE GUIDED RELAYS INTL.
161 CLEAR ROAD
ORISKANY, NY 13424

FORD, JEFFREY J.
243 DANIEL WEBSTER HIGHWAY
MERRIMACK, NH 03054

FORKARDT INC.
2155 TRAVERSEFIELD DRIVE
TRAVERSE CITY, MI 49686

FORMOSA TRANSNATIONAL

LOTUS BUILDING

15TH FL, 136 JEN ATI RD

TAIPEI, 00106 TAIWAN, PROVINCE OF CHINA

FORSAITH, TYSON
12 SANTURE ST

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GTAT Matrix
NASHUA, NH 03064

FORT LIFE INSURANCE COMPANY
1020 WEST 31ST STREET
DOWNERS GROVE, IL 60515-5591

FORT, MARIA
35 HOLBROOK AVE
LOWELL, MA 01852

FORTEX - P.C. DRILLS LIMITED
17 FLEETWOOD ROAD
LEICESTERSHIRE, LE2 1YA UNITED KINGDOM

FOSTER ELECTRIC MOTOR SERVICE, INC
490 E FRYE RD
CHANDLER, AZ 85225

FOTRONIC CORPORATION
99 WASHINGTON STREET
MELROSE, MA 02176

FOUGERE, THERESA
48 TRACEY ST
PEABODY, MA 01960

FOWLER, FREDERICK
607 E. SHEFFIELD AVE
GILBERT, AZ 85296

FRAGOMEN CHONG KONG) LTD.
UNITS 501-505,5/F.,SHUI ON CENTRE,6
WANCHAT , HONG KONG

FRAME DEPOT, THE
227-2 UNION STREET
MILFORD, NH 03055

FRANCHISE TAX BOARD
P.O. BOX 419001
RANCHO CORDOVA, CA 95741-9001

FRANCHISE TAX BOARD
PO BOX 942857
SACRAMENTO, CA 94257

FRANCHISE TAX BOARD
P.O. BOX 942857
SACRAMENTO, CA 94257-0531

FRANCIS LUN, WING CHUEN LANCELOT
3/F UNIT D, DELITE COURT,

4 CORNWALL STREET

; HONG KONG

FRANK DELK
16 DOVE COVE
RICHMOND, VA 23238

FRANK LU
102 RIP VAN DAM CT.
BELLE MEAD, NJ 08502

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FRANK N VERNI III
198 MILL STREET
WESTWOOD, MA 02090

FRANK S. DELK, II - 1099
8653 RIVERWOOD DR.
RICHMOND, VA 23239

FRANK WARNER
462 OAK STREET
MANCHESTER, NH 03104

FRANK, JESSE
1944 E. TYSON PLACE
CHANDLER, AZ 85225

FRANKLIN COVEY, LLC

FRANKLIN COVEY CATALOG SALES

116 2150 WEST PARKWAY BLVD MAIL STO
SALT LAKE CITY, UT 84119

FRANKS, COREY
1247 S 96TH ST, #310
MESA, AZ 85209

FREDERIC W. COOK & CO. INC.
90 PARK AVENUE 35 FLOOR
NEW YORK, NY 10016

FREDERICKS PASTRIES
109 ROUTE 101A
AMHERST, NH 03031

FREDRICK, DANIELA
33 DUTCH VALLEY LANE
SAN ANSELMO, CA 94960

FREDRICK, DANIELA M.
33 DUTCH VALLEY LANE
SAN ANSELMO, CA 94960

FREEDOM SPECIALTY

7 WORLD TRADE CENTER

250 GREENWICH STREET, 37TH FLOOR
NEw YORK, NY 10007

FREEMAN
1600 VICEROY, SUITE 100
DALLAS, TX 75235-2306

FREGERIO, MATTHEW
5903 SKYVIEW DRIVE
MISSOULA, MT 59803

FREIGHTVALUE
PO BOX 10048
FORT SMITH, AR 72917-0048

FRENCH GERLEMAN ELECTRIC CO.
2023 WESTPORT CENTER DRIVE
ST. LOUIS, MO 63146

FRENZELIT SEALING SYSTEMS, INC

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16550 WEST RYERSON ROAD
NEW BERLIN, WI 53151

FRESHFIELDS BRUCKHAUS DERINGER
11TH FLOOR TWO EXCHANGE SQUARE
HONG KONG, 1 HONG KONG

FRESHFIELDS BRUCKHAUS DERINGER
506 569 THE EXCHANGE BLDG, 5TH FL P
DUBAI, 506 569 UNITED ARAB EMIRATES

FRESHFIELDS BRUCKHAUS DERINGER
PRANNERSTRASSE 10
MUNICH, 80333 GERMANY

FREUDENBERG IT LP
430 DAVIS DRIVE, STE 180
MORRISVILLE, NC 27560

FRICKER, DANIEL
1961 N HARTFORD ST, #1115
CHANDLER, AZ 85225

FRIDAY, JOSEPH
330 S. BECK AVE, #127
TEMPE, AZ 85281

FRIEM S.P.A.
VIA EDISON, 1, SEGRATE
MILANO, 20090 ITALY

FRIEND LUMBER COMPANY
261 LOWELL ROAD
HUDSON, NH 03051

FRITSCH GMBH
INDUSTRIESTRASSE 8
IDAR-OBERSTEIN, 55743 GERMANY

FRITZ, MICHAEL
544 N. 94TH WAY
MESA, AZ 85207

FROHN, VALERIE
406 AUTUMN FARMS COURT
WENTZVILLE, MO 63385

FRONT STREET COFFEEHOUSE
20 FRONT STREET
SALEM, MA 01970

FROST ELECTRIC SUPPLY CO.
2429 SCHUETZ ROAD
MARYLAND HEIGHTS, MO 63043

FRY CORPORATION
420 CURRANT RD., FALL RIVER INDUSTR
FALL RIVER, MA 02720

FSUE RISI
BLDG. 8 INDUST ZONE TURAEVO
MOSCOW, 140080 RUSSIAN FEDERATION

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GTAT Matrix
FTI CONSULTING CHONG KONG) LIMITED
99 QUEENS ROAD CENTRAL
CENTRAL, HONG KONG

FUJI XEROX CHONG KONG) LTD.
8/F, CITY PLAZA 3, 14 TAIKOO WAN RO
TAIKOO SHING, HONG KONG

FUJIMI CORPORATION
11200 Sw LEVETON DRIVE
TUALATIN, OR 97236

FULMER, SHERYL
6408 E JULEP ST
MESA, AZ 85205

FURNACE PARTS LLC
4755 WEST 150TH STREET, UNIT C
CLEVELAND, OH 44135

FURNACE PARTS, LLC
FIFTH THIRD BANK
230245 MOMENTUM PLACE
CHICAGO, IL 60689

FURNISHED QUARTERS LLC
201 KINGS HIGHWAY E. SUITE 303
FAIRFIELD, CT 06825

FURNITURE CONSULTANTS BOSTON, INC.
263 SUMMER ST.
BOSTON, MA 02210

FURTADO, JAMES
184 WARNER HILL RD
DERRY, NH 03038

FUSCO, ERIC
1486 ALMADEN VALLEY DRIVE
SAN JOSE, CA 95120

FUSEN CHEN
13081 LA VISTA COURT
SARATOGA, CA 95070

FUSES UNLIMITED
9248 ETON AVE.
CHATSWORTH, CA 91311

FUTURE BEARINGS, INC.
3 PERSHING STREET
FITCHBURG, MA 01420

FUTURE TECHNOLOGIES INC.
2490 MIDLAND ROAD
BAY CITY, MI 48706

FUTURESTEP
14295 MIDWAY ROAD SUITE 450
ADDISON, TX 75001

FUTURESTEP
PO BOX 1450

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MINNEAPOLIS, MN 55485-5065

FX ALLIANCE LLC
909 THIRD AVENUE, LOTH FLOOR
NEW YORK, NY 10022

G & I PANGAKIS
63-65 AKOMINATOU STREET
ATHENS, 10438 GREECE

G & N GRINDING
WETTERKRENZ 35, GENANIGLEITIS
ERLANGEN, 91058 GERMANY

G. W. LISK COMPANY, INC.
2 SOUTH STREET
CLIFTON SPRINGS, NY 14432

G.A. WIRTH CO., INC.

GREG WIRTH

3494 CAMINO TASSAJARA # 244
DANVILLE, CA 94506

G.M. ASSOCIATES, INC.
9824 KITTY LANE
OAKLAND, CA 94603

G.NEIL
720 INTERNATIONAL PARKWAY
SUNRISE, FL 33325

G/P ADMINISTRATION, LLC
566 UNION STREET
MANCHESTER, NH 03104

G4S SECURE SOLUTIONS (USA), INC.
G4S SECURE SOLUTIONS (USA), INC.

PHOENIX, AZ 85034

G4S TECHNOLOGY LLC
1200 LANDMARK CENTER SUITE 1300
OMAHA, NE 68102

G4S TECHNOLOGY LLC
3073 TEAGARDEN STREET
SAN LEANDRO, CA 94577

GABLE, JEROME
3740 S. SIGNAL BUTTE RD
MESA, AZ 85212

GABRIEL A. HERNANDEZ
712 BOSTON ST
LYNN, MA 01905

GADBERRY, KEVIN
10305 E. EMELITA AVE
MESA, AZ 85208

GAE INC.
PO BOX 580816
MODESTO, CA 95358

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GTAT Matrix

GAERTNER SCIENTIFIC CORP
3650 JARVIS AVENUE
SKOKIE (CHICAGO), IL 60076

GAGNE, INC.

PO BOX 487

41 COMMERCIAL DRIVE
JOHNSON CITY, NY 13790

GAINES, CYNTHIA
19351 E APRICOT LANE
QUEEN CREEK, AZ 85142

GALAXIE LP
16-18 BALLARD RD.
LAWRENCE, MA 01843

GALCO INDUSTRIAL ELECTRONICS
26010 PINEHURST DRIVE
MADISON HEIGHTS, MI 48071

GALLAGHER FLUID SEALS, INC.
PO BOX 61367

500 HERTZOG BLVD.

KING OF PRUSSIA, PA 19406

GALLAGHER, CALLAHAN & GARTRELL
214 NORTH MAIN STREET
CONCORD, NH 03302-1415

GALLIVAN, WHITE & BOYD
55 BEATTIE PLACE, PO BOX 10589
GREENVILLE, SC 29603

GALUSHA, HIGGINS & GALUSHA, PC
PO BOX 8867
MISSOULA, MT 59807

GALVEZ, TRACIE
1050 S STAPLEY
MESA, AZ 85204

GAMBIT CORP.
586 MARTIN AVE. STE. 7
ROHNERT PARK, CA 94928

GAMBLE, PAUL
2141 N. EVERGREEN ST, #2023
CHANDLER, AZ 85224

GANEVA, NEVENA
1115 FOXWORTH CT
BALLWIN, MO 63011

GANSHENG OU
435 E 7OTH ST, APT. 33-B
NEW YORK CITY, NY 10021

GAOZHAO SOLAR ENERGY SCIENCE & TECH
HUANTAI INDUSTRIAL PARK
YOUFANG TOWN, YANGZHONG, 212200 CHINA

GARCIA, ANNETTE

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931 S ARCO CIRCLE
MESA, AZ 85204

GARCIA, DAVID
1312 E 6TH AVE
MESA, AZ 85204

GARCIA, ERASMO
545 S. GRAND
MESA, AZ 85210

GARCIA, JACOB
41166 Ww. BRAVO DR
MARICOP, AZ 85138

GARCIA, OSCAR
303E. SOUTH MOUNTAIN RD, #190
PHOENIX, AZ 85042

GARCIA, ROSA
5842 E. NANCE ST
MESA, AZ 85215

GARCIA, RUBEN
548 S FOREST
MESA, AZ 85204

GARDEN CITY FLORAL
2510 SPURGIN ROAD
MISSOULA, MT 59804

GARDNER DENVER INC.
C/O HEGEDORN & GANNON
550 AXMINSTER DRIVE
FENTON, MO 63026

GARFIELD PEST CONTROL
PO BOX 55
MERRIMACK, NH 03054

GARLINGTON, LOHN & ROBINSON, PLLP
PO BOX 7909

199 WEST PINE, PO BOX 7909
MISSOULA, MT 59807-7909

GARLOCK PIPELINE TECHNOLOGIES, INC.

D/B/A PIKOTEK
4990 IRIS STREET
WHEAT RIDGE, CO 80033

GARLOCK PIPELINE TECHNOLOGIES, INC.

D/B/A PIKOTEK
PO BOX 849116
DALLAS, TX 75284-9116

GAROFALO, DANIEL
3615 EAST MORNING STAR LANE
GILBERT, AZ 85298

GARRANT, STEVEN
1 GREENWOOD WAY
MONT VERNON, NH 03057

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GTAT Matrix
GARRETT, ETHAN
2431 E COUNTY DOWN DR
CHANDLER, AZ 85249

GARRICK, DEBORAH
2111 42ND STREET
MISSOULA, MT 59803

GARY PLASTIC PACKAGING CORP.
1340 VIELE AVE.
BRONX, NY 10474

GARZA, RUBYANN
1432 W. EMERALD AVE
MESA, AZ 85202

GASHENKO, VALERII
101 SOVIETSKAYA STREET
SHIROKOE VILLAGE, 70413 UNITED ARAB EMIRATES

GATE CITY ELECTRIC, LLC
PO BOX 3554

5 PINE STREET EXT #5L
NASHUA, NH 03061

GATEWAY ENTERPRISES, INC.
PO BOX 5086
MISSOULA, MT 59806-5086

GATEWAY SHUTTERS & BLINDS, INC.
408 LANTANA LANE
ST. PETERS, MO 63376

GATTI & ASSOCIATES
266 MAIN STREET S21
MEDFIELD, MA 02052

GAUCHER ASSOCIATES, INC.
50 OLIVER ST., SUITE 212
NORTH EASTON, MA 02356

GAUDION, ROBERT
44 WINDING POND ROAD
LONDONDERRY, NH 03053

GAYNOR, RICHARD
1/2 SPLIT ROCK RD
EXETER, NH 03833

GAYNOR, RICHARD
243 DANIEL WEBSTER HIGHWAY
MERRIMACK, NH 03054

GB ENGINEERING
5770 OBATA WAY A
GILROY, CA 95020

GCA SERVICES GROUP MOUNTAIN STATES
3060 SOLUTIONS CENTER
CHICAGO, AZ 60677

GCA SERVICES GROUP MOUNTAIN STATES
5016 S ASH AVE
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TEMPE, AZ 85282

GE CAPITAL INFO. TECHNOLOGY SOLUTIO
PO BOX 9115
MACON, GA 31208-9115

GE INFRASTRUCTURE SENSING INC.
BANK OF AMERICA N.A. LOCKBOX
#848502

DALLAS, TX 75284

GE MOBILE WATER, INC.
5900 SILVER CREEK VALLEY ROAD
SAN JOSE, CA 95138

GEA HEAT EXCHANGERS, INC.
100 GEA DRIVE
YORK, PA 17406

GEETHING, CHRISTOPHER
2024 S. BALDWIN, #39
MESA, AZ 85209

GEIER & BLUHM
594 RIVER STREET
TROY, NY 12180

GEISINGER, DAVID
41400 w. LUCERA LN, #2052
MARICOPA, AZ 85138

GEM AIR SERVICES, INC.
33 TAFT STREET
PAWTUCKET, RI 02860

GEMINI ELECTRIC, INC.
8 PRISCILLA LANE
AUBURN, NH 03032

GEMS & CRYSTALS UNLIMITED
3144 HAVENRIDGE CT NE
ATLANTA, GA 30319

’ GEMS SENSORS, INC.
ONE COWLES ROAD
PLAINVILLE, CT 06062

GENERAL GASKET CORPORATION
4041 BINGHAM AVE.
ST. LOUIS, MO 63116-3506

GENERAL TOOL & SUPPLY
830 E 22ND ST
TUCSON, AZ 85713

GENERAL TOOL & SUPPLY
FILE 57463
LOS ANGELES, CA 90074-7463

GENERALCARBIDE CORPORATION
1151 GARDEN STREET
GREENSBURG, PA 15601

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GTAT Matrix
GENEREUX, PATRICIA
6427 E SIERRA MORENA
MESA, AZ 85215

GENERON IGS, INC.
16250 TOMBALL PARKWAY
HOUSTON, TX 77086

GEOCORP, INC.
9010 RIVER ROAD
HURON, OH 44839

GEOLOGISTICS AMERICAS
310 MCCLELLAN HIGHWAY
E. BOSTON, MA 02128

GEORGE GORDON ASSOCIATES INC
12 CONTINENTAL BLVD
MERRIMACK, NH 03054

GEORGE WILEY CONSULTING GROUP
29 COMMERCE DRIVE
BEDFORD, NH 03110

GEORGIA TECH RESEARCH CORP
GEORGIA INSTITUTE OF TECHNOLOGY
ATLANTA, GA 30332-0420

GEORGOULIS CONSTRUCTION
96 ARLINGTON AVE
DRACUT, MA 01826

GERLER, KAREN
918 CARPATHIAN DR
LAKE ST. LOUIS, MO 63367

GERRIETS, RODNEY
1901 E APACHE BLVD, APT 262
TEMPE, AZ 85281

GEXPRO
P.O. BOX 743448
LOS ANGELES, CA 90074-3448

GEXPRO
P.O. BOX 840040
DALLAS, TX 75284

GEXPRO
SUITE 400 32940 ALVARADO-NILES ROAD
UNION CITY, CA 94587

GFI ENERGY VENTURES, LLC
11611 SAN VICENTE BOULEVARD, SUITE
LOS ANGELES, CA 90049

GHELFI, DANIEL
590 ALBION DR
SAN JOSE, CA 95136

GIBRALTAR MANUFACTURING, INC
11 INDUSTRIAL WAY
SALEM, NH 03079
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GTAT Matrix

GIBSON ENGINEERING, CO. INC
PO BOX 561

90 BROADWAY, PO BOX 561
NORWOOD, MA 02062

GIBSON ENGINEERING, CO. INC
PO BOX 847418
BOSTON, MA 02284-7418

GIELISSEN INTERIORS & EXHIBITS
GALWIN 2, 1046 Aw
AMSTERDAM, 1046 AW NETHERLANDS

GIFFORD PRODUCTIONS
66 AUSTIN STREET
NEWTON, MA 02460-1844

GIFTS UNLIMITED
21831 40TH AVENUE SOUTH
KENT, WA 98032

GIGASOFT, INC.
206 BEAR HOLLOW
KELLER, TX 76248

GIGAVAC LLC
6382 ROSE LANE
CARPINTERIA, CA 93013

GILCHRIST METAL FAB
18 PARK AVE
HUDSON, NH 03051

GILCHRIST METAL FABRICATING
18 PARK AVENUE
HUDSON, NH 03051

GILLES CHERIAUX
7 ALLEE CHARLES CHAPLIN
FRESNES, 94260 FRANCE

GILLESPIE, JOSEPH
25 E CONCORD ST, APT 4
BOSTON, MA 02118

GILMORE, LEONARD
3272 W. ROSS DR.
CHANDLER, AZ 85226

GILSON COMPANY, INC.
PO BOX 337
POWELL, OH 43065-0337

GILWAY TECHNICAL LAMP
55 COMERCE WAY
WOBURN, MA 01801

GIMENEZ, RONALD
19293 E. ESCALANTE RD
QUEEN CREEK, AZ 85142

GIROUX, JACOB
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3830 W. ELGIN ST
CHANDLER, AZ 85226

GIROUX, TERRANCE
5432 W. JUPITER WAY
CHANDLER, AZ 85226

GIZMAC ACCESSORIES LLC.
2807 OREGON COURT UNIT D-5
TORRANCE, CA 90503

GLAB REACTOR AND FLUIDIZATION TECH.

6282 LOGAN LANE
VANCOUVER, BC V6T 2K9 CANADA

GLACIER JET TECHNOLOGIES
468 ASH ROAD, UNIT H
KALISPELL, MT 59901

GLAS WERK, INC.
29710 AVENIDA DE LA BANDERAS
RANCHO SANTA MARGARITA, CA 92688

GLAVSOFT LLC.
O.KOSHEVOGO 77-40
TOMSK, 634021 RUSSIAN FEDERATION

GLAZE, BILLY
1393 E. STIRRUP LANE
SAN TAN VALLEY, AZ 85143

GLEMBA, BYRON
4151 E. NOLAN PLACE
CHANDLER, AZ 85249

GLOBAL COMPUTER SUPPLIES
11 HARBOR PARK DRIVE, DEPT KS
PT. WASHINGTON, NY 11050

GLOBAL CROSSING
101 N WACKER DRIVE SUITE 1650
CHICAGO, IL 60606

GLOBAL CROSSING TELECOMMUNICATIONS
D/B/A LEVEL 3

1025 ELDORADO BLVD.

BROOMFIELD, CO 80021

GLOBAL EQUIPMENT, CO.
11 HARBOR PARK DRIVE
PORT WASHINGTON, NY 11050

GLOBAL EQUIPMENT, CO.
PO BOX 905713
CHARLOTTE, NC 28290

GLOBAL FINISHING SOLUTIONS UK
ORGREAVE DRIVE, SHEFFIELD S.
YORKSHIRE, $13 9NR UNITED KINGDOM

GLOBAL INDUSTRIAL
11 HARBOR PARK DRIVE
PORT WASHINGTON, NY 11050

GTAT Matrix

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GLOBAL INDUSTRIES, INC.
17 Ww. STOW RD.
MARLTON, NJ 08053

GLOBAL KNOWLEDGE

ATTN MAKS EWENDT

9000 REGENCY PARKWAY, SUITE 500
CARY, NC 27511

GLOBAL MED INDUSTRIES, LLC
DBA HEART SMART TECHNOLOGY
PO BOX 1301

NEW MILFORD, CT 06776

GLOBAL POWER SERVICES, INC.
910 GOLF COURSE ROAD
DEMOREST, GA 30535

GLOBAL RISK CONSULTANTS
100 WALNUT AVENUE
CLARK, NJ 07066-1247

GLOBAL RISK CONSULTANTS
10 CENTENNIAL DRIVE
PEABODY, MA 01960

GLOBAL WEIGHING SOLUTIONS, LLC
130 CRESTVIEW ROAD
MANCHESTER, NH 03104

GLOBE EXPRESS SERVICES ~-BOSTON
58 CUMMINGS PARK
WOBURN, MA 01801

GLOBE EXPRESS SVCS OVERSEAS GROUP
8025 ARROWRIDGE BLVD
CHARLOTTE, NC 28273

GLOBE METALLURGICAL INC
PO BOX 157
BEVERLY, OH 45715

GLOBE MOTORS, INC.
2275 STANLEY AVENUE
DAYTON, OH 45404

GLOBENEWSWIRE, INC
ONE LIBERTY PLAZA
NEw YORK, NY 10006

GLOBENEWSWIRE, INC

PO BOX 8500

LOCKBOX 40200

PHILADELPHIA, PA 19178-0200

GLORIA, AUGUSTIN
21132 E. SADDLE WAY
QUEEN CREEK, AZ 85142

GLORY SILICON ENERGY
ZHENJIANG CO LDT
CHANGWANG YANG ZHONG

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JIANGSU, 212216 CHINA

GLUMAC
101 METRO DRIVE SUITE 100
SAN JOSE, CA 95110

GLUMAC
PO BOX 748440
LOS ANGELES, CA 90074

GM NAMEPLATE, INC
300 ACME DRIVE
MONROE, NC 28112

G-MAN PRECISION MACHINING
200 OCEANIC WAY UNIT D
SANTA ROSA, CA 95407

GMP PIPING INC
45 FRANCIS STREET, PO BOX 546
LEOMINSTER, MA 01453

GNB CORPORATION
3200 DWIGHT RD.
STE. 100

ELK GROVE, CA 95758

GNB CORPORATION
3200 DWIGHT RD. SUITE 100
ELK GROVE, CA 95758-6461

GNC MATERIALS, INC.
No. 506, 5F, MIWON BUILDING
SEOUL, 150-733 KOREA, REPUBLIC OF

GOADE, SCOTT
420 E LINDA LANE, UNIT A
GILBERT, AZ 85234

GODIN, GERALD
7661 E. CAMINO ST
MESA, AZ 85207

GODSHALK, ERNEST
50 CHESTNUT ST., APT C
BOSTOIN, MA 02108

GODSHALK, ERNEST L.
243 DANIEL WEBSTER HIGHWAY
MERRIMACK, NH 03054

GOLD STONE INTERNATIONAL
ENTERPRISES LTD

UNIT F, 20/F, NEW YORK COURT, SHEUN
SHEUNG SHUI, HONG KONG

GOMEZ, RICHARD
6210 E FOX HOLLOW LANE
SAN TAN VALLEY, AZ 85140

GONZALEZ, MARIA
1535 W. CHILTON ST
CHANDLER, AZ 85224

GTAT Matrix

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GTAT Matrix

GOODCASE, THOMAS
11804 S SUNRISE VIEW DR
DRAPER, UT 84020

GOODROW, KYLE
65 ST. BENEDICT LANE
FLORISSANT, MO 63033

GOODWIN PROCTER
COUNSELORS AT LAW
EXCHANGE PLACE
BOSTON, MA 02109

GORDON CONSTRUCTION
2291 WEST BROADWAY
MISSOULA, MT 59808

GORDON, EDWARD
9655 W. QUAIL TRACK DR
PEORIA, AZ 85383

GORE LABORATORIES, INC.
10 NORTHERN BLVD, SUITE #5
AMHERST, NH 03031

GOTTLIEB ZURBUCHEN DECOLLETAGES
RUE PRINCIPALE 37, PAR MR. BOUCHAT
SORVILIER, 02736 SWITZERLAND

GOURMET GARDEN RESTAURANT
430 PARADISE ROAD
SWAMPSCOTT, MA 01907

GOVERNMENT OF THE HKSAR
COMMISSIONER OF INLAND REVENUE

PO BOX 28282, GLOUCESTER RD. POST O
HONG KONG, HONG KONG

GOWLING LAFLEUR HENDERSON
160 ELGIN STREET, STE 2600
OTTAWA, ON K1P 1C3 CANADA

GPD PC
524 1ST AVENUE SOUTH
GREAT FALLS, MT 59401

GPD, PC
524 FIRST AVE SOUTH
GREAT FALLS, MT 59401

GRABIT, INC
990 RICHARD AVENUE, SUITE 110
SANTA CLARA, CA 95050

GRAF, ROBERT
17520 W COYOTE TRAIL DR.
GOODYEAR, AZ 85338

GRAFIX
681 PORTAL STREET
COTATI, CA 94931

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GTAT Matrix
GRAFTECH
INTERNATIONAL HOLDINGS, INC.
4285 PAYSPHERE CIRCLE
CHICAGO, IL 60674

GRAFTECH FRANCE SNC
USINE DE NOTRE DAME DE BRIANCON
LA LECHERE, 73264 FRANCE

GRAFTECH INTERNATIONAL HOLDINGS INC
12900 SNOW ROAD
PARMA, OH 44130

GRAFTECH INTERNATIONAL HOLDINGS INC.

ATTN ERICK R. ASMUSSEN, CHIEF FINANCIAL OFFICER
12900 SNOW ROAD

PARMA, OH 44130

GRAHAM MACHINING
1529 ADDISON STREET
BERKELEY, CA 94783

GRAINGER
2535 METRO BLVD.
MARYLAND HEIGHTS, MO 63043

GRAINGER
DEPT 805731973
PALATINE, IL 60038-0001

GRAINGER INDUSTRIAL SUPPLY
370 EAST INDUSTRIAL DRIVE
MANCHESTER, NH 03109

GRAINGER INDUSTRIAL SUPPLY
DEPT. 800897878
PALATINE, IL 60038-0001

GRAND SMART INTERNATIONA
11/F, AXA CENTER, 151 GLOUCESTER RD
; HONG KONG

GRAND SMART INTERNATIONAL GLOBAL LT
11/F, AXA CENTRE

151 GLOUCESTER ROAD

WANCHAI, 11111 HONG KONG

GRANILLO, ROCKY
955 S. 33RD PLACE
MESA, AZ 85204

GRANITE INDUSTRIAL TRUCKS, INC
8 GARDEN STREET
MILFORD, NH 03055

GRANITE STATE DISTRICT EXPORT COUNC
66 BENNING STREET, SUITE 7
WEST LABANON, NH 03784

GRANITE STATE MANUFACTURING
124 JOLIETTE STREET
MANCHESTER, NH 03102

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GTAT Matrix
GRANITE STATE PLASMA CUTTING
ROUTE 175
HOLDERNESS, NH Q3245

GRANITE STATE PLUMBING & HEATING, L
10 N. RIVERDALE ROAD
WEARE, NH 03281

GRANITE STATE STAMPS, INC.
PO BOX 5252
MANCHESTER, NH 03108-5252

GRANITE WHOLESALERS, INC.
547 ARMORY ROAD
WHITEFISH, MT 59937

GRANT THORNTON LP
1901 S. MEYERS RD., SUITE 455
OAKBROOK TERRACE, IL 60181

GRANTS PRECISION SAW & TOOL
1367 FOXWOOD DRIVE
MONROEVILLE, PA 15146

GRAPHIC RESOURCE SYSTEMS
339 CHANGEBRIDGE ROAD, SUITE 1-G
PINE BROOK, NJ 07058

GRAPHITE ENGINEERING AND SALES
PO BOX 637

712 INDUSTRIAL PARK DRIVE
GREENVILLE, MI 48838

GRAPHITE MACHINING
TORRANCE LLC

PO BOX 72149

CLEVELAND, OH 44192-0002

GRAPHITE MACHINING SERVICES & INNOV
8175 S. HARDY DRIVE
TEMPE, AZ 85284

GRAPHITE MACHINING, INC.
240 MAIN STREET
TOPTON, PA 19562

GRAPHITESTORE.COM, INC.
160 A LEXINGTON DRIVE
BUFFALO GROVE, IL 60089

GRAW, STEVEN
1859 w ENFIELD WAY
CHANDLER, AZ 85286

GRAY LINE TOURS OF HONG KONG LTD.
5/F, CHEONG HING BLDG., 72 NATHAN R
TSIMSHATSUI , HONG KONG

GRAY, DAVID
8 CLEMMONS STREET
SOUTHBOROUGH, MA 01772

GRAYBAR ELECTRIC, CO.
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GTAT Matrix
80 PEPSI ROAD
MANCHESTER, NH 03109

GREAT DEALING INTERNATIONAL CO.,LTD
ROOM A,4F,NO.366 BO-AI 1ST ROAD, SAN
KAOHSIUNG, 00807 TAIWAN, PROVINCE OF CHINA

GREAT NORTHERN INSURANCE COMPANY
15 MOUNTAIN VIEW ROAD
WARREN, NJ 07059

GREATER BOSTON MFG PARTNERSHIP
100 MORRISSEY BOULEVARD
BOSTON, MA 02125

GREATER MISSOULA FAMILY

YOUNG MENS CHRISTIAN ASSOC. (YMCA)
3000 RUSSELL STREET

MISSOULA, MT 59801

GREATER NASHUA CHAMBER
142 MAIN STREET, ROOM 501
NASHUA, NH 03060-2798

GREEAR, COURY
769 N. YOUNG
MESA, AZ 85203

GREEN AND GREEN, LLC
SUITE 218 890 WASHINGTON STREET
DEDHAM, MA 02026

GREEN ENERGY TECHNOLOGY INC,

KUANYIN INDUSTRIAL PARK

19-2,TATUNG 1ST RD

TAOYUAN, TAIWAN, PROVINCE OF CHINA

GREEN LEAF CONSTRUCTION LLC
98 ADAMS STREET
LEOMINSTER, MA 01453

GREEN LEAF CONSTRUCTION, LLC
98 ADAMS STREET, SUITE 105
LEOMINSTER, MA 01453

GREEN PLANET 21, INC.
1901 W. FILLMORE RD., SUITE C
PHOENIX, AZ 85009

GREEN PLANET 21, INC.
336 ADELINE
OAKLAND, CA 94607

GREEN SKY CLEANING SUPPLY
108 MATRIX COMMONS DRIVE
FENTON, MO 63026

GREEN, RONALD
21 BEAUMONT RD
METHUEN, MA 01844

GREENE RUBBER COMPANY
20 CROSS STREET
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WOBURN, MA 01801

GREENJOBS, LLC
PO BOX 916
FAIRFIELD, CA 94533

GREENLEE DIAMOND TOOL COMPANY
2375 TOUHY AVENUE
ELK GROVE VILLAGE, IL 60007

GREENOUGH COMMUNICATIONS GROUP, INC
9 HARCOURT ST.
BOSTON, MA 02116

GREENPAGES
33 BADGERS ISLAND WEST
KITTERY, ME 03904

GREENPAGES
PO BOX 843435
BOSTON, MA 02284-3435

GREENTECH CAPITAL ADVISORS SECURIT
640 FIFTH AVENUE 16TH FLOOR
NEw YORK, NY 10019

GREENTECH MEDIA, INC.
214 CAMBRIDGE ST., #4
BOSTON, MA 02114

GREGEROY KNIGHT
209 MYSTIC VALLEY PARKWAY
WINCHESTER, MA 01890

GREGORY PETERSON
PO BOX 6042
BOZEMAN, MT 59771

GREMILLION, AARON
10658 E. KNOWLES AVE
MESA, AZ 85209

GREYLINE INSTRUMENTS
105 WATER STREET
MASSENA, NY 13662

GREYSTONE SOLUTIONS, INC
186 LINCOLN STREET
BOSTON, MA 02111

GRIEGO, ERIC
2609 E 10TH ST
TEMPE, AZ 85281

GRIFFITHS, VERNON
18 REDWOOD
BUTTE, MT 59701

GRILLO, ROBERT
101 HORACE GREELEY ROAD
AMHERST, NH 03031

GRINDCO GROUP LLC

GTAT Matrix

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GTAT Matrix
84 TURNPIKE ROAD
CHELMSFORD, MA 01824

GROOM ENERGY SOLUTIONS, LLC
96 SWAMPSCOTT ROAD
SALEM, MA 01970

GROSCHOPP
420 15 TH STREET
SIOUX CENTER, IA 51250

GROUP MANUFACTURING SERVICES
1928 HARTOG DRIVE
SAN JOSE, CA 95131

GROUP MANUFACTURING SERVICES INC
1928 HARTOG DRIVE
SAN JOSE, CA 95131

GROUVAGL, SUSANNE
FINKENWEG 8
BAYREUTH, 95445 GERMANY

GRUNDMANN, FRANK
EPERHARDT STR. 62
ULM, 85073 GERMANY

GRUNDMANN, FRANK
No. 62 EBERHARDT STREET
ULM, 89073 GERMANY

GS ELECTRONIC VERTRIEBS
UND SERVICE GMBH
MAULKUPPENSTR. 2A
FULDA, 36043 GERMANY

GS&S INC
13588 NORTHWEST INDUSTRIAL DR.
BRIDGETON, MO 63044

GSMA LTD
1000 ABERNATHY ROAD, SUITE 450,
ATLANTA, GA 30328

GT ADVANCED CZ LLC
1600 PARK 370 PLACE SUITE 2
HAZELWOOD, MO 63042

GT ADVANCED CZ LLC
243 DANIEL WEBSTER HIGHWAY
MERRIMACK, NH 03054

GT ADVANCED SAPPHIRE SYSTEMS HOLDING LLC
243 DANIEL WEBSTER HIGHWAY
MERRIMACK, NH 03054

GT ADVANCED TECHNOLOGIES

CHINA PLANT

NO.955 GAOXIANG RD, PUDONG
SHANGHAI, PUDONG, 200137 CHINA

GT ADVANCED TECHNOLOGIES
CONSOLIDATED
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GTAT Matrix
13/F, TOWER 2
TSIM SHA TSUI, HONG KONG

GT ADVANCED TECHNOLOGIES
MERRIMACK SPARES

19 STAR DRIVE

MERRIMACK, NH 03054

GT ADVANCED TECHNOLOGIES
MISSOULA

101 EAST FRONT, SUITE 401
MISSOULA, MT 59802

GT ADVANCED TECHNOLOGIES

TAIWAN CO., LTD

6F-10, NO. 38, TAIYUAN STREET

65 JHUBEI CITY, HSINCHU COUNTY, 00302 TAIWAN, PROVINCE OF CHINA

GT ADVANCED TECHNOLOGIES
3740 S. SIGNAL BUTTE RD.
MESA, AZ 85212

GT ADVANCED TECHNOLOGIES GMBH
243 DANIEL WEBSTER HIGHWAY
MERRIMACK, NH 03054

GT ADVANCED TECHNOLOGIES HONG KONG
MISSOULA

101 EAST FRONT, SUITE 401
MISSOULA, MT 59802

GT ADVANCED TECHNOLOGIES INC.
243 DANIEL WEBSTER HIGHWAY
MERRIMACK, NH 03054

GT ADVANCED TECHNOLOGIES LIMITED
13/F, TOWER 2, THE GATEWAY, HARBOUR
HONG KONG, HONG KONG

GT ADVANCED TECHNOLOGIES LIMITED
243 DANIEL WEBSTER HIGHWAY
MERRIMACK, NH 03054

GT ADVANCED TECHNOLOGIES LIMITED
UNIT 3210, TOWER 6, THE GATEWAY
HARBOUR CITY, TSIMSHATSUI, HONG KONG

GT ADVANCED TECHNOLOGIES LTD.
REF HONG KONG MERRIMACK PLANT
13/F, TOWER 2,

TSIM SHA TSUI, HONG KONG

GT ADVANCED TECHNOLOGIES LUXEMBORG SARL
243 DANIEL WEBSTER HIGHWAY
MERRIMACK, NH 03054

GT ADVANCED TECHNOLOGIES TAIWAN LTD.
243 DANIEL WEBSTER HIGHWAY
MERRIMACK, NH 03054

GT CRYSTAL SYSTEMS
27 CONGRESS STREET
SALEM, MA 01970
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GTAT Matrix

GT CRYSTAL SYSTEMS LLC
35 CONGRESS ST.
SALEM, MA 01970

GT EQUIPMENT HOLDINGS, INC.
243 DANIEL WEBSTER HIGHWAY
MERRIMACK, NH 03054

GT GLOBAL, LLC
31 CONGRESS ST, SUITE 22
NASHUA, NH 03062

GT SAPPHIRE SYSTEMS GROUP LLC
243 DANIEL WEBSTER HIGHWAY
MERRIMACK, NH 03054

GT SAPPHIRE SYSTEMS GROUP, LLC
1911 AIRPORT BLVD
SANTA ROSA, CA 95403

GT SAPPHIRE TECHNOLOGY CGUIYANG) CO. LTD.
243 DANIEL WEBSTER HIGHWAY
MERRIMACK, NH 03054

GT SOLAR CCHINA) CO., LTD
BUILDING 1, 955 GAOXIANG ROAD
SHANGHAI, 200137 CHINA

GT SOLAR (SHANGHAI) CO. LIMITED
243 DANIEL WEBSTER HIGHWAY
MERRIMACK, NH 03054

GT SOLAR (SHANGHAI) CO., LTD.
NO.158 HUA SHEN ROAD
SHANGHAI, 200131 CHINA

GT SOLAR CHINA CO., LTD
243 DANIEL WEBSTER HIGHWAY
MERRIMACK, NH 03054

GT SOLAR MAURITIUS, LTD.
243 DANIEL WEBSTER HIGHWAY
MERRIMACK, NH 03054

GT SOLAR SHANGHAI CO LTD
STE 4001 TwR 2, 1366 NANJING RD
JING AN, 200040 CHINA

GTAT CORPORATION
243 DANIEL WEBSTER HIGHWAY
MERRIMACK, NH 03054

GTAT IP HOLDING LLC
243 DANIEL WEBSTER HIGHWAY
MERRIMACK, NH 03054

GTC TECHNOLOGY KOREA CO
No. 903 DAEHA BD 9TH FLOOR, 14-11
YEOUIDO-DONG, 123-567 KOREA, REPUBLIC OF

GTC TECHNOLOGY US LLC
1001 S. DAIRY ASHFORD ROAD, SUITE 5
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GTAT Matrix
HOUSTON, TX 77077

GTG INC.
3 BIRCH RD
MIDDLETON, MA 01949

GTG INC.
PO BOX 366
MIDDLETON, MA 01949

GTI SPINDLE TECHNOLOGY, INC.
33 ZACHARY ROAD
MANCHESTER, NH 03109

GTI TECHNOLOGIES, INC.
6 ARMSTRONG RD.
SHELTON, CT 06484

GTSP, LLC
11500 NE 76TH STREET, STE A3-4
VANCOUVER, WA 98662-3901

GUANGDONG SAIFEI SAPPHIRE TECHNOLOG
LTD

GUANGZHOU (MEIZHOU) INDUSTRIAL TRAN
MEICHU CITY, 514079 CHINA

GUENZER, CHARLES
3852 GROVE AVENUE
PALO ALTO, CA 94303

GUERRA, PAUL
7548 E CAROL CIRCLE
MESA, AZ 85208

GUERRERO, HERMILO
742 E. MARIPOSA PL
CHANDLER, AZ 85225

GUIDELINE RESEARCH SERVICES
2051 KILLEBREW DRIVE, SUITE 210
MINNEAPOLIS, MN 55425

GUIDO, NATHAN
1425 S LINDSAY RD, #55
MESA, AZ 85204

GUILD OPTICAL ASSOCIATES
11 COLUMBIA DRIVE
AMHERST, NH 03031

GUINANE, DAVID
400 W. BASELINE RD, #348
TEMPE, AZ 85283

GUIZHOU HAOTIAN OPTOELECTRONICS

TECHNOLOGY CO., LTD.

ROOM 535, CHUANG YE PLAZA, JIN YANG

HI~TECH INDUSTRY ZONE,GAO XIN DISTR, 550023 CHINA

GUPTA, KEDAR
C/O SHEEHAN PHINNEY BASS & GREEN, P.A.
ATTN PETER S. COWAN, ESQ
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GTAT Matrix
1000 ELM STREET, 17TH FLOOR
PO BOX 3701
MACHESTER, NH 03101

GUPTA, KEDAR

C/O SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
ATTN JAMES R. CARROLL

500 BOYLSTON STREET

BOSTON, MA 02116

GUPTA, KEDAR

C/O SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
MICHAEL S. HINES

500 BOYLSTON STREET

BOSTON, MA 02116

GURLEY PRECISION INSTRUMENT
514 FULTON STREET
TROY, NY 12181-0088

GUSTAVO PRESTON SERVICE COMPAN
23 INDUSTRIAL AVENUE
CHELMSFORD, MA 01824

GUTIERREZ, LUIS
17447 AVENUE OF THE ARTS, #1094
SURPRISE, AZ 85378

GUTIERREZ, RACHEL
3334 E ROCHELLE ST
MESA, AZ 85213

GUTIERREZ, RAMON
2025 W. BOULDER CT
CHANDLER, AZ 85248

GUTIERREZ, ROBERT
508 E 8TH AVE
MESA, AZ 85204

GUTIERREZ, ROSEMARIE
508 E 8TH AVE
MESA, AZ 85204

GUTIERREZ, THOMAS
243 DANIEL WEBSTER HIGHWAY
MERRIMACK, NH 03054

GUTIERREZ, THOMAS
300 BEDFORD STREET, #215
MANCHESTER, NH 03101

GUTIERREZ, THOMAS
3991 W CALLE PRIMERA
CHANDLER, AZ 85226

GWBN ENTERPRISES LLC
4534 MCPHERSON AVE.
ST. LOUIS, MO 63108

GZ ENVIRONMENTAL SERVICES
RANDY GOYETTE
ONE CARUSO COURT
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GTAT Matrix
PEABODY, MA 01960

H & H ENGINEERING CO., INC.
PHIL HELFRICH

6 PINE STREET

METHUEN, MA 01844

H & M ANALYTICAL SERVICES, INC.
35 HUTCHINSON RD.
ALLENTOWN, NJ 08501

H & S TOOL, INC.
715 WEBER DRIVE
WADSWORTH, OH 44281

H&M ANALYTICAL SERVICES INC.
35 HUTCHINSON ROAD
ALLENTOWN, NJ 08501-1415

H. BOHNER E.K
SCHULSTR. 11
BAYREUTH, 95444 GERMANY

H. M. ROYAL, INC
689 PENNINGTON AVE
TRENTON, NJ 08618

H.C STARCK INC.

ATTN JOHN NOTEMAN, VICE PRESIDENT OF SALES, AMERICAS
45 INDUSTRIAL PLACE

NEWTON, MA 02461-1951

H.C STARCK INC.
45 INDUSTRIAL PLACE
NEWTON, MA 02461

H.C. STARCK INC.
P.O. BOX 536413
PITTSBURGH, PA 15253-5906

H.C. STARK
P.O. BOX 371229
PITTSBURGH, PA 15251-7229

H5
71 STEVENSON ST., 3RD FLOOR
SAN FRANCISCO, CA 94105

HA & HA
YOUNG HWA B/D, 742-20, BANPO-DONGSE
GWANGHWAMOON PO BOX 357 , SEOCHO-KU, 137-040 KOREA, REPUBLIC OF

HAAS AUTOMATION KOREA
82-16, MULLAE-DONG 3GA
YEONGDEUNGPO-GU, SEOUL, 150-836 KOREA, REPUBLIC OF

HAAS FACTORY OUTLET SDN BHD
3, JALAN U1/35A, HICOM GLENMARIE IN
SHAH ALAM, 40150 MALAYSIA

HABITAT FOR HUMANITY
PO BOX 7181
MISSOULA, MT 59807-7181
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GTAT Matrix

HABITAT PROPERTY LIMITED
1201-05,12/F,YU YUET LAI BUILDING,4
CENTRAL , HONG KONG

HAFFERTY, DAVID
616 W. PERALTA AVE
MESA, AZ 85210

HAGEDORN & GANNON
550 AXMINISTER DRIVE
FENTON, MO 63026-2904

HAGERMAN & COMPANY, INC.
505 SUNSET COURT

PO BOX 139

MT ZION, IL 62549

HAGERMAN AND COMPANY, INC.
505 SUNSET COURT
MT. ZION, IL 62549

HAHN, MICHAEL
109 BEAVER STREET
KEENE, NH 03431

HAIDA INTERNATIONAL EQUIPMENT CO.,
THE 1ST INDUSTRIAL ZONE OF CAIBAT I
DONG GUAN CITY, 523000 CHINA

HALISTAR
4 BOMAC RD. #3
BEVERLY, MA 01915

HALL PRODUCTIONS
951 FRONT ST.
GROVER BEACH, CA 93433

HALL, DANIEL
21466 E. ROUNDUP WAY
QUEEN CREEK, AZ 85142

HALLMARK COPIER CO. INC.
114A PERIMETER ROAD
NASHUA, NH 03063

HALLS EXECUTIVE GIFTS & AWARDS
132 STANFORD STREET
SANTA ROSA, CA 95404

HALSTEAD, CHRISTOPHER
441 S MAPLE, UNIT 130
MESA, AZ 85206

HAMAMATSU CORPORATION
PO BOX 6910

360 FOOTHILL ROAD
BRIDGEWATER, NJ 08807

HAMBLETT & KERRIGAN,P.A.
146 MAIN STREET
NASHUA, NH 03060

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HAMBURG MESSE UND CONGRESS GMBH
POSTFACH 30 24 80
HAMBURG, 20308 GERMANY

HAMID OMIDI
205 BEACONSFILED ROAD
WORCESTER, MA 01602

HAMILTON CASTER & MFG CO
1637 DIXIE HIGHWAY
HAMILTON, OH 45011

HAMILTON, DEE
2609 E SOUTHERN AVE, #177
TEMPE, AZ 85282

HAMM SEPTIC SERVICES, INC.
TwO WEST ROAD
HUDSON, NH 03051

HAMMOCK, RUDY
829 MCMINN AVENUE
SANTA ROSA, CA 95407

HAMMON PLATING CORP
890 COMMERCIAL STREET
PALO ALTO, CA 94303

HAMMOND POWER SOLUTIONS, INC.
DEPARTMENT 7107
CAROL STREAM, IL 60122-7107

HAMMOND POWER SOLUTIONS, INC.
PO BOX 189

1100 LAKE ST., PO BOX 189
BARABOO, WI 53913

HAMPSHIRE FIRE PROTECTION CO., INC.
8 NORTH WENTWORTH AVE.
LONDONDERRY, NH 03053

HAMPSHIRE HILLS
PO BOX 404

50 EMERSON ROAD
MILFORD, NH 03055

HAMPSON, JOHN
1330 MANUKA DR
O'FALLON, MO 63366

HANCOCK, BRIAN
4247 E VINEYARD RD
PHOENIX, AZ 85042

HANDLING SYSTEMS
2659 E MAGNOLIA ST
PHOENIX, AZ 85034

HANG SENG REAL ESTATE MANAGEMENT LT
L30, TOWER 2,ENTERPRISE SQURE V,38
HONG KONG, HONG KONG

HANGZHOU ANTICORROSIVE EQUIP.

GTAT Matrix

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GTAT Matrix
HUAYUANGANG, MOGANSHAN ROAD
HANGZHOU, 310011 CHINA

HANGZHOU DAHE THERMO~MAGNETICS CO

ATTN KENKAN GA, VICE CHAIRMAN/PRESIDENT
777 BINKANG ROAD, BINJIANG DISTRICT
HANGZHOU, ZHEJIANG PROVINCE, 310053 CHINA

HANGZHOU DAHE THERMO~MAGNETICS CO
777 BINKANG ROAD, BINJIANG DISTRICT
HANGZHOU, ZHEJIANG PROVINCE, 310053 CHINA

HANK FEIR
229 BRANNAN ST., #17C
SAN FRANCISCO, CA 94107

HANN, JOHN
45790 W STARLIGHT DR
MARICOPA, AZ 85139

HANSEN, GEORGE
2906 S. REVERE CIRCLE
MESA, AZ 85210

HANSHIN AIR CARGO USA INC NYC
147-08 183 STREET
JAMAICA, NY 11413

HANSINGER, DAVID R.
2143 ALEJANDRO DR
SANTA ROSA, CA 95405

HANWHA SOLAR AMERICA LLC
2424 WALSH AVENUE
SANTA CLARA, CA 95051

HAPPY INTERNATIONAL CORP
147-48 175TH STREET
JAMAICA, NY 11434

HARBISON- WALKER REFRACTORIES
NEW HAVEN DISTRIBUTION CENTER
163 BOSTON POST ROAD
WEST HAVEN, CT 06516

HARBOUR CITY ESTATES LTD - GATEWAY
APARTMENTS

15/F, SOUTH TOWER, WORLD FINANCE CE
HONG KONG, HONG KONG

HARBOUR CITY ESTATES LTD.
15/F, SOUTH TOWER, WORLD FINANCE CE
HARBOUR CITY, HONG KONG

HARDER MECHANICAL CONTRACTORS INC.
2148 NE MLK JR. BLVD
PORTLAND, OR 97212

HARDMON, YVETTE
12 PARK DRIVE
BURLINGTON, MA 01803

HARDWARE PRODUCTS COMPANY
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191 WILLIAMS STREET
CHELSEA, MA 02150

HARDWARE TECH INC.
108 EIGHT STREET
SANTA ROSA, CA 95401

HARDY PROCESS SOLUTIONS
PO BOX 934730
ATLANTA, GA 31193-4730

HARI, ABARAJITH §S
1201 FLORA WAY
RIDGECREST, CA 93555

HARTSH KUMAR BOLLA
107 ASPEN CV
SENATOBIA, MS 38668

HARLEY, SYLVANIA
9232 S LAS LOMITAS ST
PHOENIX, AZ 85042

HARMON, JEANINE
75 PARKWAY DRIVE
TROY, MO 63379

HARMON, TOMMY
28 FAIRWAY DR
WOBURN, MA 01801

HARNUM INDUSTRIES, LTD
PO BOX 339
METHUEN, MA 01844

HARRIS TROPHY
18 HANOVER STREET
MANCHSTER, NH 03101

HARRIS WILLIAMS & CO.
1001 HAXALL POINT, 9TH FL
RICHMOND, VA 23219

HARRIS, SHARONNITA
6315 S. 25TH DR
PHOENIX, AZ 85041

HARRISON ELECTROPOLISHING, L.P.

13002 BRITTMOORE PARK DRIVE
HOUSTON, TX 77041

HARRISON, BRIAN
4054 W SHANNON ST
CHANDLER, AZ 85226

HARRISON, JEFFREY
8246 E EDGEMONT AVE
SCOTTSDALE, AZ 85257

HARRISON, MICHAEL
1415 N. COUNTRY CLUB DR, #3049
MESA, AZ 85201

GTAT Matrix

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GTAT Matrix
HARTFORD STEAM BOILER INTL LTD
LANDERSUMMER WEG 40
RHEINE, 48431 GERMANY

HARTMAN, BRUCE
9335 E BASELINE RD, #1051
MESA, AZ 85209

HARVARD CLUB OF BOSTON
ATTENTION DAWN MOOLIN

ONE FEDERAL STREET, 38TH FLOOR
BOSTON, MA 02110

HARWOOD, DUNCAN
4245 MARSTON LANE
SANTA CLARA, CA 95054

HASCO AMERICA, INC
270 RUTLEDGE RD UNIT B
FLETCHER, NC 28732

HASKRIS CO.
100 KELLY STREET
ELK GROVE VILLAGE, IL 60007

HASTINGS SAWS

D. WALTON SAW, INC
44 WOODLAND AVE

SAN RAFAEL, CA 94901

HATCH METALFAB INC
49R MITCHELL ROAD
IPSWICH, MA 01938

HAVERHILL SPINDLE SERVICE LLC
38 MIDDLESEX STREET
HAVERHILL, MA 01835

HAWK RIDGE SYSTEMS
575 CLYDE AVE
MOUNTAIN VIEW, CA 94043

HAWKES, TIMOTHY
11301 E. SANDOVAL AVE
MESA, AZ 85212

HAWKINS MANUFACTURING INC.
130 B MAIN STREET
PLAISTOW, NH 03865

HAWORTH FURNITURE CSHANGHAT) CO., L
co LTD

ROOM1701,17/F,ECO CITY,1788 NANJING
SHANGHAT, 200040 CHINA

HAWORTH HONG KONG LIMITED
39/F.,CHINA ONLINE CENTRE, 333 LOCKH
HONG KONG, HONG KONG

HAWTHORN SUITES
BACM 2006-1
246 DANIEL WEBSTER HIGHWAY
MERRIMACK, NH 03054
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GTAT Matrix

HAWTHORNE BROOK SPRING WATER CO
443 ESSEX STREET
SWAMPSCOTT, MA 01907

HAYDEN SAFE & LOCK CO., INC.
PO BOX 864

PO BOX 864, 119 WEBB STREET
SALEM, MA 01970

HAYDON KERK MOTION SOLUTIONS
1 KERK DRIVE
HOLLIS, NH 03049

HAYES ENGINEERING
603 SALEM STREET
WAKEFIELD, MA 01880

HAYES, TIMOTHY
2 YELLOW BRICK RD
BRADFORD, MA 01835

HAYNES AND BOONE, LLP

ONE HOUSTON CENTER

1221 MCKINNEY STREET, SUITE 2100
HOUSTON, TX 77010-2007

HAYNES INTERNATIONAL, INC
14101 ROSECRANS AVE, UNIT A
LA MIRADA, CA 90638

HAYNES INTERNATIONAL, INC
35082 EAGLE WAY
CHICAGO, IL 60678

HAYNTIE, MICHAEL
423 N AARON CIRCLE
MESA, AZ 85207

HAYS, MATT
293 VIVARON AVE
ST CHARLES, MO 63303

HAYS, MATT
3229 RIVERCROSSING PLACE
ST. CHARLES, MO 63301

HAYWARD QUARTZ TECHNOLOGY, INC.
1700 CORPORATE WAY
FREMONT, CA 94539

HAZELETT, MARYLOUISE
3782 E. SANTA CLARA DR
SAN TAN VALLEY, AZ 85140

HAZELWOOD & WEBER LLC
PO BOX 790379
ST. LOUIS, MO 63179

HAZMATPAC, INC.
7905 BLANKENSHIP DR.
HOUSTON, TX 77055

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GTAT Matrix
HCT SHAPING SYSTEMS SA
ROUTE DE GENEVE 42
CHESEAUX, 01033 SWITZERLAND

HDS WHITE CAP CONSTRUCTION SUPPLY
PO BOX 4852
ORLANDO, FL 32802-4852

HEADSTART LUXEMBOURG
17, RUE DES JARDINERS,
LUXEMBOURG, 01835 LUXEMBOURG

HEALTH DIMENSIONS
1324 N FARRELL COURT, SUITE 108
GILBERT, AZ 85233

HEALTHY ACHIEVERS
280 HERITAGE AVENUE, UNIT J
PORTSMOUTH, NH 03801

HEARTLAND CONTROLS ENTERPRISE INC
PO BOX 705
FRANKFORT, IL 60423

HEARTLAND SERVICES, INC.
14206 OVERBROOK
LEAWOOD, KS 66224

HEAT TECHNOLOGY PRODUCTS
2950 AIRWAY AVE, SUITE C-3
COSTA MESA, CA 92626

HEAT TRANSFER RESEARCH , INC.
150 VENTURE DRIVE
COLLEGE STATION, TX 77845

HEBEI HENGBO FINE CERAMICS MATERIAL
ATTN CHIEF FINANCIAL OFFICER
LUOZHUANG INDUSTRIAL, QUZHOU COUNTY
HANDAN CITY, 56000 CHINA

HEBEI HENGBO FINE CERAMICS MATERIAL
LUOZHUANG INDUSTRIAL
HANDAN CITY, 123456 CHINA

HECHT, TIMOTHY
411 N KYRENE RD, #228
CHANDLER, AZ 85226

HETKO MORITZ
451 PONEMAH HILL ROAD
MILFORD, NH 03055

HETLIND ELECTRONICS INC.
58 JONSPIN ROAD
WILMINGTON, MA 01887

HEITLIND ELECTRONICS, INC,
2290 NORTH FIRST ST

STE 101

SAN JOSE, CA 95131

HELFRICH BROTHERS BOILER WORKS
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GTAT Matrix
39 MERRIMACK ST
LAWRENCE, MA 01843

HELLER, SCOTT
123 N. ROBSON, APT # 109
MESA, AZ 85201

HELMUT ROHDE GMBH
RIED 9 D-
PRUTTING, 83134 GERMANY

HELTINA AG
MUSTERPLATZ 13 / PO BOX 256
BOLLIGEN, 03065 SWITZERLAND

HEMBROCK, NEAL
1034 HACKMANN RD
ST. PAUL, MO 63366

HEMLOCK SEMICONDUCTOR CORP
12334 GEDDES ROAD
HEMLOCK, MI 48626-0800

HENDERSON, JAMES
10723 E ARBOR AVE
MESA, AZ 85208

HENDERSON, LLEWELLYN
1586 W MAGGIO WAY, #1002
CHANDLER, AZ 85224

HENKEL CORPORATION
32100 STEPHENSON HIGHWAY
MADISON HEIGHTS, MI 48071

HENLEY MEDIA GROUP
2ND FL 100 CITY ROAD, TRANS-WORLD H
LONDON, EC1Y2BP UNITED KINGDOM

HENNIG INC.
9900 N. ALPINE ROAD
MACHESNEY PARK, IL 61115

HENRY FOK ESTATES, LTD.
8/F, SHAMA PLACE, 30 HOLLYWOOD RD.
CENTRAL HONG KONG, HONG KONG

HERAEUS NOBLELIGHT LLC
1520 BROADMOOR BLVD., SUITE C
BUFORD, GA 30518

HERAEUS NOBLELIGHT LLC
PO BOX 35494
NEWARK, NJ 07193

HERAEUS QUARTZ AMERICA LLC
100 HERAEUS BOULEVARD
BUFORD, GA 30518

HERAEUS SHIN-ETSU AMERICA, INC.
4600 NW PACIFIC RIM BLVD.
CAMAS, WA 98607

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HERBERT SMITH FREEHILLS PARIS LLP

66 AVENUE MARCEAU
PARIS, 75008 FRANCE

HERBIG, TIMOTHY
2046 E. GARY CIRCLE
MESA, AZ 85213

HERBOLD, MICHAEL
3703 N PASEO DEL SOL
MESA, AZ 85207

HERBSTER, GEORGE A.
100 CUMMINGS CENTER, SUITE 213C
BEVERLY, MA 01915

HERITAGE PACKAGING, INC.
441 MARKET STREET
LAWRENCE, MA 01843

HERNANDEZ, ALEJANDRO
11306 E. COVINA ST
MESA, AZ 85207

HERNANDEZ, ALEX
11306 E. COVINA ST
MESA, AZ 85207

HERNANDEZ, FRANCIS
615 E. WEBER DR, #3003
TEMPE, AZ 85281

HERNANDEZ, GERMAN
1819 Ww. ALTA VISTA RD
PHOENIX, AZ 85041

HERNANDEZ, LAUREEN
11306 E. COVINA ST
MESA, AZ 85207

HERNANDEZ, LUCAS
2721 W. PIERSON ST
PHOENIX, AZ 85017

HERNANDEZ, MANUEL
231 E PINON WAY
GILBERT, AZ 85234

HERNANDEZ, ROBERT
520 E. REDONDO DR
GILBERT, AZ 85296

HERNANDEZ-CRUZ, ABELARDO
722 S. JONES
MESA, AZ 85204

HERRERA, ESTHER
1457 W. 6TH DR
MESA, AZ 85202

HERRMANN & SCHMIDT MESSEBURO
WILLY-BRANDT-ALLEE 9
MUNCHEN, 81829 GERMANY

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HESS CORPORATION

C/O CORPORATE INSURANCE DEPT
ONE HESS PLAZA

WOODBRIDGE, NJ 07095

HETRICK, MARGARET
11119 Ww JOMAX RD
PEORIA, AZ 85383

HEUBEL MATERIAL HANDLING, INC.
13670 RIDER TRAIL NORTH
EARTH CITY, MO 63045

HEUBEL MATERIAL HANDLING, INC.
PO BOX 870975
KANSAS CITY, MO 64187-0975

HEWETT, DEREK
4333 N 24TH ST, APT 305
PHOENIX, AZ 85016

HEWITT, RICHARD
98 BACK RIVER ROAD
MERRIMACK, NH 03054

HI TECH LAMPS, INC
PO BOX 329
PACIFICA, CA 12237

HICKEY, PAUL
1441 E. WILLIAMS ST
TEMPE, AZ 85281

HICKS, MICHELLE
900 S. 94TH ST, #1074
CHANDLER, AZ 85224

HIDDEN POINT CONSULTING, LLC
17101 HIDDEN POINT DRIVE
CHAGRIN FALLS, OH 44023

HIGH ENERGY CORP.
4480 LOWER VALLEY RD.
PARKESBURG, PA 19365

HIGH PERFORMING ORGANIZATIONS, LTD
105 JASMINE COURT
GALLATIN, TN 37066

HIGH PLAINS PIZZA, INC.
PO BOX 2438, 7 W. PARKWAY BLVD
LIBERAL, KS 67905-2438

HIGH PRESSURE EQUIPMENT CO.
1222 LINDEN AVENUE
ERIE, PA 16505

HIGH PRESSURE TECHNOLOGIES LLC
24895 AVE ROCKEFELLER
VALENCIA, CA 91355

HIGH TEMP METALS, INC.

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GTAT Matrix
12910 SAN FERNANDO ROAD
SYLMAR, CA 91342

HIGHFILL, JAMES
28 HARBOR VIEW DRIVE
LAKE SAINT LOUIS, MO 63367

HIGHLAND TOOL COMPANY, INC.
20 SIMON STREET
NASHUA, NH 03060

HIGHLIGHT SHANGHAI CO LTD
203 HUAI HAI CHINA TOWER, REN MIN R
SHANGHAI, 00885 CHINA

HIGHLIGHT TECH CSHANGHAT) CO., LTD
NO.51 CHENG YIN ROAD, BAOSHAN CITY
SHANGHAI, 200444 CHINA

HIGHLIGHT TECH CORPORATION
NO.106,GUNG-MIN SOUTH ROAD II,AN-NA
TAINAN CITY, 00709 TAIWAN, PROVINCE OF CHINA

HIGHSTREET ADVISORS, INC
138 HITCHING POST LANE
BEDFORD, NH 03110

HIGH-TECH MACHINE & TOOL INC
218 ANDOVER ST
WILMINGTON, MA 01887

HI-HEAT INDUSTRIES, INC
256 HANOVER ROAD
LEWISTON, MT 59457

HILER, RODNEY
3815 W. BETTY ELYSE LANE
PHOENIX, AZ 85053

HILFORD TRADING LIMITED
ROOM 1406, TWO GRAND TOWER
MONG KOK, KOWLOON, HONG KONG

HILL & KNOWLTON ASIA LTD

36TH FL, PCCW TOWER TAIKOO PLACE
NO 979 KINGS RD

QUARRY BAY, 00852 HONG KONG

HILL & KNOWLTON INC
909 THIRD AVENUE
NEW YORK, NY 10022

HILL BROTHERS CHEMICAL COMPANY
1675 N MAIN STREET
ORANGE, CA 92867

HILL, ALLEN
9501 E BROADWAY RD, #78
MESA, AZ 85208

HILL, GREGORY M.
6 JARED CIRCLE, #22
NASHUA, NH 03063
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HILL, JASON
96 CROWS NEST DR
HAWK POINT, MO 63349

HILL, SHERRY
96 CROWS NEST DRIVE
HAWK POINT, MO 63349

HILL, TERESA
3687 E. MEADOW MIST LANE
SAN TAN VALLEY, AZ 85140

HILL, VERONICA
1508 W 7TH STREET
MESA, AZ 85201

HILLIARD CORP THE

JIM SMITH

100 WEST FOURTH STREET
ELMIRA, NY 14902

HILLYARD, INC.

D/B/A ROVIC

PO BOX 1140, 146 SHELDON RD.
MANCHESTER, CT 06045-1140

HILLYARD, INC.
PO BOX 872470
KANSAS CITY, MO 64187-2470

HILLYARD/SAN FRANCISCO
P.O. BOC 874338
KANSAS CITY, MO 64187-4338

HILTON GARDEN INN
417 AVIATION BLVD
SANTA ROSA, CA 95403

HINES, ROBERT
259 ESSEX AVE
GLOUCESTER, MA 01930

HINTON, GARY
12410 W. ALVARADO RD
AVONDALE, AZ 85392

HIPOTRONICS INCORPORATED
1650 ROUTE 22N
BREWSTER, NY 10509

HIPOTRONICS INCORPORATED
25412 NETWORK PLACE
CHICAGO, IL 60673-1254

HIRE POWER ASSOCTATES
6117 BENHURST ROAD
BALTIMORE, MD 21209

HIREALLIANCE

ALLIED DEVELOPMENT GROUP, INC
PO BOX 9627

MANCHESTER, NH 03108

GTAT Matrix

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GTAT Matrix

HITACHI CAPITAL AMERICA CORP.
PO BOX 70408
CHICAGO, IL 60673-0408

HITACHT CHEMICAL CO. AMERICA LTD
10080 N. WOLFE ROAD, SUITE Sw 3-200
CUPERTNO, CA 95014

HITACHI CHEMICAL DUPONT
MICROSYSTEMS LLC

10080 N WOLFE RD SwW3-200
CUPERTINO, CA 95014

HITACHI CHEMICAL DUPONT
MICROSYSTEMS LLC

22826 NETWORK PLACE
CHICAGO, IL 60673-1228

HI-TECH HOIST CORP.
360 EAST DRIVE
MELBOURNE, FL 32904

HIWIN TECHNOLOGIES CORP.
3298 PAYSPHERE CIRCLE
CHICAGO, IL 60674

HIWIN TECHNOLOGIES CORP.
520 BUSINESS CTR DRIVE, SUITE 102
MT. PROSPECT, IL 60056

HMR CO., LTD.
15F., KWANGJU BANK BLDG., 7-12
DAEIN-DONG, 501-730 KOREA, REPUBLIC OF

HMR CO., LTD.
41-1, JUKJEONG-RI, HAKGYO-MYEON
HAMPYEONG-GUN, 525-813 KOREA, REPUBLIC OF

HOANG, HUNG
67 IVY CIRCLE
DRACUT, MA 01826

HOANG, VINCE
3 WHITE FLOWER LANE
NORTH GRAFTON, MA 01536

HODGE CLEMCO LTD.
ORGREAVE DRIVE
SHEFFIELD, $13 9NR UNITED KINGDOM

HODGES DEVELOPMENT CORP.
201 LOUDON ROAD
CONCORD, NH 03301

HOFF HEATING & A/C, INC.
1520 KEMMAR COURT
O'FALLON, MO 63366

HOFFMAN GASTRONOMIE & CATERING
AM MESSESEE 4
MUNCHEN, 81829 GERMANY

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GTAT Matrix
HOIST SYSTEMS INC,
2424 SOUTH 19TH STREET
PHOENIX, AZ 85034-6713

HOLBROOK, ROBERT
6013 E HILLVIEW STREET
MESA, AZ 85205

HOLIDAY INN MISSOULA DOWNTOWN
200 SOUTH PATTEE STREET
MISSOULA, MT 59802

HOLLAND & KNIGHT
1600 TYSONS BOULEVARD
MCLEAN, VA 22102

HOLLAND, EDWARD
4536 ALPINE ROAD
PORTOLA VALLEY, CA 94028

HOLLIS LINE MACHINE CO., INC.
295 SOUTH MERRIMACK ROAD
HOLLIS, NH 03049

HOLLIS TECHNOLOGY INC
15B CHARRON AVENUE
NASHUA, NH 03063

HOLLISTER ASSOCIATES, INC.
75 STATE STREET, 9TH FLOOR
BOSTON, MA 02109

HOLMAN GROUP, THE
1592 UNION STREET
SAN FRANCISCO, CA 94123

HOLOGENIX INC.
5932 BOLSA AVENUE, #104
HUNTINGTON BEACH, CA 92649

HOLY MACHINE CO.,LTD.
11, LANE 264, CHUNG CHEN RD.
SHU LIN DISTRICT, TAIWAN, PROVINCE OF CHINA

HOME MADE CLEAN
7 KIMBALL ROAD
SALEM, NH 01970

HOMEWOOD SUITES RIVERPORT
13639 RIVERPORT DRIVE
MARYLAND HEIGHTS, MO 63043

HONDA FINANCIAL EXCHANGE INC
C/O WACHOVIA BK LOCKBOX #70252
101 N. INDEPENDENCE MALL EAST
PHILADELPHIA, PA 19106

HONERT AND PARTNER
NEUER WALL 50
HAMBURG, 20354 GERMANY

HONEYCUTT, BRIAN
1274 E LARK ST
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GTAT Matrix
GILBERT, AZ 85297

HONEYWELL INC.
2331 CONGRESS STREET
PORTLAND, ME 04102

HONEYWELL INC.
405 BARCLAY BLVD
LINCOLNSHIRE, IL 60069

HONEYWELL INDUSTRY SOLUTIONS
C/O CONTROLCO

12541 COLLECTIONS CENTER DRIVE
CHICAGO, IL 60693

HONEYWELL LIMITED

25/F HONEYWELL TOWER OLYMPIA PLAZA
255 KINGS ROAD, NORTH POINT

» 999077 HONG KONG

HONG KONG INTERNATIONAL ARBITRATION
CENTRE

38/F TWO EXCHANGE SQUARE,

HONG KONG, HONG KONG

HONG KONG INTERNATIONAL SCHOOL
ASSOCIATION LTD.

700 TAI TAM RESERVOIR ROAD, TAI TAM,
HONG KONG, HONG KONG

HONG KONG MATSU FURNITURE CO.,LTD
UNIT 2102-2103,MIDAS PLAZA,NO. 1 TA
HONG KONG, HONG KONG

HONG KONG ULVAC CO.,LTD
FLAT L,9/F,SUMMIT BUILDING, 30 MAN Y
HONG KONG, HONG KONG

HONG KONG YONGRUN INVESTMENT CO., LTD.
UNIT D, 11/F. SEABRIGHT PLAZA

9-23 SHELL ST., FORTRESS HILL

HONG KONG,

HONG THAI TRAVEL SERVICES LTD
5/F, UNITED CENTRE, 95 QUEENSWAY
HONG KONG, HONG KONG

HONGKONG INTERNATIONAL THEME PARKS
LIMITED

HONG KONG DISNEYLAND RESORT

HONG KONG, HONG KONG

HONLAX TECHNOLOGIES LIMITED
UNIT 3, 9/F, HUNG TAI INDUSTRIAL BL
KWUN TONG, HONG KONG

HOOD T.A.B., LLC
PO BOX 3271
ANDOVER, MA 01810

HOOVER MATERIALS HANDLING GRP
6875 SHILOH ROAD EAST, SUITE 102
ALPHARETTE, GA 30005
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HOPE GROUP, THE (MA)
70 BEARFOOT RD., PO BOX 840
NORTHBOROUGH, MA 01532

HOPE GROUP, THE (MA)
70 BEARFOOT ROAD, PO BOX 840
NORTHBOROUGH, MA 01532

HOPE GROUP, THE (NH)
880 CANDIA ROAD
MANCHESTER, NH 03103

HOPKINS & CARLEY
70 SOUTH FIRST STREET
SAN JOSE, CA 95113

HOPKINTON SCHOOL DISTRICT
204 MAPLE STREET
HOPKINTON, NH 03229

HORIBA INSTRUMENTS INC
9755 RESEARCH DRIVE
IRVINE, CA 92618

HORIBA INSTRUMENTS INCORPORATED
9701 DESSAU ROAD #605
AUSTIN, TX 78754

HORIZON MACHINE INCORPORATED
6592 SOUTH DATELAND DRIVE
TEMPE, AZ 85283

HORIZON SOLUTIONS CORP.
1070 HOLT AVENUE, UNIT 10
MANCHESTER, NH 03109

HORN PACKAGING
11 WESTFORD ROAD
AYER, MA 01432

HORNER, RONALD
85 STONEHEDGE PLACE
BOXBOROUGH, MA 01719

HOSAC, MATTHEW
2151 E. SOUTHERN AVE, #1101
MESA, AZ 85204

HOSE & FITTINGS, ETC.
1811 ENTERPRISE BLVD.
WEST SACRAMENTO, CA 95691

HOSPITAL EMERGENCY RESPONSE TRAININ
AND CONSULTANT, LLC

20A NORTHWEST BLVD. STE 300

NASHUA, NH 03063

HOST ANALYTICS, INC.
900 ISLAND DRIVE, SUITE 203
REDWOOD CITY, CA 94065

HOSTING SERVICES INTERNATIONAL

GTAT Matrix

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230 PARK AVENUE
NEW YORK, NY 10069

HOTSHOTS ADVERTISING PHOTOGRAPHY, I

35 CONGRESS ST., PO BOX 896
SALEM, MA 01970

HOVANESSTIAN, DAVID
918 CARPATHIAN DRIVE
LAKE ST. LOUIS, MO 63367

HOWARD & SUSAN VAN BOOVEN CPWROS
422 SUNSET LANE,
O'FALLON, MO 63366

HOWARD DAWSON
1808 PIPER CIRCLE
ANACORTES, WA 98221

HOWARD ZINSCHLAG
1542 CANDISH LANE
CHESTERFIELD, MO 63017

HOWARD, BRIAN
5182 N CANYON RISE PLACE
TUCSON, AZ 85749

HOWARD, RICHARD
8251 E. FAIRY DUSTER DR.
GOLD CANYON, AZ 85118

HOWARD, STEVEN
5117 E. PINCHOR
PHOENIX, AZ 85018

HOYA OPTICS

D/B/A HOYA CORPORATION USA
PO BOX 120246

DEPT. 0246

DALLAS, TX 75312-0246

HOYA OPTICS
3285 SCOTT BOULEVARD
SANTA CLARA, CA 95054

HOYT ELECTRICAL INSTRUMENT
23 METER STREET

P.O. BOX 8798

PENACOOK, NH 03303

HP PRODUCTS CORPORATION
4774 PARK 370 BLVD
HAZELWOOD, MO 63042

HPS DIV. OF MKS INSTR. INC.
5330 STERLING DRIVE
BOULDER, CO 80301

HR PRO
1423 E ELEVEN MILE RD
ROYAL OAK, MI 48067

HRUSKOVA, PAVLINA

GTAT Matrix

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GTAT Matrix
TYRSOVA 511/11
LIBEREC 5, 460 05
' CZECH REPUBLIC

HSBC (THE HONGKONG AND SHANGHAI BANKING CORPORATION LIMITED)
ATTN ANDREW KWOK, INSURANCE SALES MANAGER

7/F HSBC BUILDING MONGKOK

673 NATHAN ROAD

MONGKOK, KOWLOON, HONG KONG

HSBC BANK (CHINA)
22F-38F, HSBC BLDG, SHANGHAI IFC
8 CENTURY AVENUE
PUDONG, SHANGHAI, 200120 CHINA

HSBC BANK CTAIPET)
NO 68, NANKING EAST RD., SEC 3
TAIPEI CITY, TAIWAN, PROVINCE OF CHINA

HSBC INSURANCE (ASIA) LIMITED
18/F,TOWER 1, HSBC CENTRE, 1 SHAM M
HONG KONG, HONG KONG

HSU, ERIC
6/F, NO. 25, SEC 1, LIEU JIA ROAD, CHU PEI CITY, HSIN CHU COUNTY
’ TAIWAN, PROVINCE OF CHINA

HTE TECHNOLOGIES
221 CONGRESSIONAL DR.
ST. LOUIS, MO 63146

HTT HOCHSPANNUNGSTECHNIK
UND TRANSFORMATORBAU GMBH
VECKERHAGER STRABE 100

HANN MUNDEN, 34346 GERMANY

HUARD, SCOTT
29 OLD TOWN RD
WEARE, NH 03281

HUBBARD SPRING CO.
BOX 425
OXFORD, MI 48371

HUBBARD-HALL INC
PO BOx 790
WATERBURY, CT 06720-0790

HUCKFELDT, SCOTT
9243 E ESPANA
MESA, AZ 85208

HUDSON POLY BAG, INC.
578 MAIN STREET
HUDSON, MA 01749

HUERTA, LUIS
7352 E UNIVERSITY DR, APT # 1060
MESA, AZ 85207

HUETTINGER ELECTRONICS INC.
111 HYDE ROAD
FARMINGTON, CT 06032
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GTAT Matrix

HUGHES, NICOLE
5014 E. MITCHELL DR
PHOENIX, AZ 85018

HUI, PHOENIX

FLAT B, 15/F, BLOCK 6, SEAVIEW GARDEN, 1 TSING YUNG STREET, TUEN MUN, NEW
TERRITORIES

’ HONG KONG

HULIAN KONCA PV TECH (WUXI) LTD
NO. 168 YANFENG ROAD, YANQTAO
WUXI JIANGSU, 214174 CHINA

HULLETT HOUSE CADVANCE FRAME LIMITE
2A CANTON ROAD,TSIM SHA TSUT , KOWLOO
HONG KONG, HONG KONG

HULLVAC PUMP CORPORATION
73° STEAMWHISTLE DRIVE
IVYLAND, PA 18974

HULME MARTIN HEAT SEALERS

WHITE COTTAGE FARM LUCAS GREEN

UNIT 5B COUNTRY BUSINESS CTR

WEST END WOKING S, UNITED KINGDOM

HUMAN CAPITAL SOLUTIONS, LLC
425 CHESTER ROAD
AUBURN, NH 03032

HUMBERSIDE LIFTING SERV LTD WIR
UNIT 3 EALAND INDUSTRIAL ESTAT
WHARF RD EALAND SCUNTHORPE

LINCOLNSHIRE, UNITED KINGDOM

HUMPHREY, JUDSON
434 W. AZALEA DR
CHANDLER, AZ 85248

HUNG TAK STATIONERY CO., LTD.
-RM B, 20/F, WONGS FACTORY BLDG., 3
TSUEN WAN, HONG KONG

HUNTER ASSOCIATES LABORATORY, INC.
11491 SUNSET HILLS ROAD
RESTON, VA 20190 .

HUNTER BAY, LLC
101 E. FRONT #102
MISSOULA, MT 59802

HUNTER LIFT, LTD.
11233 SOUTH AVENUE
NORTH LIMA, OH 44452

HUNTER, ALTON
2921 W. PEGGY DR
SAN TAN VALLEY, AZ 85142

HUNTINGTON MECHANICAL LAB, INC
13355 NEVADA CITY AVENUE
GRASS VALLEY, CA 95945
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GTAT Matrix

HUNTINGTON MECHANICAL LABORTORIES,
13355 NEVADA CITY AVENUE
GRASS VALLEY, CA 95945

HUNTLEIGH MCGEHEE
8235 FORSYTH BLVD, STE 1200
CLAYTON, MO 63105-1643

HURON CONSULTING SERVICES LLC
4795 PAYSPHERE CIRCLE
CHICAGO, IL 60674

HURON INDUSTRIES, INC.
P.O. BOX 610104
PORT HURON, MI 48061-0104

HUTCHINS, DANIEL
3032 EAST MALLORY ST
MESA, AZ 85213

HUTCHINSON, MARCUS
920 wW INDIAN SCHOOL RD, #31
PHOENIX, AZ 85013

HUTCHISON TELECOMMUNICATIONS CHK) L
PO BOX 1200
GENERAL POST OFFICE, HONG KONG

HUZHOU DONGKE ELECTRON QUARTZ, CO.
NO. 1191 OF NIAN FENG ROAD
HUZHOU CITY, 313009 CHINA

HYATT REGENCY HANGZHOU
28 HU BIN ROAD,
HANGZHOU, 310006 CHINA

HYATT REGENCY SANTA CLARA
5101 GREAT AMERICA PARKWAY
SANTA CLARA, CA 95054

HYDRAULIC CONTROLS, INC.
P.O. BOX 8157
EMERYVILLE, CA 94662

HYDRO SERVICE AND SUPPLIES
PO BOX 12197
RESEARCH TRIANGLE PARK, NC 27709

HYNEK, DARRYL
3935 E. DORCAS CIRCLE
MESA, AZ 85206

HYPERION SOLUTIONS
5450 GREAT AMERICA PARKWAY
SANTA CLARA, CA 95054

HYSITRON INC.
9625 W. 76TH STREET
EDEN PRAIRIE, MN 55344

HYTECH FITTINGS & COMPONENTS
9812 FALLS ROAD#114-296
Page 194

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GTAT Matrix
POTOMAC, MD 20854

HYUNG JIN PLANT CO., LTD
3605-5 SANBUK-DONG GUNSAN CITY
JEOLLABUK-DO, PROV, 100-718 KOREA, REPUBLIC OF

HYUNWOO SHIN
DONGBU CENTREVILLE APARTMENT , DAECHI
GANGNAM-GU, 107-904 KOREA, REPUBLIC OF

I & I CONSULTING
PO BOX 50580

2215 GREER ROAD
PALO ALTO, CA 94303

I AUTOMATION
500 CUMMINGS CENTER SUITE 1750
BEVERLY, MA 01915

I SQ R POWER CABLE CO.
1953 SHERRICK RD. S.E.
CANTON, OH 44707

I SQ R POWER CABLE CO.
P.O. BOX 20149
CANTON, OH 44701

I SQUARED R ELEMENT CO. INC.
12600 CLARENCE CENTER ROAD
AKRON, NY 14001

I/C HONG KONG
13/F, TOWER 2, THE GATEWAY, 25 CANTON
TSIM SHA TSUT, HONG KONG

IBAG NORTH AMERICA DIV OF BUCHCO
80 REPUBLIC DRIVE
NORTH HAVEN, CT 06423

IBT, INC.

Po BOX 873065

1225 TOM GINNEVER AVE.
O'FALLON, MO 63366-4774

Icc, INC.
707 N. 2ND STREET SUITE 520
ST. LOUIS, MO 63102

ICE SYSTEMS INC.

DBA PROXYTRUST

100 PATCO COURT, SUITE 9
ISLANDIA, NY 11749-1522

ICW GROUP INSURANCE COMPANIES
ATTN PREMIUM ACCOUNTING

PO BOX 85563

SAN DIEGO, CA 92186-5563

IDAHO MACHINERY & SUPPLY, INC.
ALICIA MILLER

443 Ww. PENNWOOD STREET
MERIDIAN, ID 83642

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IDAHO MATERIAL HANDLING, INC.
4655 S. FEDERAL WAY
BOISE, ID 83713

IDAHO VALVE & FITTING, INC.
6230 HERITAGE LANE, SUITE 2
IDAHO FALLS, ID 83402

IDEAL VACUUM PRODUCTS, LLC.
5910 MIDEAY PARK BLVD. NE
ALBUQUERQUE, NM 87109

IDERA, INC
2950 NORTH LOOP FREEWAY WEST
HOUSTON, TX 77092

IDESA
PARQUE CIENTIFICO Y TECNOLOGICO
GIJON, 33203 SPAIN

IEEE
445 HOES LANE
PISCATAWAY, NJ 08854

IES COMMUNICATIONS
2810 S ROOSEVELT STREET
TEMPE, AZ 85282

IES LOGISTICS
167-55 148TH AVE.
JAMAICA, NY 11434

IES TECHNICAL SALES, CORP.
250 NORTH STREET, UNIT A-9
DANVERS, MA 01923

IES TRANSWORLD

HEE-JIN, WON

No. 201, ILJIN BLDG. 648-15, NAEBALSAN
GANGSEO-KU, 157-824 KOREA, REPUBLIC OF

IET LABS, INC.
534 MAIN STREET
WESTBURY, NY 11590

IFM EFECTOR INC.
P.O. BOX 8538-307
PHILADELPHIA, PA 19171-0307

IFM EFECTOR, INC.
782 SPRINGDALE DRIVE
EXTON, PA 19341

IFM ELECTRONIC (SHANGHAT) CO.,LTD.
BUILDING 15, NO1000, ZHANGHENG ROAD
SHANGHAI, 201203 CHINA

I-GARD CORPORATION
7615 KIMBEL STREET, UNIT 1
MISSISSAUGA, ON L5S 148 CANADA

IGM CARBON
160 BARNOFF ROAD
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GTAT Matrix
DUBOIS, PA 15801

IGUS, INC.
50 NORTH BROADWAY
EAST PROVIDENCE, RI 02916

IHS GLOBAL, INC.
15 INVERNESS WAY EAST, Al111D
ENGLEWOOD, CO 80112

IHS ISUPPLI/IHS SCREEN DIGEST
1700 EAST WALNUT AVENUE
EL SEGUNDO, CA 90245

IITK FOUNDATION
6 AVALON DR
MONTVILLE, NJ 07045

ILJIN DISPLAY CO., LTD.

CRYSTAL GROWTH DIVISION

610-84 ORYU-RI DEASO-MYUN, EMSUNG-K
CHUNGCHEONGBUK-DO, 369-824 KOREA, REPUBLIC OF

ILLINOIS DEPARTMENT OF REVENUE
P.O. BOX 19045
SPRINGFIELD, IL 62794-9045

ILLINOIS DEPT. OF REVENUE
P.O. BOX 19447
SPRINGFIELD, IL 62794-9447

ILSUNG CORPORATION
917 WONSAN -RI, ONSAN-EUP, ULJU-GUN
ULSAN, 689-892 KOREA, REPUBLIC OF

IMAGINIT TECHNOLOGIES
250 COMMERCIAL STREET, STE 4006
MANCHESTER, NH 03101

IMI SENSORS A PCB PIEZOTRONICS DIV
15015 COLLECTIONS CENTER DR
CHICAGO, IL 60693

IMPEX HIGH TECH GMBH
HOVESAATSTR.6
RHEINE, 48432 GERMANY

IMPORT, BUILDING & TRADING CO.
P.O. BOX 2287

61022 TEL AVIV

’ ISRAEL

IMPRESS LABS
605 E. GRANT ST., SUITE 106
PHOENIX, AZ 85004

IMPRESS PUBLIC RELATIONS, INC.
605 E. GRANT ST., SUITE 106
PHOENIX, AZ 85004

IMS AMCO ENGINEERING PROD. LLC
1 INNOVATION DRIVE
DES PLAINES, IL 60016
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IMS MANAGEMENT SERVICES, INC.
3301 NORTHLAND DR., STE 400
AUSTIN, TX 78731

IMS, INC.
472 AMHERST STREET, UNIT #16
NASHUA, NH 03063

IN-CAL
71 PINE ROAD
HUDSON, NH 03051

INCONTROL ENGINEERING LLC
2211 E HIGHLAND AVE, STE 130
PHOENIX, AZ 85016

IN-CONTROL SYSTEMS
53 GROVE AVENUE
SALEM, NH 03079

INDCO, INC.

PO BOX 589

4040 EARNINGS WAY
NEW ALBANY, IN 47151

INDEPENDENCE IND. PRODUCT, INC
PO BOX 423

1873 NORTH UNION STREET
SPENCERPORT, NY 14559

INDEPENDENT ELECTRIC SUPPLY
177 GAY STREET
MANCHESTER, NH 03103

INDEPENDENT ELECTRIC SUPPLY
P.O. BOX 1263
SAN CARLOS, CA 94070-1263

INDEPENDENT ELECTRIC SUPPLY, INC.
2626 S HARDY DR
TEMPE, AZ 85282

INDEPENDENT PIPE & SUPPLY
PO BOX 843024
BOSTON, MA 02284-3024

INDIGO LIVING LTD
1202-1204 LEVEL 12,CYBERPORT 2, 100
HONG KONG, HONG KONG

INDIUM CORPORATE
PO BOX 269
UTICA, NY 13503-0269

INDIUM CORPORATE
PO BOX 347268
PITTSBURGH, PA 15251-4268

INDUCTOTHERM CORPORATION
10 INDEL AVE.
RANCOCAS, NJ 08073-0157

GTAT Matrix

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GTAT Matrix
INDUSTRIAL AUTOMATION
35 FORSHAW AVENUE
PLAINVILLE, CT 06062

INDUSTRIAL AUTOMATION SUPPLY
75 INDUSTRIAL WAY
PORTLAND, ME 04103

INDUSTRIAL CONCRETE SERVICES, INC.
291 NEW PORTLAND ROAD
GORHAM, ME 04038

INDUSTRIAL CONTROL SPECIALISTS, LTD
8 DELTA DRIVE
LONDONDERRY, NH 03053

INDUSTRIAL CONTROLLER SERVICES
209 8TH STREET
PROVIDENCE, RI 02906

INDUSTRIAL CRATERS AND PACKERS
3509 NW SAINT HELENS RD
PORTLAND, OR 97210

INDUSTRIAL CRATERS AND PACKERS
PO BOX 15600
LOVES PARK, IL 61132

INDUSTRIAL CRATING & PACKING, INC.
PO BOX 88299
SEATTLE, WA 98138

INDUSTRIAL GAS TECHNOLOGY , INC.
PO BOX 51124

150 VANDERBILT COURT

BOWLING GREEN, KY 42103

INDUSTRIAL HEATER CORPORATION
30 KNOTTER DRIVE
CHESHIRE, CT 06410

INDUSTRIAL MEASUREMENT COMPANY
161 CHESTERFIELD INDUSTRIAL BLVD.
CHESTERFIELD, MO 63005

INDUSTRIAL PLATING CO., INC.
803 AMERICAN STREET
SAN CARLOS, CA 94070

INDUSTRIAL PROTECTION PRODUCTS
220 BALLARDVALE STREET
WILMINGTON, MA 01887

INDUSTRIAL PROTECTION PRODUCTS
PO BOX 685
WILMINGTON, MA 01887

INDUSTRIAL TECHNOLOGIES CORP
10541 DESCHAMPS COURT
MISSOULA, MT 59808

INDUSTRIAL TRUCK EQUIPMENT
1820 N SANTA FE AVE
Page 199

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GTAT Matrix
CHILLICOTHE, IL 61523

INDUSTRIAL TRUCK EQUIPMENT
PO BOX 354
CHILLICOTHE, IL 61523

INDUSTRIAL VISION CORPORATION
1976 ARSENAL ST.
ST. LOUIS, MO 63118

INDUSTRIE- UND HANDELSKAMMER FUR
OBERFRANKEN BAYREUTH
BAHNHOFSTRARE 25

BAYREUTH, 95444 GERMANY

INFICON INC.
P.O. BOX 88133
CHICAGO, IL 60695-1133

INFICON INC.
TwO TECHNOLOGY PLACE
EAST SYRACUSE, NY 13057

INFICON LIMITED
RM 1806,SHARTEX CENTER,88 SOUTH ZUN
SHANGHAI, 200336 CHINA

INFINCOM

J.J.R. ENTERPRISES, INC.
10491 OLD PLACERVILLE RD.
SACRAMENTO, CA 95827

INFINITY LANGUAGE SOLUTIONS
10310 ORLAND PARKWAY, SUITE 300
ORLAND PARK, IL 60467

INFINITYQS INTERNATIONAL INC
12601 FAIR LAKES CIRCLE #250
FAIRFAX, VA 22033

INFOGROUP/ORC
2051 KILLERBREW DRIVE
MINNEAPOLIS, MN 55425

INFOR GLOBAL SOLUTIONS (MICHIGAN),
13560 MORRIS RD., SUITE 4100
ALPHARETTA, GA 30004

INFOTHE CO., LTD.
RM NO 1301, 13TH FL., SHINHAN DMBLD
MAPO-DONG, MAPO-GU, SEOUL, 121-708 KOREA, REPUBLIC OF

INFRASOURCE CORP SERVICES INC
100 WEST SIXTH STREET, SUITE 300
MEDIA, PA 19063

INITIAL IMPRESSION EMBROIDERY
715 KENSINGTON, SUITE 11
MISSOULA, MT 59801

INLAND VACUUM INDUSTRIES
35 HOWARD AVE
CHURCHVILLE, NY 14428
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INLAND VACUUM INDUSTRIES INC.
35 HOWARD AVENUE
CHURCHVILLE, NY 14428-0373

INNER MONGOLIA SUNNERGY CO., LTD.
HUHHOT EXPORT PROCESSING ZONE
INNER MONGOLIA, 10080 CHINA

INNOLAS SYSTEMS GMBH
ROBERT-STIRLING~RING-2
KRAILLING, 82152 GERMANY

INNOVATIVE DESIGN & PRINTING CO.
RM 22, 3/F, BLK C, MANNING IND BLDG
KWUN TONG, HONG KONG

INNOVATIVE MACHINE, INC.
40 SNOW ROAD
WINCHESTER, NH 03470

INNOVATIVE TECHNOLOGY, INC.
ONE INDUSTRIAL WAY
AMESBURY, MA 01913

INNOVATIVE VACUUM SOLUTIONS, INC.
31 B PULPIT ROCK RD., PO BOX 777
PELHAM, NH 03076

INNOVENT TECHNOLOGIES LLC
PO BOX 845798
BOSTON, MA 02284-5798

INNOVENT TECHNOLOGIES, LLC.
JUDI MANUEL

6 CENTENNIAL DRIVE

PEABODY, MA 01960

INOV8 DESIGN, INC.
15 BRIDGE ST., SUITE 1
NORTHAMPTON, MA 01060

INPLANT OFFICES, INCORPORATED
436 BUSSEN UNDERGROUND
ST. LOUIS, MO 63129

IN-POSITION TECHNOLOGIES, LLC
7403 W BOSTON ST
CHANDLER, AZ 85226

INRAD OPTICS, INC.
181 LEGRAND AVENUE
NORTHVALE, NJ 07647

INSACO INCORPORATED

PO BOX 9006

1365 CANARY ROAD
QUAKERTOWN, PA 18951-9006

INSACO, INC.
P.O. BOX 9006
QUAKERTOWN, PA 18951-9006

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INSIGHT ENERGY SOLUTIONS, LLC
509 NORTH 22ND AVE.
BOZEMAN, MT 59718

INSPECTION COMPANY OF KOREA
836-15 YEOKSAM-DONG

GTAT Matrix

GANGNAM-GU, SEOUL, 135-937 KOREA, REPUBLIC OF

INSPERITY BUSINESS SERVICES, L.P.
19001 CRESCENT SPRINGS DR.
KINGWOOD, TX 77339

INSQU PRODUCTION LTD.
TAGMATARCHOU POULIOU 26
NICOSIA, 01101 CYPRUS

INSTAWARES, LLC
1305 CHASTAIN RD., BLDG. 100
KENNESAW, GA 30144

INSTITUTE OF MANAGEMENT ACCOUNTANTS
10 PARAGON DRIVE, SUITE 1
MONTVALE, NJ 07645-1760

INSTRON
75 REMITTANCE DRIVE, SUITE NO. 6826
CHICAGO, IL 60675-6826

INSTRON
825 UNIVERSITY AVENUE
NORWOOD, MA 02062-2643

INSTRUMENT & VALVE SERVICES CO.
3559 WINTON PLACE
ROCHESTER, NY 14623

INSTRUMENTED SENSOR TECHNOLOGY,
INC.

4704 MOORE STREET

OKEMOS, MI 48864

INSULATOR SEAL, INC.
C/O HARTECH CORPORATION
6460 PARKLAND DRIVE
SARASOTA, FL 34243

INSUNG CORPORATE ACCOUNTING
7TH FL E-ROON CENTER BLD
SEOUL, 01234 KOREA, REPUBLIC OF

INTECHRA LLC
14 CONTINENTAL BOULEVARD
MERRIMACK, NH 03054

INTECO (DALIAN) METALLURGICAL
8# BUILDING 1, IIIB-1-1-1,
FREE TRADE ZONE

116600, DALIAN

DALIAN, CHINA

INTECO SPECIAL MELTING
TECHNOLOGIES GMBH
WIENERSTRABE 25

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GTAT Matrix
A-8600 BRUCK/MUR, AUSTRIA

INTEGO GMBH

ATTN DR. PETER PLANKENSTEINER, MANAGING DIRECTOR
HENRI DUNANT STR. 8

ERLANGEN, 91058 GERMANY

INTEGO GMBH
HENRI DUNANT STR. 8
ERLANGEN, 91058 GERMANY

INTEGRA COMPANIES, INC.
29 SARATOGA BLVD.
DEVENS, MA 01434

INTEGRA TELECOM, INC.
P.O. BOX 2966
MILWAUKEE, WI 53201-2966

INTEGRAN TECHNOLOGIES INC
6300 NORTHAM DR.
MISSTSSAUGA, ON L4V 1H7 CANADA

INTEGRATED CONTROL SYSTEMS, INC
4615 S 33RD PL
PHOENIX, AZ 85040

INTEGRATED MATERIALS, INC.
1169 BORREGAS AVENUE
SUNNYVALE, CA 94089

INTEGRATED PROCESS TECH., INC
50 BRIGHAM STREET, SUITE E
MARLBORO, MA 01752

INTEGRATED SECURITY
& COMMUNICATIONS
38 WESTECH DRIVE
TYNGSBORO, MA 01879

INTEGRATED SECURITY & COMMUNICAT
OF NEW ENGLAND

38 WESTECH DRIVE

TYNGSBORO, MA 01879

INTEGRATED SECURITY & COMMUNICAT
OF NEW ENGLAND

ATTN HEATHER THOMAS

TYNGSBORO, MA 01879

INTEGRATED TECHNOLOGIES, INC.
552 PEACHAM RD.
DANVILLE, VT 05828

INTEGRITY SHRED LLC
3721 SANTA ROSA AVE # 5
SANTA ROSA, CA 95407

INTELLIDRIVES, INC.
8510 BUSTLETON AVENUE
PHILADELPHIA, PA 19152

INTELLIGENT SWITCHGEAR ORGANIZATION
Page 203

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GTAT Matrix
4655 MARCONI DR
ALPHARETTA, GA 30096

INTER CITY HOTEL MUNICH
BAYERSTRASSE 10
MUNICH, 80335 GERMANY

INTERCONTINENTAL HONG KONG
18 SALISBURY ROAD
KOWLOON, HONG KONG

INTERCONTINENTAL TRANSPORT
440 MCCLELLAN HIGHWAY
EAST BOSTON, MA 02128

INTERFACE
7401 E. BUTHERUS DRIVE
SCOTTSDALE, AZ 85260

INTERFACE INC.
7401 E. BUTHERUS DRIVE
SCOTTSDALE, AZ 85260

INTERGATED DYNAMIC METALS (IDM
PO BOX 64

289 ELM STREET

MARLBORO, MA 01752

INTERGIS SHIPPING CO LTD
NO.78 BONHAM STRAND
SHEUNG WAN, HONG KONG

INTERMOUNTAIN FUSE SUPPLY
P. O. BOX 651417
SALT LAKE CITY, UT 84165-1417

INTERNAL REVENUE SERVICE
DEPARTMENT OF TREASURY
OGDEN, UT 84201-0039

INTERNAL REVENUE SERVICE
INSOLVENCY SECTION

31 HOPKINS PLZ

RM 1150

BALTIMORE, MD 21201

INTERNAL REVENUE SERVICE
PO BOX 42530
PHILADELPHIA, PA 19101

INTERNATIONAL ADVANCED MATERIALS, I
2 NORTH COLE AVENUE
SPRING VALLEY, NY 10977

INTERNATIONAL CONFIGURATIONS INC.
210 MOODY ROAD
ENFIELD, CT 06082

INTERNATIONAL EXPRESS SHIPPING CO.
LTD.

145-11 155TH STREET

JAMAICA, NY 11434

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GTAT Matrix
INTERNATIONAL MARKETING CORP
418 SWASTIK CHAMBERS, SION TROMBAY
MUMBAI, 400071 INDIA

INTERPLAN

CONGRESS, MEETING & EVENTS MANAGEME
KAISER-WILHELM, STRABE 93, D-
HAMBURG, 20355 GERMANY

INTERPOWER CORP.
100 INTERPOWER AVENUE
OSKALOOSA, IA 52577

INTERPOWER CORPORATION
100 INTERPOWER AVE

P.O. BOX 115

OSKALOOSA, IA 52577-0115

INTERSECTIONS INC.
3901 STONECROFT BLVD.
CHANTILLY, VA 20151

INTERSTATE BATTERIES SYS.
31 COLUMBIA CIRCLE
MERRIMACK, NH 03054

INTERSTATE CHEMICAL COMPANY, INC.
2720 RELIABLE PARKWAY
CHICAGO, IL 60686

INTERSTATE ELECTRICAL SERVICES
70 TREBLE COVE ROAD
NORTH BILLERICA, MA 01862

INTERSTATE FIRE PROTECTION
PO BOX 1005
NORTH CONWAY, NH 03860

INTERSURFACE DYNAMICS, INC.
PO BOX 181
BETHEL, CT 06801

INTERTEK TESTING SERVICES NA, INC.
MARYELLEN

PO BOX 405176

ATLANTA, GA 30384-5176

INTERVAL ZERO
400 FIFTH AVENUE, SUITE 400
WALTHAM, MA 02451

INTEX MANAGEMENT SERVICES
3301 NORTHLAND DRIVE, SUITE 400
AUSTIN, TX 78731

INTRINSIQ MATERIALS LTD
Y¥2S, CODY TECH. PARK, IVEY ROAD
FARNBOROUGH, GU14 OLX UNITED KINGDOM

INVENSYS CONTROLS
UNI-LINE
14607 COLLECTIONS CENTER DR.
CHICAGO, IL 60693
Page 205

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GTAT Matrix

INVENSYS SYSTEMS, INC.
26561 RANCHO PARKWAY SOUTH
LAKE FOREST, CA 92630

INVENTEC SOLAR ENERGY COMPANY
NO. 349 SEC.2 RENHE RD
DAXHI TOWNSHIP, 00123 TAIWAN, PROVINCE OF CHINA

INVENTEK ENGINEERING, INC
1701 E EDINGER AVE VALIN BLDG J
SANTA ANA, CA 92705

INVESHARE, INC.
3060 ROYAL BLVD. SOUTH, SUITE 235
ALPHARETTA, GA 30022

INVESTCAST INC
716-39TH AVENUE NORTHEAST
COLUMBIA HEIGHTS, MN 55421

IOMOSATC CORPORATION
93 STILES ROAD
SALEM, NH 03079

I-ONASTA
CENTRE SUITES 1603-1605, 16/F LEVE
KWUN TONG KOWLOON, HONG KONG

IP CAPITAL GROUP
400 CORNERSTONE DRIVE, SUITE 325
WILLISTON, VT 05495

IPREO
1359 BROADWAY
NEW YORK, NY 10018

IPSWITCH, INC.
10 MAGUIRE ROAD
LEXINGTON, MA 02421

IPT GROUP, LLC

ACCOUNTS RECEIVABLE

P.O. BOX 31533

SAN FRANCISCO, CA 94131-+053

IQ VALVES, CO.
425 WEST DRIVE
MELBOURNE, FL 32904

IRCON, INC.
7300 N. NATCHEZ AVENUE
NILES, IL 60714

IRD CERAMICS
428 GENEVA RD.
ALEXANDRIA, MN 56308

IRON MOUNTAIN
ONE FEDERAL ST
BOSTON, MA 02110

IRWIN, EPIPHANY
Page 206

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PO BOX 28
GILBERT, AZ 85299

IRYSOLAR S.A.S
395 RUE LOUIS LEPINE, LE GILLENOIRE
MONTPELLIER, 34000 FRANCE

ISAACSON STRUCTURAL STEEL, INC.
PO BOX 67, 40 JERICHO RD.
BERLIN, NH 03570

ISE, INC.

D/B/A INSTRUMENT SERVICE & EQUIPMEN
10100 ROYALTON ROAD

CLEVELAND, OH 44133

ISHIDA, KENZO
2-21-1 SAKURA
TSUKUBA, 3050003 JAPAN

ISHIDA, SHOYA
90 NEW MONTGOMERY STREET, 8TH FLOOR
SAN FRANCISCO, CA 94105

ISHIZAKI CTHAILAND) CO., LIMITED
A2 MOO 5 ROJANA INDUSTRIAL PARK
AYUTTHAYA, 13210 THAILAND

ISINGLASS MARKETING
PO BOX 203
BARRINGTON, NH 03825

ISS CORPORATE SERVICES
2101 GALTHER RD., SUITE 200
ROCKVILLE, MD 20850-4045

ITALIX COMPANY INC
2232 CALLE DEL MUNDO
SANTA CLARA, CA 95054

ITEM NORTH AMERICA
925 GLASER PARKWAY
AKRON, OH 44306

ITOCHU CORPORATION
5-1, KITA-~AOYAMA 2-CHOME
MINATO-KU, TOKYO, 1078077 JAPAN

IvcI, LLC
601 OLD WILLETS PATH
HAUPPAUGE, NY 11788

IVES, STEVE
801 BOULDER RIDGE DRIVE
BELVIDERE, IL 61008

IVI CORP.
265 OAK STREET
PEMBROKE, MA 02359

IVS COMPANY
8 MADDISON LANE
LYNNFIELD, MA 01940

GTAT Matrix

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J & B ENTERPRISES
PO BOX 376
NORTH CHELMSFORD, MA 01863

J & C INDUSTRIES, INC.
PO BOX 2390
SEABROOK, NH 03874

J & L INDUSTRIAL SUPPLY
BOX 382070
PITTSBURG, PA 15250

J H TECHNOLOGY, INC.
5107 LENA RD,UNIT 111,
BRADENTON, FL 32411

J&L WELDING
19-25 ARTHUR ST
GLOUCESTER, MA 01930

J. LAWRENCE HALL CO., INC.
PO BOX 3558

10 COTTON ROAD

NASHUA, NH 03061

J.C. COLE AND ASSOCIATES
UNIT F, 1 RED OAK DRIVE
PLAISTOW, NH 03868

J.F. MORAN CO., INC.
PO BOX 17070
SMITHFIELD, RI 02917

J.J. KELLER & ASSOCIATES, INC
PO BOX 368

3003 W. BREESEWOOD LANE
NEENAH, WI 54957

J.M. COULL, INC.
20 POWDERMILL RD.
MAYNARD, MA 01754

J.P. CAMPBELL INC
69 ELM ST
DANVERS, MA 01923

J.S.E. SCREEN PRINTING & EMBROIDERY
100 DUTTON RD.
PELHAM, NH 03076

J.W. DONCHIN
4841 Ww CHICAGO AVE.
CHICAGO, IL 60651

J2 GLOBAL COMMUNICATIONS
6922 HOLLYWOOD BLVD., SUITE 500
LOS ANGELES, CA 90028

J2 PRECISION CNC, INC.
3275 N COLORADO ST
CHANDLER, AZ 85225

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JABIL ASSEMBLY POLAND SP. ZO.O.
UL. MI?0SNA 32
82~500 KWIDZYN, 12-456 POLAND

JACK B. HENDERSON CONSTRUCTION CO
PO BOX 53176
ALBUQUERQUE, NM 87153

JACKS MACHINE CO.,INC.
162 INDUSTRIAL BLVD, UNIT 7
HANSON, MA 02341

JACKSON & HERTOGS LLP
201 MISSION STREET
SUIITE 700

SAN FRANCISCO, CA 94105

JACKSON CONTRACTOR GROUP INC
P.O. BOX 967
MISSOULA, MT 59806

JACKSON RYLEE ASSOCIATES LLC
7 HILLCREST ROAD
GOFFSTOWN, NH 03045

JACKSON, AARON
11330 E. SUNLAND AVE
MESA, AZ 85208

JACKSON-HIRSH, INC.
700 ANTHONY TRAIL
NORTHBROOK, IL 60062-2542

JACOBS ENGINEERING GROUP
PO BOX 840388
DALLAS, TX 75284-0388

JAMCO PRODUCTS, INC

PO BOX 66

ONE JAMCO COURT

SOUTH BELOIT, IL 61080

JAMES ABTS PHOTOGRAPHY
JAMES T. ABTS

42 CUTLER ROAD
HAMILTON, MA 01982

JAMES FABER
3 HILLSIDE AVENUE
EXETER, NH 03833

JAMES HIGHFILL
2028 BOBWHITE COURT
ST.PAUL, MO 63366

JAMES IPPOLITO & CO. INC.
1069 CONNECTICUT AVENUE
BRIDGEPORT, CT 06607

JAMES R. BOSCO
10 THISTLE DRIVE
AMHERST, NH 03031

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GTAT Matrix
JAMES, GEORGE
3939 W. WINDMILLS BLVD, #1047
CHANDLER, AZ 85226

JAMISON, BRIAN
PO BOX 1195
MARICOPA, AZ 85139

JANDEL ENGINEERING LTD.
GRAND UNION HOUSE, LEIGHTON ROAD
LINSLADE, LU? 1LA UNITED KINGDOM

JAPLAR GROUP INC, THE
4500 ALPINE AVENUE
CINCINNATI, OH 45242

JARDINE ONE SOLUTION CHK) LTD.
388 KWUN TONG ROAD
19/F, TOWER ONE, MILLENNIUM CITY 1, HONG KONG

JAS FORWARDING CUSA), INC.
12015 E. 46TH AVENUE
DENVER, CO 80239

JASON UNDERWOOD
APT 1 29 HAZEL STREET
SALEM, MA 01970

JAUREQUI-RODRIGUEZ, JENNIE
38743 N. JONATHAN ST
SAN TAN VALLEY, AZ 85140

JAY BERGERON
PO BOX 5036
MANCHESTER, NH 03108

JAYARAMAN, NIRMAL
2220 W. MISSION LANE, #1256
PHOENIX, AZ 85021

JAYNE, WILLIAM
1418 S TEMPLE CIRCLE
MESA, AZ 85204

JAYS ENGRAVING RUBBER STAMPS
3185 CLEVELAND AVE., SUITE A
SANTA ROSA, CA 95403

JB MANAGEMENT, LP

C/O BLOCK REAL ESTATE SERVICES
700 W. 47TH STREET, SUITE 200
KANSAS CITY, MO 64151

JBC METALWORKS

PO BOX 133

270 NASHUA ROAD, PO BOX 133
SHARON, NH 03458

JDSCC, INC.
20 BALCOM ROAD
PELHAM, NH 03076

jJpscc, INC.
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4 INDUSTRIAL PARK DRIVE, UNIT #33
PELHAM, NH 03076

JEC AND ASSOCIATES
JAMES E. COSTA JR.
20 SYLVAN STREET

BROCKTON, MA 02302

JECT AMERICA INC.
2 EXECUTIVE DRIVE, STE 755
FORT LEE, NJ 07024

JEFFERSON PILOT FINANCIAL
PO BOX 2616
OMAHA, NE 68103

JENCONS CSCIENTIFIC) LTD
IND ESTATE

800 BURSCA DRIVE, SUITE 801
BRIDGEVILLE, PA 15017

JENKINS, JENNIFER
200 E. KNOX #93
CHANDLER, AZ 85225

JENNIFER JENKINS
200 E. KNOX #93
CHANDLER, AZ 85225

JENSEN TOOLS INC.
7815 SOUTH 46TH STREET
PHOENIX, AZ 85044

JEOL USA, INC.
11 DEARBORN ROAD
PEABODY, MA 01960

JEOL USA, INC.
PO BOX 415574
BOSTON, MA 02241-5574

JEROME, DANIEL
2138 E. BROADWAY AVE
APACHE JUNCTION, AZ 85119

JERRY BENNETT ENTERTAINMENT LLC
RR #1 BOX 342
EDGARTOWN, MA 02539

JES (J ENGINEERING SERVICE)
89-7 JANGYU-RO
JANGYU-MYEON GIMHAE~ST, 621-833 KOREA

JESSE ELIUK
10 CABOT STREET
SALEM, MA 01970

JET FABRICATORS, INC.
230 HIGHWAY 212
MICHIGAN CITY, IN 46360

JETS .COM
ATTN GOSIA HATAK

» REPUBLIC OF

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GTAT Matrix
401 BROADWAY, 17TH FLOOR
NEw YORK, NY 10013

JIANAGSU SUNPOWER TECHNOLOGY

co., LTD.

NO. 2111, CHENGXIN ROAD, JIANGNING
NANJING, 211112 CHINA

JIANGSU FEILIKS INTERNATIONAL LOGIS
INC.

NO.118 MEIGUI ROAD, ECONOMIC & TECH
KUNSHAN, JIANGSU, 215300 CHINA

JIANGSU HUAER OPTO-ELECTRONIC
MATERIAL CO., LTD.

6 CHANGJIANG ROAD, ECONOMIC DEVELOP
GAOYOU, JIANGSU, 225600 CHINA

JIANGSU JESHINE NEW MATERIAL
co.,LTD.

NEW MATERIAL INDUSTRIAL PARK
YANGZHONG, 100026 CHINA

JIANGSU JIXING NEW MATERIAL CO.,LTD
NEW MATERIAL INDUSTRIAL PARK,
YANGZHONG, 212200 CHINA

JIANGXI FENGSHENG TECHNOLOGY CO LTD
NO 19 JIANGDA SOUTH ROAD
NANCHANG, JIANGXI PROVINCE, 330029 CHINA

JIANGXI LDK PV SILICON TECH. CO., L
ECONOMIC DEVELOPMENT ZONE
XINYU CITY, 338032 CHINA

JIANGXI SORNID HI-TECH CO., LTD.
JINXIU ROAD, OUTSIDE-EXPORT PROCESS
ECONOMIC DEVELOPMENT AREA

JIUJIANG CITY, 325400 CHINA

JIANGYIN DELI LASER SOLUTIONS
NO. 201, JINSHAN RD
JIANGYIN, 211437 CHINA

JIM VOLZ
PO BOX 98137
DES MOINES, WA 98198

JIMENEZ, OMAR
6846 W. LUKE AVE
GLENDALE, AZ 85303

JINGGONG P-D SHAOXING SOLAR
NO. 1158 KEBEI RD DEV. ZONE
ZHEJIANG, 00130 CHINA

JINSUNG ENGINEERING CO.

MINCHUL B/D 3RD FLS. #20-23

YANG JAE-DONG, SEOCHO-GU

SEOUL 137-130

SEOUL, 137-130 KOREA, REPUBLIC OF

JINZHOU YANGGUANG ENERGY CO., LTD.
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NO. 102 JIEFANG WEST ROAD
JINZHOU CITY, 121016 CHINA

JIUJIANG SAIFEI SAPPHIRE TECH CO.,
NO. 1 JINXIU ROAD,EXPORT PROCESSING
JIANGXI PROVINCE, 212216 CHINA

J-KEM SCIENTIFIC INC
6970 OLIVE BLVD
ST. LOUIS, MI 63130

JL GYMS INC.
2425 W. CENTRAL SUITE 201
MISSOULA, MT 59801

JLS AUTOMATION

J.L. SOUSER & ASSOCIATES INC
3495 INDUSTRIAL DRIVE

YORK, PA 17402

JMAK AUTOMATION, LLC
22 GEREMIA STREET
RYE, NH 03870

JOBS DB HONG KONG LTD.
32/F, PROSPERITY MILLENNIA PLAZA, 6
NORTH POINT, HONG KONG

JOBSINNH. COM

PO BOX 604

JITUS, INC
WESTBROOK, ME 04098

JOHN A. PRICE
30 PRATT STREET
BILLERICA, MA 01821

JOHN CRANE, INC.
24929 NETWORK PLACE
CHICAGO, IL 60673-1249

JOHN CRANE, INC.
301 BERKELEY DRIVE, SUITE B
SWEDESBORO, NJ 08085

JOHN DELUCA
1826 ORCHARD HILL DRIVE
CHESTERFIELD, MO 63017

JOHN DEVITO JR.
3129 MADAME PLATIEN AVE
LAS VEGAS, NV 89081

JOHN EASOZ
133 ROCKINGHAM LANE
MCMURRAY, PA 15317

JOHN HENRY FOSTER CO. OF ST. LOUIS
4700 LEBOURGET DR.
ST. LOUIS, MO 63134

JOHN LOCKLEY
365 MEGAN DRIVE

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MANCHESTER, NH 03109

JOHN M ELLSWORTH CO INC
8700 WEST BRADLEY RD
MILWAUKEE, WI 53224

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1137 CADILLAC COURT
MILPITAS, CA 95035

JOHNSON BROTHERS RECYCLING
3757 N RESERVE STREET, STE A
MISSOULA, MT 59808

JOHNSON CONTROLS, INC.
320 NORWOOD PARK SOUTH
NORWOOD, MA 02062

JOHNSON CONTROLS, INC.
P.O. BOX 730068
DALLAS, TX 75373

JOHNSON CONTROLS, INC.
PO BOX 905240
CHARLOTTE, NC 28290-5240

JOHNSON MACHINE TOOLS
100 NEW WOOD ROAD
WATERTOWN, CT 06795

JOHNSON MATTHEY, INC D/B/A TRACERCO
4106 NEW WEST RD
PASADENA, TX 77507

JOHNSON, BAYARD
107 BAKER DRIVE
JEFFERSON HILLS, PA 15025

JOHNSON, CHRISTOPHER
4880 S. SPRINGS DR
CHANDLER, AZ 85249

JOHNSON, EDELISA
279 E. GOLD DUST WAY
SAN TAN VALLEY, AZ 85143

JOHNSON, KEITH EDWARD
645 CHRISTIAN COLLEGE RD
SENATOBIA, MS 38668

JOHNSON, RAYMOND
279 E. GOLD DUST WAY
SAN TAN VALLEY, AZ 85143

JOHNSTON, DAVID
19115 E VIA DEL VERDE
QUEEN CREEK, AZ 85142

JOHNSTON, JEFFREY
3853 S GARRISON
MESA, AZ 85212

JOHNSTON, RICHARD

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GTAT Matrix
1458 E. KAEL ST
MESA, AZ 85203

JOLT ELECTRIC AND OIL BURNER
SRVC, LLC

PO BOX 474

HUDSON, NH 03051

JOMY, INC
PO BOX 577
LOUISVILLE, CO 80027

JONATHAN A. TALBOTT
11 SADDLE HILL
AMHERST, NH 03031

JONES LANG LASALLE AMERICAS
71700 TREASURY CENTER
CHICAGO, IL 60694-1700

JONES LANG LASALLE AMERICAS, INC.
200 EAST RANDOLPH
CHICAGO, IL 60601

JONES LANG LASALLE LTD.
6TH FL., THREE PACIFIC PLACE, 1 QUE
HONG KONG, HONG KONG

JONES, JOHHNY
161 S TIAGO DR
GILBERT, AZ 85233

JONES, KELLY
877 W PARK AVE
GILBERT, AZ 85233

JONES, KERRY
2050 S FALCON DR.
GILBERT, AZ 85295

JOOMLA LMS

PAYABLE TO AVANGATE BV
67 NEZAVISIMOSTI
MINSK, 220013 BELARUS

JOPLIN, ROY
7044 S. BRIDAL VAIL DR
GILBERT, AZ 85298

JORDAN, DAVID
2564 W. KIVA AVE
MESA, AZ 85202

JORDAN, TIMOTHY
12 ARROWHEAD RD
DERRY, NH 03038

JOSEPH E. BACHELDER, LLP
780 THIRD AVENUE
NEW YORK, NY 10017

JOSEPH EQUIPMENT CO.
835 GOLD STREET
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MANCHESTER, NH 03103

JOSEPH L HUDGINS

SMOOTH E LLC DBA JHGH SERVICES
2109 CLIFFS EDGE DRIVE

AUSTIN, TX 78733

JOSEPH MERRITT & COMPANY
650 FRANKLIN AVENUE
HARTFORD, CT 06114

JOSEPH N OBRIEN
OBRIEN & ASSOCIATES
41 STRAFFORD LANE
BEDFORD, NH 03110

JOSEPH OAT CORP
2500 BRAODWAY
CAMDEN, NJ 08104

JOSEPHINE FU
2 GRANNY SMITH LANE
WOBURN, MA 01801

JOYCE COOLING & HEATING
51 LAKE STREET
NASHUA, NH 03060

JOYCE, DAVID
2 HOBART ROAD
MARBLEHEAD, MA 01945

JOYCE/DATYON CO
PO BOX 1630
DAYTON, OH 45401

JOYCE/DAYTON CORP. LPED DIV.
PO BOX 1630
DAYTON, OH 45401

JP MORGAN CHASE BANK, N.A,.
PO BOX 911953

ITS FEE BILLING

DALLAS, TX 75391

JPK CONSULTING
54 NORTHGATE RD.
WELLESLEY, MA 02481

JSC MINVIIJA
DARBININKU STR. 5B
KAUNAS AREA, 53253 LITHUANIA

JTB WORLD
OSTBYGATAN 16 A, SE-531 37
LIDKOPING, 531 37 SWEDEN

JU, TONG
1423 MAXWELL WAY
SAN JOSE, CA 95131

JUDY, TRAVIS
1805 Ss. 80TH ST

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GTAT Matrix
MESA, AZ 85209

JUN HE LAW OFFICES

SHANGHAI KERRY CTR

32ND FLR, 1515 NANJING RD WEST
SHANGHAI, 200040 CHINA

JUNG HO CONTRUCTION CO., LTD.
MANSU B/D 402
978-25 MANSU-DONG, NAMDONG-GU, 978-250 KOREA, REPUBLIC OF

JUNG, YOHAN
21 NEW CASTLE DRIVE, #11
NASHUA, NH 03060

JUNGHEINRICH HELLAS EPE
FILIPPOUPOLEOS 10
AXARNAI ATHENS, 13671 GREECE

JUPITER PRODUCTIONS
73 PRINCETON STREET, SUITE 307
NORTH CHELMSFORD, MA 01863

JUSIC, KEMAL
310 E SEQUOIA
PHOENIX, AZ 85024

JUTRAS SIGNS AND FLAGS
711 MAST ROAD
MANCHESTER, NH 03102

JUTRAS WOODWORKING, INC.
25 LARK INDUSTRIAL PARKWAY
SMITHFIELD, RI 02828

K & H SALES, INC.
4830 SOLUTION CENER
CHICAGO, IL 60677-4008

K LOGIX LLC
233 HARVARD STREET, SUITE 308
BROOKLINE, MA 02446

K&L GATES, LLP
210 SIXTH AVE., K & L GATES CTR.
PITTSBURGH, PA 15222-2613

K&S ENGINEERING
6917 WEST 59TH STREET
CHICAGO, IL 60638

K. MOKHTARIAN CONSULTING
277 S. SPAULDING DRIVE, UNIT 101
BEVERLY HILLS, CA 90212

KABELSCHLEPP AMERICA
7100 WEST MARCIA ROAD
MILWAUKEE, WI 53223

KADENAS INC.
2685-1/2 PALMER STREET
MISSOULA, MT 59808

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GTAT Matrix
KAIF DIGITAL CORPORATION
7678 E. GREENWAY ROAD SUITE 103
SCOTTSDALE, AZ 85260

KAISER FOUNDATION HEALTH PLAN
FILE NUMBER 54803
LOS ANGELES, CA 90074-4803

KAISER FOUNDATION HEALTH PLAN
FILE NUMBER 5915
LOS ANGELES, CA 90074-5915

KAISER PERMANENTE-~OHSS
FILE 50016
LOS ANGELES, CA 90074-0016

KAKISHITA-GLASPIE, BETSY
3723 S. ROSEMARY DR.
CHANDLER, AZ 85248

KALIL & KRESS
303 AMHERST STREET
NASHUA, NH 03063

KALOUTAS & CO. INC
11 RAILROAD AVE
PEABODY, MA 01960

KALTMAN CREATIONS LLC
651 AMBERTON CROSSONG
SUWANEE, GA 30024

KAMAN INDUSTRIAL TECHNOLOGIES
CORPORATION

316 LITTLEFIELD AVENUE,

SO. SAN FRANCISCO, CA 94080

KAMAN INDUSTRIAL TECHNOLOGIES
3 PERIMETER ROAD
MANCHESTER, NH 03103

KAMAN INDUSTRIAL TECHNOLOGIES
FILE 25356
LOS ANGELES, CA 90074-5356

KAMAN INDUSTRIAL TECHNOLOGIES
PO BOX 74566
CHICAGO, IL 60696-4566

KAMAN INDUSTRIAL TECHNOLOGIES CORP
2601 S 24TH ST
PHOENIX, AZ 85034

KAMAN INDUSTRIAL TECHNOLOGIES CORP
FILE 25356
LOS ANGELES, CA 90074-5356

KAMPHET VEN
26 MANCHESTER ST.
LOWELL, MA 01852

KAMRUD, HALVOR
256 PLACID HTS
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GTAT Matrix
BUTTE, MT 59701

KANAAN ENERGY SOLUTIONS
1500 MILL HILL TERRACE
SOUTHPORT, CT 06890

KAREN HALL CONSULTING, LLC
2 WENDELL DRIVE
BRENTWOOD, NH 03833

KARL GSCHWIND MACHINE WORKS
6 TINKHAM AVENUE
DERRY, NH 03038

KARLIN, LISA
1651 Ww. MAPLEWOOD ST
CHANDLER, AZ 85286

KASON CORPORATION
67-71 EAST WILLOW ST.
MILLBURN, NJ 07041

KAUFMAN & ROBINSON INC
1330 BLUE SPRUCE DRIVE
FORT COLLINS, CO 80524

KAVIRATNE, GEHAN
4885 E. BELLERIVE DR
CHANDLER, AZ 85249

KAYEX
1000 MILLSTEAD WAY
ROCHESTER, NY 14624

KBAK, INC.

AIRE FILTER PRODUCTS
PO BOX 36066
PHOENIX, AZ 85067

KBC TOOLS
6300 18 MILE
STERLING HEIGHTS, MI 48311

KC PRECISION MACHINING INC.
23 OLD RIGHT ROAD
IPSWICH, MA 01938

KCR MANUFACTURING
1934 LAKEVIEW AVENUE, BLDG #2
DRACUT, MA 01826

KEANE FIRE & SAFETY EQUIPMENT CO.,
1500 MAIN ST.
WALTHAM, MA 02451

KECK, DAVID
11754 WINDEMERE DRIVE
MISSOULA, MT 59804

KECK, DAVID w.
243 DANIEL WEBSTER HIGHWAY
MERRIMACK, NH 03054

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GTAT Matrix
KEDAR GUPTA
27 COLBURN LANE
HOLLIS, NH 03049

KEENE STATE COLLEGE
229 MAIN STREET
KEENE, NH 03435

KEITHLEY INSTRUMENTS, INC.
28775 AURORA ROAD
CLEVELAND, OH 44139

KELE, INC.
3300 BROTHER BLVD.
MEMPHIS, TN 38133-8950

KELLER INDUSTRIES INC
234 INDUSTRIAL RD.
SAN CARLOS, CA 94070

KELLY SERVICES, INC
999 wW BIG BEAVER RD
TROY, MI 48084

KELLY, TRACY
11821 N 28TH DR, APT # 257
PHOENIX, AZ 85029

KELSEA, ROGER

THERMAL TECHNOLOGY LLC
197 LOUDON RD. SUITE 230
CONCORD, NH 03301

KELSEA, ROGER E.
187 FIRE POND RD
HOPKINTON, NH 03229

KELVIN BALER INDUSTRIES, LLC
131 BURKE STREET
NASHUA, NH 03060

KENEXA COMPENSATION, INC.
343 WINTER ST.
WALTHAM, MA 02451

KENNEDY, BRENT
1152 DOVER WAY
BROOMFIELD, CO 80020

KENNEDY, JAMES
302 MEADOW BROOK EST LN
WENTZVILLE, MO 63385

KENNETH CROSBY COMPANY,
107 SOUTH STREET
HOPKINTON, MA 01748

KENNETH CROSBY, A DXP COMPANY
103 SOUTH STREET
HOPKINTON, MA 01748

KENTEK CORPORATION
1 ELM STREET
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GTAT Matrix
PITTSFIELD, NH 03263

KENTROL INC.

DIVISION OF F.W. WEBB CO.
PO BOX 1569

WATERVILLE, ME 04903

KENWABIKISE, ROBERT
1983 E. TYSON PLACE
CHANDLER, AZ 85225

KEON YOUNG
1011, DEOGYANG-RI, SORA-MYEON
YEOSU-SI, CHONNAM, 556-813 KOREA, REPUBLIC OF

KEPP CORPORATION
5 BOLSHOY TOLMACHEVSKIY LANE
MOSCOW, 119017 RUSSIAN FEDERATION

KEPWARE TECHNOLOGIES INC
400 CONGRESS STREET
PORTLAND, ME 04101

KERF INDUSTRIES, LLC
PO BOX 151293
LAKEWOOD, CO 80215

KERK MOTION PRODUCTS, INC.
1 KERK DRIVE
HOLLIS, NH 03049

KERNAN, BRIAN
11 WASHINGTON AVE
ANDOVER, MA 01810

KERRY FIRE PROTECTION
5 FRANCONIA DRIVE
NASHUA, NH 03063

KERRY FREIGHT CHONG KONG) LTD.

A/CS DEPARTMENT

16/F, KERRY CARGO CENTRE, 55 WING K
KWAI CHUNG, HONG KONG

KERRY FREIGHT CUSA) INC.
880 APOLLO STREET, SUITE 101
EL SEGUNDO, CA 90245

KERRY LOGISTICS CHONG KONG) LTD.
UNITS 1601, 16/F, KERRY CARGO CENTR
KWAI CHUNG, HONG KONG

KERSCHEN ENTERPRISES, LLC
1630 RIVERVIEW DRIVE
COLBERT, WA 99005

KES, FZC

PO BOX 121058

P6 148 SAIF ZONE

SHARJAH, UNITED ARAB EMIRATES

KESCO SHIPPING CORP.
154-09 146TH AVE., 2/F
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GTAT Matrix
JAMAICA, NY 11434

KETTERER, KELLY
959 S TUCANA LN
GILBERT, AZ 85296

KETZER, KATHERINE
906 BARTLETT PLACE
WINDSOR, CA 95492

KETZER, KATHERINE
PO BOX 1675
WINDSOR, CA 95492

KEVIN ERIC STARK
66 SUMMER LANE
HOLDEN, MA 01520

KEVIN LEE
4 WAYSIDE LANE
CANTON, MA 02021

KEVIN SUTTON
587 E. ROSEBUD DR.
SAN TAN VALLEY, AZ 85143

KEY HIGH VACUUM PRODUCTS, INC.
36 SOUTHERN BLVD.
NESCONSET, NY 11767

KEY PEOPLE COMPANY
11737 ADMINISTRATION DRIVE SUITE 3
ST. LOUIS, MO 63146

KEY TIME TELECOM
370 RAYMOND RD., PO BOX 98
CANDIA, NH 03034

KEYENCE CORP OF AMERICA
DEPT CH 17128
PALATINE, IL 60055-7128

KEYENCE CORP. OF AMERICA
50 TICE BOULEVARD
WOODCLIFF LAKE, NJ 07675

KEYSPAN ENERGY DELIVERY
PO BOX 4300
WOBURN, MA 01888

KEYSTONE PARTNERS, LLC

2 FINANCIAL CENTER, 7TH FLOOR
60 SOUTH STREET

BOSTON, MA 02111

KF RENT CO., LTD.
ITAEWON-DONG YOUNSAN-GU
SEOUL, 728-728 KOREA, REPUBLIC OF

K-FORCE, INC.
1001 EAST PALM AVENUE
TAMPA, FL 33605

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GTAT Matrix
K-FORCE, INC.
PO BOX 277997
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KIM & CHANG
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JONGNO-GU, 110-720 KOREA, REPUBLIC OF

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243 DANIEL WEBSTER HIGHWAY
MERRIMACK, NH 03054

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156 GODDARD MEMORIAL DRIVE
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KINEQUIP INC. - BUFFALO
365 OLD NIAGARA FALLS BLVD
BUFFALO, NY 14228
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GTAT Matrix

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RM El, 13/F, GEE TUNG CHANG INDUSTR
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KING FILTRATION TECHNOLOGIES, INC.
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MERIDIAN, ID 83680

KING SOFT WATER CO.
LISA CLIFFORD

1425 E HOUSTON
SPOKANE, WA 99217

KING, COREY
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KING, DANNY
4093 S. KIRBY ST
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KING, MICHAEL
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KINGSWOOD SURVEY & MEASURER LIMITED
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KINTETSU WORLD EXPRESS (USA), INC.
200 FALLON ROAD
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KIRADJIEFF & GOODE, INC.
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KNOWLTON MACHINE ENGINEERG.
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